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                                  No. 22-10630-BB

           IN THE UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT


                         U NITED S TATES OF A MERICA ,
                                                 Plaintiff-Appellee,


                                          v.

                             C HALMER D ETLING , II,
                                                 Defendant-Appellant.




                 On appeal from the United States District Court
                      for the Northern District of Georgia
                           No. 18-cr-309-LMM-LTW-1

                   Response to Defendant’s Second Motion to
                         For Release Pending Appeal



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                                  No. 22-10630-BB
                          United States v. Chalmer Detling, II


            CERTIFICATE OF INTERESTED PERSONS
           AND CORPORATE DISCLOSURE STATEMENT

      In addition to the individuals identified in Appellant’s Certificate of

      Interested Persons, counsel hereby certifies that the following people

      and entities may have an interest in the outcome of this appeal:


      Capital Financing

      Buchanan, Ryan, United States Attorney

      Erskine, Kurt, Former United States Attorney

      Golden, Howard

      Parmer, Molly, Former Federal Public Defender, Atlanta

      Sommerfeld, Lawrence R., Assistant United States Attorney

      United States of America, Appellee
      No publicly traded company or corporation has an interest in the
      outcome of the case or appeal.




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                                  No. 22-10630-BB


             IN THE UNITED STATES COURT OF APPEALS
                    FOR THE ELEVENTH CIRCUIT


                         U NITED S TATES OF A MERICA ,
                                                Plaintiff-Appellee,


                                          v.

                             C HALMER D ETLING , II,
                                                Defendant-Appellant.



                   Response to Defendant’s Second Motion to
                         For Release Pending Appeal

         Following a nearly two-week trial, a federal jury convicted Chalmer

      Detling, a disbarred attorney, of four counts of wire fraud and five
      counts of aggravated identity theft after a little more than an hour of

      deliberations. (Doc. 154 (Ex. A)). 1 Detling subsequently moved for a

      new trial based on the district court’s purportedly improper jury

      instructions. (Doc. 170 (Ex. B)). The government filed an opposition

      (Doc. 177 (Ex. C)), and the district court denied his motion for a new

      trial in a written order, in which it noted the jury’s verdicts were


         1
           The docket entries are attached to this motion as an exhibit as
      indicated in the parenthetical. Exhibit designations appear once.
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      supported by “copious evidence,” including overwhelming evidence of

      Detling’s actual knowledge of the fraud. (Doc. 181-10-12, 17 (Ex. D)).

         On February 10, 2022, the district court sentenced Detling to a

      within-Guidelines sentence of 70 months’ imprisonment. (Docs. 182
      (Ex. E), 183 (Ex. F)). Detling filed a timely notice of appeal. (Doc. 186

      (Ex. G)). The district court permitted Detling to remain on bond until

      the Bureau of Prisons designated him to report. (Doc. 155 (Ex. H)).

      While waiting, Detling filed a motion for an appellate bond with the

      district court, claiming that the district court’s alleged errors in

      instructing the jury on deliberate ignorance and aiding and abetting
      raised “substantial questions of law” that were likely to result in

      reversal and thus merited a bond. (Doc. 194 (Ex. I)). The government

      filed a response in opposition (Doc. 204 (Ex. J), and the district court

      denied his motion in a detailed written order on April 25, 2022.

      (Doc. 210 (Ex. K)).

         On August 9, 2022—before any merits briefing—Detling filed his

      first motion requesting a bond pending appeal with this Court

      claiming that his appeal will raise multiple substantial questions of law

      likely to result in in his convictions being vacated. (Ex. L (“First App.

      Mot.”)). Detling offered that there were five substantial questions that

      merit his release on bond: (i) whether the district court allegedly

      violated the Speedy Trial Act; (ii) whether his motion to strike


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      surplusage complied with Rule 47; (iii); whether the filing of a

      superseding indictment mooted his motion to strike; (iv) whether the

      magistrate judge had authority to defer the motion to strike to the

      district court; and (v) whether the district court erred in holding a

      hearing on the motion to strike. (Ex. L, First App. Mot. at 4-13). On

      August 19, 2022, the government filed a timely response in

      opposition. (Ex. M).2 On September 9, 2022, Circuit Judge Kevin

      Newsom denied Detling’s motion in a one-sentence order. (Ex. N).

      Five days later, Detling filed a motion pursuant to Federal Rule of

      Appellate Procedure 27(c) seeking that a three-judge panel review his

      bond motion. (Ex. O). On October 4, 2022, construing Detling’s

      Rule 27(c) motion as a motion to reconsider the September 9th order,

      Circuit Judges Jordan and Newsom issued another one-sentence order

      denying his motion. (Ex. P).

         On October 11, 2022, Detling filed his opening brief. The

      government’s response is due December 12, 2022. On Veterans Day,

      Detling filed the present motion—his second request for bond

      pending appeal (and third request overall having filed one in the

      district court as well). Detling argues that every issue he raises on

      appeal—an alleged speedy trial violation, a challenge to the sufficiency


         2
          The government’s opposition included hundreds of pages of
      exhibits, which are not re-attached here.


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      of evidence, and an improper deliberate ignorance instruction—raises

      a “substantial question of law” likely to result in reversal thus

      warranting his release. (Second App. Mot. at 3-4, 6, 10).

         Because Detling’s motion is simply a retread of arguments that this
      Court and the district court have previously rejected when he has

      previously sought release pending appeal, it should be denied. In

      support of its opposition, the government incorporates by reference

      its arguments made in its earlier filings made before this Court and

      the district court. (Ex. C – Doc. 177 (government’s opposition to

      motion for new trial); Ex. J –Doc. 204 (government’s opposition to
      Rule 9 motion); Ex. M (government’s opposition to First Motion for

      Release Pending Appeal)). In particular, the district court and this

      Court have previously rejected Detling’s arguments that any alleged

      speedy trial violation or any error with respect to the deliberate

      ignorance instruction raises a “substantial question of law.” (Ex. K –

      Doc. 210 (district court order), Ex. N (Sept. 9, 2022 Eleventh Circuit

      order), Ex. P (Oct. 4, 2022 Eleventh Circuit order)). And as for

      whether there was sufficient evidence to support the jury’s verdict, the

      district court’s order denying Detling’s motion for a new trial makes

      plain that the evidence of Detling’s guilt was overwhelming. (Ex. D –

      Doc. 181-10-12, 17). Accordingly, this Court should reject Detling’s

      latest request for release pending appeal.


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                                       Respectfully submitted,

                                       R YAN K. B UCHANAN
                                            United States Attorney


                                       A LEX R. S ISTLA
                                          Assistant United States Attorney




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          CERTIFICATE OF COMPLIANCE AND SERVICE

      This brief complies with the typeface requirements of Fed. R. App.

      P. 32(a) (5) and the type-style requirements of Fed. R. App. P. 32(a)(6)

      because it has been prepared in 14-point Goudy Old Style, a
      proportionally spaced typeface, using Microsoft Word 2016 word

      processing software.

         This response complies with the 5,200-word type-volume limitation
      of Fed. R. App. P. 27(d)(2) because, according to the word processing

      software, it contains 801 words, excluding the parts of the brief

      exempted by Fed. R. App. P. 27(a)(2)(B) and 32(f), and excluding the
      title page, certificates, caption, and signature block.

         Today, this motion was filed and served using the Court’s CM/ECF

      system, which automatically sends notification to the parties and
      counsel of record.



      November 22, 2022




                                     /s/A LEX R. S ISTLA
                                           Assistant United States Attorney




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                 EXHIBIT A
   Case 1:18-cr-00309-LMM-LTW Document 154 Filed 11/01/21 Page 1 of 2
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

UNITED STATES OF AMERICA
                                               CASE NO.
      V.


                                                l:18-CR-00309-MWmmRT
                                                                 t^S.a.C.-A?!
CHALMER DETLING, II A/K/A :
CHUCK DETLING : ^'! n 1 "^

                                                            KEKSEIMER'C^
                             VERDICT FORM "' ost)urvcle4


   1. As to Count Four of the Indictment, we, the jury, unanimously find
     Defendant Chal^aer Detling, II a/k/a Chuck Detling:

           Guilty __[__ Not Guilty



   2. As to Count Five of the Indictment, we, the jury, unanimously find
     Defendant Chalmer Detling, II a/k/a Chuck Detling:

           Guilty V Not Guilty.



   3. As to Count Six of the Indictment, we, the jury, unanimously find
     Defendant Chal^aer Detling, II a/k/a Chuck Detling:

           Guilty y Not Guilty.



   4. As to Count Seven of the Indictment, we, the jury, unanimously find
     Defendant Chalper Detling, II a/k/a Chuck Detling:

           Guilty ' Not Guilty.
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   5. As to Count Eleven of the Indictment, we, the jury, unanimously find
     Defendant Cha/Lmer Detling, II a/k/a Chuck Detling:

        Guilty _Z_ Not Guilty .



   6. As to Count Twelve of the Indictment, we, the jury, unanimously find
     Defendant Chalpier Detling, II a/k/a Chuck Detling:

        Guilty '' Not Guilty.



   7. As to Count Thirteen of the Indictment, we, the jury, unanimously find
     Defendant Chalmer Detling, II a/k/a Chuck Detling:

        Guilty v Not Guilty



  8. As to Count Fourteen of the Indictment, we, the jury, unanimously find
     Defendant Chalpaer Detling, II a/k/a Chuck Detling:

        Guilty v Not Guilty.



  9. As to Count Fifteen of the Indictment, we, the jury, unanimously find
     Defendant Chalp?er Detling, II a/k/a Chuck Detling:

        Guilty v Not Guilty.




SO SAY WE ALL.

     Signed and dated at the United States Courthouse, Atlanta, Georgia,


      ^ day of ^^^-
this __Z_ day of 7^ ^W^ C 2021.

     Forepersons Signature: /^ UWV(A
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                  EXHIBIT B
   Case 1:18-cr-00309-LMM-LTW Document 170 Filed 12/07/21 Page 1 of 17
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA
                                              Criminal Action No.:
      versus                                  1:18-CR-00309-LMM-LTW-1

CHALMER DETLING, II


                           MOTION FOR NEW TRIAL

      COMES NOW, the Defendant, Chalmer Detling, II, and hereby moves for a

new trial pursuant to Rule 33 of the Federal Rules of Criminal Procedure and shows

the Court the following:

                            STATEMENT OF FACTS

      Mr. Detling is charged by indictment with multiple counts of wire fraud and

aggravated identity theft. Specifically, the indictment alleges that he, and he alone,

committed four counts of wire fraud, in violation of 18 U.S.C. §1343 and five counts

of aggravated identity theft, in violation of 18 U.S.C. §1028(a)(1). Doc. 35. The

indictment does not allege either aiding and abetting or any facts suggesting

additional participants in the alleged criminal conduct.

      At trial, counsel for the government made an opening statement wherein he

accused the defendant of committing all of the acts comprising the offenses charged

in the indictment and made no reference to any other alleged participants. Doc. 164.

In the first sentence of his opening, counsel for the government pointed to Mr.
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Detling as solely responsible, “Ladies and gentlemen of the jury, this case is about a

lawyer who betrayed the trust of his clients and his business partners to steal

hundreds of thousands of dollars”. Doc. 164-3. The government further explained to

the jury, “...Chuck Detling, used his law firm’s clients’ personal identifying

information to get litigation advances”. Doc. 164-3. The government alleged that

Mr. Detling “stole the money to prop up his financially strapped law firm”. Doc.

164-3. According to the government, Mr. Detling “used his law firm’s clients’

information without their knowledge to enter into numerous litigation advance

contracts” and he “used those litigation advances as a personal piggy bank that he

tapped into whenever he needed funds”. Doc. 164-6.

       The government alleged that Mr. Detling “was in charge of the law firm”.

Doc. 164-9. In reference to other employees at the firm, the government suggested

that they were naive and relied on Mr. Detling as to “how a law firm should be

operated”. Doc. 164-9. Specifically, the government referenced Aimie Ingram, the

office manager, as someone who didn’t know about the litigation advances. Doc.

164-10. While acknowledging that Mackenzie Cole was a partner at the firm, the

government diminished her role as being “a partner in name only”. Doc. 164-12.

      The government further argued that the finance companies which were

providing the litigation advances relied on Mr. Detling as the point of contact

regarding the advances and his name was on all of these advances. Doc. 164-13, 14.


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According to the government, Mr. Detling was in charge of the firm’s bank accounts

where the proceeds of the fraud were deposited. Doc. 164-14. Additionally, the

government alleged he picked up the advance checks and provided the wire

information for the funds to be sent. Doc. 164-13, 14. In reference to the firm’s

clients, the government claimed Mr. Detling was the only one “with authority to talk

to clients about financing options”. Doc.164-15. Manifest in all of these claims by

the government, Mr. Detling acted alone and with actual knowledge of the fraud

being perpetrated.

      During the course of the government’s case, no witness was presented as

having assisted or helped Mr. Detling commit the offenses charged in the indictment.

Indeed, the government’s presentation of its case exclusively focused on Mr. Detling

as the only participant in the fraud and identity theft. Moreover, the government did

not present any evidence that Mr. Detling consciously avoided knowing about

fraudulent advances. Rather, the government presented evidence that he alone

possessed the knowledge and access needed to commit the fraud. Throughout the

trial, the defense alleged that other employees, notably Ms. Ingram and Ms. Cole

had motive, access, and opportunity to commit the wire fraud and identity theft.

      Both the government and the defense submitted numerous requests to charge

the jury. The government submitted its requested charges prior to the beginning of

trial on October 18, 2021. Doc. 136. In its initial request to charge, the government


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did not seek to have the jury instructed on either deliberate ignorance or aiding and

abetting. Id. Similarly, the defense filed its requested charges on the same date,

October 18, 2021. Doc. 137. Included in the defense request to charge was a good

faith defense charge. Doc. 137-12. An initial charge conference was held on October

28, 2021. Doc. 156. On October 29, the Court held a subsequent charge conference

to discuss additional requested jury charges including a proposed theory of the

defense charge. Doc. 157. The Court specifically declined to give the proposed

instruction on the theory of the defense but provided Mr. Detling with an opportunity

to submit a brief on the following day to submit legal authority for its request. Doc.

157. At the close of the evidence, the Court heard arguments on a motion for a

judgment of acquittal pursuant to Rule 29, Federal Rules of Criminal Procedure, and

denied the motion. Doc. 157. Thereafter, the Court recessed trial and gave the parties

the weekend to prepare for closing arguments. Doc. 157.

      The following day, Saturday, October 30, 2021, Mr. Detling submitted a brief

in support of his theory of the defense charge. Doc. 150. The defense sought the

following jury charge:

      The indictment charges Mr. Detling acted alone in committing wire
      fraud and aggravated identity theft. You cannot convict him for conduct
      engaged in by either Mackenzie Cole or Aimie Ingram because he is
      not charged with being in a conspiracy with them or aiding or abetting
      them. You must decide whether the government has met its burden of
      proving beyond a reasonable doubt that he acted alone in committing
      these offenses regardless of whether you believe he engaged in other
      wrongdoing that is not charged in the indictment. The indictment upon
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      which you must base your decision does not charge Mr. Detling for
      engaging in a conspiracy or that he aided or abetted others in the
      commission of the charged offenses. Consequently, you must acquit if
      you believe there is a reasonable doubt that he acted alone.

      After Mr. Detling submitted his brief, the Court suggested giving the

following language, “[t]he Court has previously instructed you on the elements that

the government must prove beyond a reasonable doubt for you to find Mr. Detling

guilty of the crimes charged in the indictment. You must find that Mr. Detling

personally engaged in all of the requested elements of the charged offenses for him

to be guilty of those charges”. Doc. 152-3, 4. On Sunday, October 31, Mr. Detling

replied to the Court’s newly suggested language in an email which stated, “We

believe the ‘requested’ in the second sentence should be ‘required’. Additionally, we

would request that the Court add this last sentence, ‘if you believe that there is

reasonable doubt that anyone else committed an element of the charged offenses

instead of Mr. Detling, then you must acquit.’ We believe it is a correct statement of

the law and is based on the evidence that was admitted at trial”. 1 The government

objected to the Court’s suggested charge. Doc. 152-4.

      In the government’s response to Mr. Detling’s brief and for the first time, the

government requested that the Court instruct the jury on deliberate ignorance, if the

good faith defense charge was given. Doc. 152-6. The government also requested


1
 A copy of the email chain between the Court and the defense as well as the
government is attached hereto as Attachment A.
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that the jury be instructed on aiding and abetting. Doc. 152-8. Specifically, the

government requested a modified version of Eleventh Circuit Pattern Jury

Instructions (Criminal Cases) (2020), Special Instruction No. 8:

      If a Defendant’s knowledge of a fact is an essential element of a crime,
      it’s enough that the Defendant was aware of a high probability that the
      fact existed-unless the Defendant actually believed the fact didn’t exist.
      “Deliberate avoidance of positive knowledge”- which is the equivalent
      of knowledge-occurs, for example, if a defendant submits applications
      for or receives funds from litigation advance companies and believes
      those applications or funds are for litigation advances for which the
      plaintiff-clients never asked for the funds but deliberately avoids
      learning that the plaintiff-clients never asked for the funds so he can
      deny knowledge of the fact that the plaintiff-clients never asked for the
      funds. So, in this example, you may find that a defendant knew that the
      litigation advance applications or funds were never asked for by the
      plaintiff-clients if you determine beyond a reasonable doubt that the
      defendant (1) actually knew that the plaintiff-clients had never asked
      for the funds, or (2) had every reason to know but deliberately closed
      his eyes. But I must emphasize that negligence, carelessness, or
      foolishness isn’t enough to prove that the Defendant knew that the
      plaintiff-clients had not asked for the applications or funds.

Doc. 152-7. The government also requested The Eleventh Circuit Pattern Jury

Instructions (Criminal Cases), Special Instruction No. 7 with no modifications. Doc.

152-8, 9. On November 1, 2021, the morning of closing arguments, Mr. Detling

objected to the Court giving either the deliberate ignorance charge or the aiding and

abetting charge prior to the charge being given.2 Docs. 158, 166-4-5, 9-10, 10-11,



2
 Mr. Detling also preserved his objections to the Court’s instructions to the jury
after the instructions were given but the transcript containing those objections has
not been created yet.
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12, 18. The Court overruled Mr. Detling’s objections to the jury charges requested

by the government. Doc. 158. Specifically, the Court utilized the Eleventh Circuit

Pattern Instruction for aiding and abetting. Doc. 153-7, 8. The Court gave Mr.

Detling’s requested charge on good faith but did not give the requested theory of

defense charge. Docs. 137, 153-10. Finally, the Court rejected the government’s

request to charge on deliberate ignorance in part and gave a modified version of

Eleventh Circuit Pattern Instructions, Instruction S8. Docs. 152, 153-11. During the

government’s closing argument, no reference was made to either deliberate

ignorance or aiding and abetting or any evidence supporting those jury instructions.

Doc. 165. The jury returned a verdict of guilty on all counts against Mr. Detling on

November 1, 2021. Doc. 154.

                                   ARGUMENT

   I.      The Court erroneously charged the jury on deliberate ignorance.

        On Sunday, October 31, 2021, the day before closing arguments and after the

evidence had closed, the government requested a jury instruction on deliberate

ignorance. Doc. 152. The following morning, Mr. Detling objected to the instruction

as there was no evidence to support it and it was contrary to the government’s

position throughout the trial that he had actual knowledge. Doc. 167. The Court

rejected the government’s requested instruction in part and gave only a portion of

the deliberate ignorance pattern instruction. Eleventh Circuit Pattern Jury


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Instructions (Criminal Cases) (2020), Special instruction S8. The court instructed

the jury:

      If a Defendant’s knowledge of a fact is an essential part of the crime,
      it’s enough that the Defendant was aware of a high probability that the
      fact existed-unless the Defendant actually believed the fact didn’t exist.
      But I must emphasize that negligence, carelessness, or foolishness isn’t
      enough to prove that the Defendant knew the fact.

Doc. 153-11.

      The Court erred in giving any instruction on deliberate ignorance because

there was no evidence of conscious avoidance of facts by Mr. Detling. The court

further erred by giving only a portion of the pattern instruction and omitting the

portion that explains the evidentiary finding required for the application of the

charge. Specifically, the court failed to give the portion of the pattern charge that

instructs the jury:

      “Deliberate avoidance of positive knowledge” – which is the equivalent
      of knowledge – occurs, for example, if a defendant possesses a package
      and believes it contains a controlled substance but deliberately avoids
      learning that it contains the controlled substance so he or she can deny
      knowledge of the package’s contents “So you may find that a defendant
      knew about the possession of a controlled substance if you determine
      beyond a reasonable doubt that the defendant (1) actually knew about
      the controlled substance, or (2) had every reason to know but
      deliberately closed [his] [her] eyes.”

Eleventh Circuit Pattern Jury Instructions (Criminal Cases) (2020), Special

Instruction No. S8.




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      The Annotations following Special Instruction S8 specifically provide that the

instruction should not be given in the instant case. The Eleventh Circuit cites to

United States v. Stone, 9 F.3d 934, 937 (11th Cir. 1993), cert denied, 513 U.S. 833

(1994) wherein the Court held a “‘deliberate ignorance’ instruction appropriate only

when evidence in the record shows that the Defendant purposely contrived to avoid

learning the truth”. The Eleventh Circuit further cites to United States v. Aleman,

728 F.2d 492, 494 (11th Cir. 1984) for the proposition that such an instruction is

only warranted when the evidence supports a finding that “the Defendant

consciously avoided knowledge, not when the Defendant has actual knowledge.”

See also United States v. Rivera, 944 F.2d 1563, 1570-72 (11th Cir. 1991) and United

States v. Perez-Tosta, 36 F. 3d 1552 (11th Cir. 1994).

      The Court’s instruction on deliberate ignorance is not harmless. In Stone, the

Court emphasized the evidentiary foundation for a jury instruction on deliberate

ignorance must be established before the jury can rely on it in its determination of

whether a defendant acted knowingly. Specifically, the Court found the error in

giving the instruction was harmless because the jury was instructed on the

evidentiary basis which must be found before it can consider whether the defendant

acted with deliberate ignorance. In the absence of such guidance, Mr. Detling was

harmed by the instruction on deliberate ignorance. The partial version of the pattern

charge was particularly harmful as it immediately followed the Court’s instruction


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regarding the good faith defense. The deliberate ignorance instruction created the

false impression Mr. Detling could not possess the good faith belief necessary for

the good faith defense. Consequently, this error requires the Court to grant a new

trial.

          Additionally, the flawed deliberate ignorance instruction given by the Court

resulted in a constructive amendment of the indictment by allowing the jury to

convict based on actual knowledge, deliberate ignorance, or some combination of

the two. This is contrary to the allegation in the indictment that Mr. Detling had

actual knowledge. A constructive amendment occurs when the essential elements

of the offense contained in the indictment are altered to broaden the possible bases

for conviction beyond what is contained in the indictment. United States v. Peel, 837

F.2d 975, 979 (11th Cir. 1988). A constructive amendment requires a per se reversal.

United States v. Keller, 916 F.2d 628, 633 (11th Cir. 1990).

    II.      The Court Erred in Charging the Jury on Aiding and Abetting

          The government’s theory of prosecution as reflected in the language of the

indictment was that Mr. Detling acted alone in defrauding the finance companies

and using clients’ personal information to obtain advances to which he was not

entitled. Doc. 35. The government never varied from this position in its presentation

of evidence at trial. Specifically, the government claimed that no one at the firm

including Aimie Ingram and Mackenzie Cole participated in the fraud. Indeed, the


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government relied heavily on these very witnesses as credible in pointing the finger

at Mr. Detling.

      Mr. Detling’s defense at trial was that he relied in good faith upon the

managing partner, Mackenzie Cole, and the office manager, Aimie Ingram, at the

firm regarding the desire of clients to obtain litigation advances. The evidence at

trial showed that on at least one occasion, Ms. Cole had transferred the funds from

a litigation advance out of the firm’s IOLTA account into the firm’s operating

account. The evidence further showed that Ms. Ingram may have forged the

signature of Brandi Pajot (counts 4 and 12) on her litigation advance. In addition,

Ms. Ingram acknowledged that she could easily forge Mr. Detling’s signature. This

evidence along with other evidence at trial showed both women could have

committed the alleged wire fraud and aggravated identity theft. In response, the

government sought the aiding and abetting as a last minute attempt to counter the

defense arguments after the close of the evidence. Doc. 152-8-9. The defense

objection to this charge was overruled by the Court which gave the instruction on

aiding and abetting. Docs. 153-7, 158, 165.

      Giving an aiding and abetting instruction in the instant case with its unique

factual circumstances presents a novel question of law. The novelty of the issue

arises from the fact that neither the government nor the defense could find an

Eleventh Circuit case with analogous facts where the use of the aiding and abetting


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charge was upheld. On the morning of November 1, 2021, after the evidence was

closed and closing arguments were about to be held, the Court advised the parties

regarding a case which it had located, United States v. Thomas, 631 Fed. Appx. 847

(11th Cir. 2015). 3 Unfortunately, the opinion provides little about the facts of the

case in the district court. A review of the circumstances leading to the charge being

given in Thomas is revealing and demonstrates that it is factually distinguishable

from the instant case. In Thomas, the indictment expressly referenced the

defendant’s wife, Mary Derheimer (M.D.) along with the defendant having control

over the bank accounts into which the embezzled funds were deposited.4 Indeed,

M.D. is expressly referenced no less than six times and implicitly referenced no less

than nine times in each count of the indictment. 1:13-241-CAP-LTW, Doc. 1.

Accordingly, the government did not call M.D. as a witness and did not rely upon

her to make its case. Instead, the government argued that if the defendant aided and

abetted his wife, he was still guilty. 1:13-241-CAP-LTW, Doc. 115-33, 40. While

the indictment in Thomas does not cite to 18 U.S.C. § 2 (the statute defining

“principals” and referencing “aiding and abetting”) it is readily apparent from the

indictment that the government believed that the embezzled funds went to a bank


3
  This unpublished opinion does not have precedential authority and it can only be
relied upon as “persuasive authority.” See Rule 32.1, Federal Rules of Appellate
Procedure (FRAP) and Rule 36-2, U.S. Ct. Of App. 11th Cir. Rules.
4
    The docket sheet in United States v. Thomas, 1:13-CR-241-CAP-LTW, Doc. 1.
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account controlled by both the defendant and his wife, thereby potentially

identifying her as a participant in the crimes charged in the indictment.

      Mr. Detling’s circumstances are dramatically different from those in Thomas.

The indictment in the instant case makes no reference to either Ms. Cole or Ms.

Ingram or anyone else participating in the fraud. Doc. 35. In fact, the indictment

wrongly suggests that Mr. Detling, unlike the defendant in Thomas, controlled the

accounts where funds from the advances were deposited. Id. The indictment makes

no reference to the Detling Cole law firm or to Ms. Cole’s access or control of the

accounts as the managing partner of the firm. Unlike the prosecutor in Thomas, the

government in the instant case called Ms. Cole and Ms. Ingram as witnesses and

elicited testimony that they were not involved in any of the charged conduct. The

defense was not on notice of the government’s plan to rely on an aiding and abetting

theory which was contrary to the specific allegations contained in in the indictment.

This surprise after the close of the evidence was prejudicial. For example, the

defense cross examination of Ms. Cole and Ms. Ingram would have been quite

different if they had been identified in the indictment or at any point in the trial as

co-wrong-doers.

      Unlike the prosecutor in Thomas, the government did not question the

credibility of Ms. Cole or Ms. Ingram and did not argue that they played a role in

the fraud. Despite requesting a last minute charge on aiding and abetting, the


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government made no reference to the instruction in closing argument. In effect, the

government appeared to be relying on the instruction defensively against Mr. Detling

or perhaps to confuse the jury regarding the nature of his defense. 5 While Mr. Detling

readily agrees that the Eleventh Circuit, as in Thomas, has upheld convictions where

the indictment does not allege aiding and abetting, the government should not be

permitted to change its theory of the defendant’s culpability after the evidence is

closed and closing arguments are scheduled to begin. The indictment in the instant

case alleged that Mr. Detling acted alone in committing the fraud and theft. The

defense was entitled to rely on the government’s language in its own indictment in

presenting the defense given that a defendant cannot aid and abet himself. United

States v. Martin, 747 F.2d 1404 (11th Cir. 1984).

      Mr. Detling contends that it was fundamentally unfair to allow the

government to surprise him with a new theory of the prosecution at a point in time

when he could no longer challenge the government’s witnesses and present evidence

to counter this new theory. Indeed, it is incumbent upon the Court to properly limit

the basis for prosecution and the failure to do so may amount to an improper




5
 Importantly, Mr. Detling never argued that he helped Ms. Cole or Ms. Ingram
commit the alleged offenses. He simply argued that the jury should acquit if they
found reasonable doubt as to whether Ms. Cole or Ms. Ingram had committed any
material elements of the offense without his knowledge.
                                          14
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amendment of the indictment. See United States v. Artip, 942 F.2d 1568 (11th Cir.

1991).

      Here, the grand jury returned an indictment which unequivocally stated Mr.

Detling acted alone. His defense was based on the language of the allegations in the

indictment. While the grand jury could have alleged the participation of others, it

did not. Consequently, the court erred by giving an aiding and abetting jury charge

that constructively amended the indictment.

         “A jury instruction that constructively amends a grand jury indictment

constitutes per se reversible error because such an instruction violates a defendant's

constitutional right to be tried only on charges presented in a grand jury indictment

and creates the possibility that the defendant may have been convicted on grounds

not alleged in the indictment.” United States v. Weissman, 899 F.2d 1111, 1114 (11th

Cir. 1990) citing Stirone v. United States, 361 U.S. 212, 217-18, (1960); Peel, 837

F.2d at 979; United States v. Lignarolo, 770 F.2d 971, 981 n.15 (11th Cir.1985),

cert. denied, 476 U.S. 1105, 106 (1986). Other circuit courts have reached the same

conclusion. See United States v. Sanders, 966 F.3d 397 (5th Cir. 2020)(wherein the

Fifth Circuit found a constructive amendment where the government alleged

knowledge in the indictment (when knowledge was not a required element of the

statute) but the trial court instructed the jury that it was not required to find

knowledge), United States v. Phea, 953 F.3d 838 (5th Cir. 2020)(wherein the Court


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found a constructive amendment where the indictment alleged actual knowledge, the

statute allowed proof of knowledge by another means, and the trial court instructed

the jury that it could find knowledge under either theory), and United States v.

Hoover, 467 F.3d 496 (5th Cir. 2006)(the trial court’s jury charge improperly

expanded the indictment by offering a theory by which the jury could find that the

statements made by the defendant were false in a manner different than the manner

set forth in the indictment in reliance on Sirone v. United States, 361 U.S. 212

(1960)).

      Here the indictment alleged that Mr. Detling acted alone. The aiding and

abetting instruction broadened the possible bases for conviction beyond what was

contained in the indictment by allowing the jury to convict based on a theory of

aiding and abetting. As such, the instruction resulted in a constructive amendment

that requires a per se reversal of his conviction and the granting of a new trial.

                                     Conclusion

      For the foregoing reasons, Mr. Detling asks that the Court grant his motion

to vacate his conviction and grant a new trial.


      Dated: This 7th day of December, 2021.




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                            Respectfully Submitted,

                            s/ Suzanne Hashimi
                            Suzanne Hashimi
                            State Bar No. 335616

                            /s/ Caitlyn Wade
                            Caitlyn Wade
                            Georgia Bar No. 259114


                            Attorneys for Mr. Detling




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                  EXHIBIT C
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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


  U NITED S TATES OF A MERICA
                                          Criminal Action No.
        v.
                                          1:18-cr-00309-LMM-LTW
  C HALMER D ETLING , II
   A/K/A CHUCK DETLING


    Government’s Response to Defendant’s Motion for New Trial

     The United States of America, by Kurt R. Erskine, United States

  Attorney, and Alex R. Sistla and Samir Kaushal, Assistant United

  States Attorneys for the Northern District of Georgia, files this

  response to Defendant Chalmer Detling’s Motion for New Trial (R.

  170). For the reasons below, the Court should deny his motion.

                                Background

     A. Detling’s Trial

     On November 1, 2021, after an eight-day trial, a jury convicted

  Detling of four counts of wire fraud, in violation of 18 U.S.C. § 1343,
  and five counts of aggravated identity theft, in violation of 18 U.S.C.

  § 1028A. (R. 154, Jury Verdict.) At trial, the government presented

  overwhelming evidence that Detling executed a multi-year scheme in
  which he defrauded financing companies by falsely claiming his law

  firm’s clients needed a form of litigation financing known as “litigation

  advances,” when, in fact, they did not. Detling executed this scheme, in
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  part, by using his clients’ personal identifying information to obtain the

  litigation advances. After obtaining the funding from the financing

  companies, Detling did not use the money for its intended use—to

  provide to his clients—but rather used the money for himself and his

  firm. To prove its case, the government presented nearly two dozen

  witnesses, including individuals from the defrauded financing

  companies, twelve of Detling’s victim-clients, several of Detling’s former

  colleagues, and the deputy general counsel of the State Bar of Georgia,

  as well as over 400 exhibits.

     1. The Financing Company Witnesses

     Four witnesses from the defrauded financing companies testified.

  Dr. Howard Golden and Caitlin Wade Caballero testified on behalf of

  Capital Financing, and Josh Schwadron and Hugh Brammer testified

  on behalf of the Mighty Financing entities (“Mighty”). Each of these

  witnesses testified—and were corroborated by voluminous email

  correspondence and business records—that they dealt exclusively with
  Detling on the fraudulent litigation advances and had they known that

  his clients neither authorized the advances nor received the funds, they

  would never would have approved them. 1 For Capital Financing,


     1For Capital Financing, the relevant exhibits are GX-1 through GX-
  9, GX-11, GX-12, GX-14 through GX-18, GX-21, GX-23, GX-24 through
  GX-26, GX-28, GX-31 through GX-35, GX-37 through GX-40, GX-42
  through GX-47, GX-49, GX-50, GX-51, GX-54, GX-57, GX-60 through
  GX-64, GX-67 through GX-72, GX-74 through GX-76, GX-78 through
                                      2
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  Detling was the exclusive point of contact—he was listed as the

  “attorney” on the applications for the fraudulent litigation advances, he

  executed the contracts, 2 and he picked up and endorsed each of the

  fraudulently obtained checks. 3 Caballero and Golden testified that

  Capital Financing communicated exclusively with Detling about the

  status of repayment. 4 And Detling himself stipulated to many of these

  facts in proceedings before the Georgia Bar. 5 The evidence showed that

  Detling was able to conceal his fraud from Capital Financing, in part,

  by exploiting his friendship with Golden.

     As for Mighty, Schwadron’s and Brammer’s testimony mirrored that
  of Caballero and Golden. They both detailed communicating exclusively

  GX-82, GX-83, GX-98 through GX-109, GX-131, GX-136, GX-427, GX-
  428, GX-429, For Mighty, the relevant exhibits are GX-138GX-288, GX-
  336GX-339, GX-346, GX-400, GX-406, and GX-441.
     2See, e.g., GX-43 (Capital Financing contract for S.K.); GX-47
  (Capital Financing contract for T.M.); GX-54 (Capital Financing
  contract for V.M.); GX-57 (Capital Financing contract for B.P.); GX-60
  (Capital Financing contract for B.P.); GX-70 (Capital Financing
  contract for K.P.); GX-76 (Capital Financing contract for A.U.); GX-81
  (Capital Financing contract for L.R.W.).
     3   See GX-101 through GX-109, GX-131.
     See, e.g., GX-14 through GX-18 (email correspondence between C.
     4

  Wade and C. Detling.)
     5See GX-379 (Consolidated Pretrial Order State Disciplinary Board
  Docket. No. 6772); GX-386 (Excerpts from June 29, 2016 Proceedings
  before Special Master (Vol I) in State Disciplinary Board Dockets No.
  6640, 6772, 6804).

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  with Detling about the fraudulent litigation advances. And though

  Schwadron and Brammer mainly communicated with Detling via

  email, they both spoke with him on the phone and even met with him

  in person on a few occasions. 6 Both men testified that they relied on

  Detling’s representations as to why his clients needed litigation

  advances and in deciding whether and how much funding to provide.

  The government introduced hundreds of emails between Detling and
  Schwadron, Brammer, or other Mighty employees in this respect. For

  example, the government presented evidence that Detling repeatedly

  made false representations to Mighty ranging from the reasons his
  clients needed litigation advances, to the nature of their injuries, to

  even the fact that he had met with them. 7 The government also

  presented evidence that Detling signed each of the Mighty agreements 8

     6See, e.g., GX-231 (Detling visit to New York City); GX-253
  (Schwadron visit to Atlanta and meeting Detling and his wife).
     7 See, e.g., GX-254 (May 7, 2015 email from C. Detling to H.
  Brammer containing false representations regarding victim-client
  B.C.); GX-257 (May 27, 2015 email from C. Detling to H. Brammer and
  J. Schwadron containing false representations regarding victim-clients
  S.L and W.L.); GX-264 (Oct. 30, 2015 email from Detling to Mighty
  containing false representations regarding victim-client W.G.).
     8The contracts corresponding to the charged counts in the
  superseding Indictment are GX 161 (Mighty Financing contract for
  B.P.), GX-165 (Mighty Financing contract for K.P), GX-172 (Mighty
  Financing contract for H.M.), GX-178 (Mighty Financing contract for
  W.G.), and GX-336 (Mighty Financing contract for V.M.). The
  government also presented evidence and testimony regarding other
                                       4
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  and provided the wiring instructions for where to send the fraudulently

  obtained funds. 9 To stave off detection, Detling provided semi-fictitious

  case updates to Schwadron, 10 falsely tried to blame one of his former

  colleagues, Mackenzie Cole, for the fraud, 11 or generally stalled and

  delayed. 12 The government presented evidence that after Mighty

  learned of Detling’s fraud, he tried for months to make “payoffs,”

  ultimately reaching an agreement with Mighty to “release” his former

  clients from any liability. 13

     2. The Victim-Clients

     The jury heard from twelve victim-clients, including the five whose
  identities underlie the charges in the superseding indictment. Every

  victim-client uniformly testified that they never signed or authorized

  fraudulently obtained litigation advances from Mighty for uncharged
  victim-clients. See GX-146–, GX-147, GX-148, GX-150, GX-168, GX-161,
  GX-338, GX-339 (contracts for uncharged testifying victim-clients B.C.,
  K.J., M.S.K., S.L./W.L, T.M., and L.R.W.).
     9See GX-138 (Affinity wiring information); GX-145 & GX-185
  (Georgia Commerce wiring information); GX-186 & GX-187 (SunTrust
  wiring information).
     10   See, e.g., GX-171, GX-204, GX-266.
     11   See, e.g., GX-272.
     12   See, e.g., GX-271, GX-273-GX-282.
     13See GX-400 (Forbearance and assignment agreement). The
  evidence at trial showed that this “release” had no practical effect
  because Mighty never intended to sue any of Detling’s clients because
  they never received any of the funding.

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  any of the financing contracts. Nor—with one exception—would they

  have authorized Detling to obtain a litigation advance if he asked. 14 To

  the contrary, several of the victim-clients (e.g.¸ M.S.K., D.M. on behalf

  of T.M.) testified that they expressly told Detling that they did not

  want a litigation advance. And several of the client-victims (e.g., K.P.

  and A.U.) testified that they never had any substantive discussions

  with Detling about their cases, let alone discussions about litigation

  advances. Each of the victim-clients likewise testified that they never

  received any of the funds from the financing companies. The

  government’s final witness, FBI Special Agent Antoinette Ferrari,
  confirmed this was the case by explaining to the jury that she had

  traced the fraudulently obtained litigation advances and found that

  none of them went to any of Detling’s clients.
     3. The Bank Accounts

     The government presented overwhelming evidence that Detling

  controlled the bank accounts into which the fraudulent litigation

  advances were directed. The government introduced bank records

  showing that Detling was the sole signatory for two of the accounts—

  the Affinity Bank account ending in x9635 15 and the Georgia




     14 Victim-client H.M. testified that she had obtained one legitimate
  litigation advance from Capital Financing.
     15   See GX-331, GX-332 (Affinity signature cards).

                                       6
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  Commerce Bank account ending in x4219 16—that received thirteen
  fraudulent litigation advances, and one of two signatories on the

  SunTrust Bank account ending in x0526 account, into which most of

  the fraudulent litigation advances were wired or deposited. 17 Detling’s

  former colleagues, Aimee Ingram and Mackenzie Cole, testified they

  did not have access to the Affinity or Georgia Commerce accounts and

  while they were either a signatory or had access to the SunTrust
  account, Detling was the one who controlled that account as well. In

  addition to his former colleagues’ testimony, the government further

  proved Detling controlled the SunTrust x0526 account by introducing:
  (i) an affidavit Detling filed with the Georgia Bar in which he admitted

  to controlling the account and stated plainly that Mackenzie Cole did

  not; 18 (ii) months of correspondence between him and the Georgia Bar

  about the account being overdrawn; 19 and (iii) admissions he made

  when deposed by the Georgia Bar. 20 The government also presented an

  exhibit summarizing the approximately 50 fraudulent litigation

  advances, totaling more than $400,000, that Detling had obtained

  between October 9, 2014 and January 1, 2016. Those funds were


     16   See GX-84, GX-85 (Georgia Commerce signature cards).
     17   See GX-93 (SunTrust signature card).
     18   See GX-350.
     19   See GX-341 through GX-345; GX-434 through GX-439.
     20   See GX-386.

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  directed into the three bank accounts: Affinity x9635 received six

  fraudulent wires, Georgia Commerce x4219 received seven fraudulent

  wires, and SunTrust x0526 received thirty fraudulent wires and

  deposits. 21

     4. Detling’s Defense

     Detling’s theory of defense varied over the course of the trial. At

  different points, Detling offered that: (i) he could not have possibly
  committed the fraud because he was “absent” from the firm; (ii) his

  former colleagues—Aimee Ingram and Mackenzie Cole—were to blame

  because they were motivated to see the firm succeed; (iii) someone
  hacked his email and was responsible; or (iv) he acted in good faith by

  supposedly relying on information provided by colleagues or perhaps

  the clients’ implicit authorization to obtain the litigation advances.
     B. The Jury Instructions

     The parties filed proposed jury instructions before the trial began.

  (R. 136, Govt. Proposed Jury Instructions; R. 137, Detling’s Proposed

  Jury Instructions.) The government’s proposal did not include the two

  instructions at issue here—requests to instruct the jury on deliberate

  ignorance and aiding and abetting. Detling’s proposed instructions also
  did not include either of these instructions but included a proposed

     21 See GX-445. The evidence at trial showed that Mighty would
  sometimes combine multiple litigationadvances into a single wire,
  consequently the number of wires is less than the number of fraudulent
  litigation advances Detling obtained.

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  good faith instruction. (R. 137, Detling’s Proposed Jury Instructions at

  12.)

     On October 28, 2021, before the government had concluded its case-

  in-chief, the Court held its first charge conference. (R. 157, Minute

  Entry.) During the charge conference, the government objected to

  Detling’s proposed good faith instruction. (R. 166, Oct. 28, 2021 Charge

  Conference at 9:18–20 (“At this point [we] don’t believe there’s an

  evidentiary basis to support a good faith instruction.”).) 22 Detling

  argued that a good faith instruction was appropriate because he

  claimed a jury could conclude that Detling relied on his colleagues in
  applying for the litigation advances under the mistaken impression

  that the clients had authorized him to do so (by allegedly telling his

  colleagues they wanted litigation advances). (Id. at 10:12–11:9; 12:4–9;
  13:4–13.) Without pointing to anything in the record, Detling argued:

              Well, if—we say it could be a mistaken belief if
              [Mackenzie Cole and Aimee Ingram] did and
              told Mr. Detling falsely that these clients want
              these advances. And if he operated on that
              mistaken belief in communicating with the
              funding companies and to the extent he picked
              up checks or deposited checks into the IOLTA
              account for client funds, he could have both
              addressed Mr. Schwadron and Mr. Golden with
              the belief these clients wanted that, he had
              access to this files, he’s just describing what he

     22Citations to transcripts list the docket entry, the beginning page
  and line number and the ending page and line number.

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              thinks the injuries are and he’s being fed a lie
              by Ms. Ingram and Ms. Cole.
  (Id. at 13:4–13.)

     The government responded:

              There’s absolutely no evidence of that . . .
              [f]irst, of all, the defense [is] suggesting . . . that
              Mr. Detling is now admitting both that he
              applied for an obtained the loans, sent all those
              e-mails, picked up all the checks. That’s not
              their defense. Their defense is somebody else
              did it. There is no evidence that Mr. Detling
              relied on Ms. Cole and Ms. Ingram telling him
              that clients X, Y, and Z wanted these loans,
              then he went ahead and applied for the loans
              and thought that the money would then
              appropriately be disbursed to the clients. . . .
              [W]hat underlies a good faith defense is the
              defendant first admitting they did the act and
              the case is ultimately whether they acted with
              an intent to defraud. . . . The Defendant hasn’t
              admitted he’s done the underlying act, so a
              good faith defense is just inappropriate . . . as
              the evidence stands now.
  (Id. at 13:15–14:10.) The Court deferred ruling on the government’s

  objection, noting that it first wished to hear the rest of the evidence,

  especially the cross examination of Cole. (Id. at 14:11–17.)

     The next day, October 29, 2021, the government rested, and the

  Court orally denied Detling’s Rule 29 motion for judgment of acquittal.
  (R. 157.) The Court then held a second charge conference during which

  Detling’s “theory of the defense” instruction was discussed. (Id.; R. 170,

  Mot. for New Trial at 4.) The Court declined to give Detling’s requested

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  “theory of defense” but afforded him an opportunity to brief the issue.

  (Id.) On Saturday, October 30, 2021, Detling filed a brief in support of

  his “theory of defense” instruction. (R. 150, Theory of Def. Br.) Without

  citing any authority, Detling wanted the jury instructed that it “must

  acquit based on acts committed by another person.” (Id. at 4.) The

  government filed its response the next day. (R. 151, Govt. Opp. to

  Theory of Def.)

     The government explained that Detling had offered no authority to

  support his proposed theory (id. at 1–3) and requested—if the Court

  were to provide Detling’s proposed good faith instruction—that the jury

  be instructed on deliberate ignorance as well. (Id. at 6–8.) The

  government further requested the Court to instruct the jury on “aiding

  and abetting” in anticipation of Detling’s closing argument. (Id. at 8

  (requesting the Court instruct the jury on aiding and abetting using the

  Eleventh Circuit Pattern Jury Instructions).) The government was

  concerned, based on Detling’s repeated claims that any involvement of
  another individual would require acquitting Detling, that Detling

  would argue to the jury—misleadingly and incorrectly—that he should

  be acquitted merely because someone else performed a relevant act,
  regardless of if he directed it or was otherwise criminally culpable for

  the act under the law.

     On the morning of November 1, 2021, the Court held a third charge
  conference. (R. 158.). The Court explained that it was providing Detling

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  an opportunity to respond to the government’s objections and

  additional proposed instructions. (R. 167, Nov. 1, 2021 Charge

  Conference at 7:13; id. at 8:23–25.) Detling argued that the aiding and

  abetting instruction was improper because the government had not

  “identified someone in addition to the principal . . . some sort of other

  wrongdoer.” (Id. at 9:20–22.) The government explained, in response,

  that Detling’s “own arguments for why they think other folks were

  involved are the very reasons why aiding and abetting should be

  included as an instruction[.]” (Id. at 13:12–15.) As for the deliberate

  ignorance instruction, Detling argued it was not appropriate because

  “it’s a perfectly reasonable thing [for Detling] to rely on people, one of

  which described themselves as a managing partner of the firm or a

  bookkeeper or other people in the firm.” (Id. at 12:4–7.)

     The Court rejected Detling’s arguments. It refused to give his theory

  of defense because “it was an inaccurate statement of the law” (id. at

  15:18–19) and concluded that the aiding and abetting instruction was
  appropriate because “the Eleventh Circuit case law is clear on this.”

  (Id. at 16:17–18.) The Court also agreed to instruct the jury on

  deliberate ignorance but omitted the pattern instruction’s example. (Id.
  at 14:24–15:6.) When offered an opportunity to raise any other

  concerns, Detling asked the Court to reconsider including a portion of

  the “theory of defense” language that the Court itself had drafted in
  order to “counterbalance . . . if the government is going to be allowed

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  . . . [to] argue aiding and abetting.” (Id. at 17:25–18:18.) The Court

  rejected Detling’s request—reiterating that the aiding and abetting

  instruction was appropriate given “the way the evidence came in”—and

  offered him another opportunity to raise any issues. (Id. at 18:19–

  19:21.) Detling had no further objections. (Id. at 19:22.)

     The parties thereafter presented closing arguments, and Detling

  was convicted on all counts that afternoon. (R. 154, Jury Verdict.)

     On December 7, 2021, Detling filed a motion for new trial. (R. 170,

  Mot. for New Trial.) He argues that the Court erred by instructing the

  jury on deliberate ignorance and aiding and abetting. (Id. at 7–16.) On

  December 14, 2021, the government obtained a two-week extension to

  file its response (R. 173), and now files its response in opposition.

                                  Argument

     Federal Rule of Criminal Procedure 33(a) provides that, “[u]pon the

  defendant’s motion, the court may vacate any judgment and grant a

  new trial if the interest of justice so requires.” Although “motions for a

  new trial are disfavored,” United States v. Williams, 146 F. App’x 425,

  434 (11th Cir. 2005), the “interest of justice” standard is broad, and the

  trial court is vested with substantial discretion in determining whether
  to grant such a motion. See, e.g., United States v. Vicaria, 12 F.3d 195,

  198 (11th Cir. 1994) (holding that “interest of justice” standard is broad

  and “not limited to cases where the district court concludes that its
  prior ruling, upon which it bases the new trial, was legally erroneous”).
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     Because the Court did not err by instructing the jury as to either

  deliberate ignorance or aiding and abetting, Detling’s motion should be

  denied. But even if one or both instructions were erroneous, any such

  errors were harmless, and Detling cannot demonstrate that it is in the

  “interest of justice” to grant a new trial given the overwhelming

  evidence that supported the jury’s verdicts.

     A. The Court correctly instructed the jury on deliberate
        ignorance.

     The Court properly instructed the jury on deliberate ignorance. The

  “instruction is warranted ‘only when . . . the facts . . . support the

  inference that the defendant was aware of a high probability of the

  existence of the fact in question and purposely contrived to avoid

  learning all of the facts in order to have a defense in the event of a

  subsequent prosecution.’” United States v. Santos, 397 F. App’x 583,

  590 (11th Cir. 2010) (quoting United States v. Rivera, 944 F.3d 1563,

  1571 (11th Cir. 1991)) (internal quotation marks omitted). Although the

  “district court should not instruct the jury on ‘deliberate ignorance’
  when the relevant evidence points only to actual knowledge, rather

  than deliberate avoidance[,]” Rivera, 944 F.2d at 1571, “if there is

  evidence in the record to support both actual knowledge and deliberate

  ignorance, then both instructions may be given.” United States v. Jeri,

  869 F.3d 1247, 1268 (11th Cir. 2017) (citing United States v. Arias, 984

  F.2d 1139, 1143 (11th Cir. 1993)).

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     At trial, Detling offered various defenses, including that he

  purportedly relied in good faith on others—especially Cole and

  Ingram—for information relating to the litigation advances. (R. 165,

  Closing Arg. Tr. at 54:25-55:7.) 23 He also suggested he could have acted




     23During closing, defense counsel argued that Cole and Ingram were
  responsible, and not Detling:

     Now, the government may try to tell you that even if you think
     Mackenzie Cole or Aimie Ingram were involved in this, that
     doesn’t mean you have to find Mr. Detling not guilty. But when
     they stood before you in opening, they never gave you any hint
     that they thought either of those people were involved and in fact
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  in good faith because the clients allegedly authorized him to obtain

  litigation financing under the terms of his firm’s engagement letters.

  (Id. at 29:24–30:13.) On the other hand, Detling simultaneously argued

  that maybe someone had executed the scheme because they could have

  potentially accessed his email account. (Id. at 45:13–46:8.) Or that Cole

  and Ingram actually executed the entire scheme. (Id. at 54:18–24.)



     they called them as their witnesses who they expected you to
     believe. But you were here. You saw their case blow up with
     those two witnesses. You saw -- you saw it with Aimie Ingram’s
     lies and you saw it when she admitted that there were
     transactions that were not authorized by Mr. Detling that bit
     benefited her. And you saw it when Mackenzie Cole was forced to
     go through each and every one of the transactions that she would
     have been able to see while still pretending that she thought
     nothing was wrong. We’re not suggesting to you that Mr. Detling
     knowingly assisted Ms. Ingram or Ms. Cole in a fraud scheme,
     but if you have any reason to believe that Ms. Cole and Ms.
     Ingram may have done this together, the same way that they
     planned to run the down payment through the firm’s accounts
     without Mr. Detling’s knowledge, then that is a reasonable doubt
     that should cause you to acquit. If you have any reason to believe
     that the two of them may have fed information that he, Mr.
     Detling, in good faith passed on to the funding companies about
     the client wanting the advances, then that is a reasonable doubt
     that should cause you to acquit. If you have reason to believe that
     they may have moved money out of the IOLTA account into the
     operating account without his knowledge, then that is a
     reasonable doubt that should cause you to acquit.

  (R. 165, Closing Arg. Tr. at 54:4–55:7.)

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  Detling also argued at various points that he could not have committed

  the fraud because he was supposedly absent from the firm on account of

  his daughter’s illness. (See id. at 41:24–42:6.)

     Accordingly, the government requested the deliberate ignorance

  instruction based on Detling’s apparent concession that he did apply for

  and obtain the fraudulent litigation advances, albeit purportedly under

  the guise of operating in “good faith.” The Court correctly provided the

  instruction because the jury could infer—assuming it was true he relied

  on others—that Detling purposefully contrived to avoid learning that

  none of the clients had actually wanted the litigation advances. See,

  e.g., United States v. Fernandez, 553 F. App’x 927, 936–37 (11th Cir.

  2014); United States v. Magallon, 984 F.3d 1263, 1286 (8th Cir. 2021)

  (“The ‘[deliberate ignorance] instruction is particularly appropriate

  when the defendant denies any knowledge of a criminal scheme despite

  strong evidence to the contrary.’”) (quoting United States v. Regan, 940

  F.2d 1134, 1136 (8th Cir. 1991)); United States v. Gowder, 841 F. App’x
  770, 783 (6th Cir. 2020) (“Courts may give a deliberate-ignorance

  instruction if the defendant claims lack of knowledge and the facts and

  evidence support an inference of deliberate indifference.”) (citation
  omitted); see also United States v. Bryant, 854 F. App’x 572, 574 (5th

  Cir. 2021) (citation omitted); United States v. Underwood, 845 F. App’x

  239, 242 (4th Cir. 2021) (citation omitted).



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     Here, the evidence showed conclusively that Detling knew that

  litigation advances had been obtained and that he was the leader and

  primary decision-maker for the law firm. He was responsible for

  communicating with Capital Financing and Mighty about the

  advances. 24 And he had access to the bank accounts—several IOLTA

  accounts—that were used to receive the fraudulent litigation advances,

  rather than the clients’ accounts. 25 But none of these advances were

  ever transferred from his firm’s IOLTA accounts to the clients who

  supposedly needed them. Detling was also responsible for approving his

  client-victims’ settlement statements, and these litigation advances—if
  legitimate—should have appeared on those statements. But the




     24 See, e.g., GX-256 (May 21, 2015 email from C. Detling to H.
  Brammer (“And I’m the only one in the office who has the authority to
  sit down and talk to clients about financing options, so don’t read
  anything into the fact that I haven’t sent any apps your way in a few
  weeks.”).
     25 The witnesses from the financing companies testified that it was
  unusual for the litigation advances to be deposited (or wired) directly
  into Detling’s IOLTA accounts. In particular, Caballero testified that
  the clients, instead of their attorneys, typically picked up the litigation
  advance checks themselves from Capital Financing, and she could not
  recall any other attorney aside from Detling picking up the checks. This
  evidence thus shows either that Detling had actual knowledge that the
  advances had been fraudulently obtained or he was intentionally
  contriving to avoid learning why his clients were obtaining litigation
  advances but not the proceeds from those advances.

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  evidence showed they did not. 26 The evidence also showed that while
  Detling did not personally meet with every client-victim—other lawyers

  were involved in their representations 27—several had expressly told

  him they did not want or need a litigation advance. 28 Taking all this

  together, along with Detling’s argument that he relied in good faith on

  others at the law firm, gives rise to the inference that, even if Detling

  did not have actual knowledge that the client-victims were not seeking
  to obtain litigation advances, he purposefully contrived to avoid

  learning that fact. Cf. United States v. Alexander, 857 F. App’x 592, 597

  (11th Cir. 2021) (district court did not err by giving deliberate
  ignorance instruction where defendant used “stolen identities as the

  names of senders, rather than using his name or his co-conspirators’

  names”); Gowder, 841 F.3d at 783 (deliberate ignorance instruction
  appropriate where clinic owner “claimed a lack of knowledge” that it

  was a pill mill but there was evidence of a health department

  investigation, patients’ abuse of drugs, and his prior involvement with

  a co-defendant).




      See, e.g., GX-272 (Mar. 3, 2016 email from C. Detling to J.
     26

  Schwadron); GX-276 (Mar. 16, 2016 email from C. Detling to J.
  Schwadron); Testimony of A. Ingram.
     27   E.g., testimony of client-victims K.P. and A.U.
     28 E.g., testimony of client-victims M.S.K. and D.M. (on behalf of
  client-victim T.M.).

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  Detling further claims that his “good faith” defense was somehow

  undercut by the deliberate ignorance instruction, but he does not

  explain how. (R. 170, Mot. for New Trial at 10.) And he has waived the

  ability to provide reasons later. Cf. United States v. Kendricks, No.

  1:15-CR-400, 2016 U.S. Dist. LEXIS 142027, at *17–18 n.5 (N.D. Ga.

  Aug. 22, 2016) (“Arguments which are first raised in a reply brief are

  deemed waived.”) (citing United States v. House, 684 F.3d 1173, 1210

  (11th Cir. 2012)). At trial, Detling elicited testimony from witnesses,

  such as Schwadron and Brammer, who were unaffiliated with Detling’s

  law firm, that they “did not know” how his firm operated or where

  Detling had purportedly received the information he relayed about

  clients or litigation advances. (R. 165, Closing Arg. Tr. at 39:19–24.) He

  extensively cross-examined Ingram and Cole about their access to

  client and banking information and Detling’s need to rely on them

  because he was not daily at his firm. (Id. at 52:19–53:15 (arguing that

  Detling could have relied on information provided by Cole).) Detling
  further highlighted the “power of attorney” clauses in his firm’s

  engagement letters to argue that his clients’ implicitly authorized him

  to obtain litigation advances. (Id. at 29:24–30:13.) As such, his “good
  faith” presentation was not harmed by the instruction and the Court

  did not err in issuing the deliberate ignorance instruction.

     Detling next argues, without legal authority, that instructing a jury
  on deliberate ignorance amounts to a constructive amendment. (R. 170,

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  Mot. for New Trial at 10.) 29 This argument fails. Instructing a jury how
  the government may prove that a defendant had the requisite

  knowledge does not broaden the possible bases of conviction. As shown

  in the jury instructions, the jury was still required to find each element
  of wire fraud and aggravated identity theft beyond a reasonable doubt,

  including that Detling acted knowingly. (R. 153, Detling Final Jury

  Instructions at 8–9 (wire fraud); 11 (aggravated identity theft)).
  Compare United States v. Edwards, 526 F.3d 747, 761 (11th Cir. 2008)

  (“As the jury instructions did not alter the mens rea element of the wire

  fraud offense, a constructive amendment did not occur.”) with United
  States v. Madden, 733 F.3d 1314, 1317–18 (11th Cir. 2013) (indictment

  was constructively amended when jury instructed that it could convict

  a defendant if it found he carried a firearm “during and in relation to a

  drug trafficking offense,” when the indictment charged the defendant

  only with possessing a firearm “in furtherance of . . . a drug trafficking

  crime” and using and carrying a firearm “during and in relation to a
  crime of violence”) (emphasis added). 30


     29“A constructive ‘amendment occurs when the essential elements of
  the offense are altered to broaden the possible bases for conviction
  beyond what is contained in the indictment.’” United States v.
  Edwards, 526 F.3d 747, 760 (11th Cir. 2008) (quoting United States v.
  Keller, 916 F.2d 628, 634 (11th Cir. 1990)) (alterations omitted).
     30See also, e.g., United States v. Vasquez, 677 F.3d 685, 696 (5th Cir.
  2012) (“The deliberate ignorance instruction does not lessen the
  government's burden to show, beyond a reasonable doubt, that the
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     Even if the Court erred—and it did not—by instructing the jury on

  deliberate ignorance, the Eleventh Circuit has “repeatedly held” that

  doing so “‘is harmless error where the jury was also instructed and

  could have convicted on an alternative, sufficiently supported theory of

  actual knowledge.’” United States v. Wentt, 828 F. App’x 526, 528 (11th

  Cir. 2020) (quoting United States v. Steed, 548 F.3d 961, 977 (11th Cir.

  2008)). That was the case here. The Court properly instructed the jury

  as to actual knowledge (R. 153, Final Jury Instructions at 6), and the

  government introduced “sufficient evidence to support the actual-

  knowledge theory.” United States v. Ahrens, 782 F. App’x 845, 849 (11th

  Cir. 2019) (citing United States v. Stone, 9 F.3d 934, 937, 940 (11th Cir.

  1993)); see also, e.g., United States v. Pineda, 843 F. App’x 174, 181

  (11th Cir. 2021) (district court did not err by instructing the jury as to

  deliberate ignorance even though there was testimony that the

  defendant acted “with full knowledge of the fraud” and even if the court

  erred, it was harmless, because “there was sufficient proof that [the
  defendant] had actual knowledge of the fraud”); United States v.

  Fernandez, 553 F. App’x 927, 937 (11th Cir. 2014) (“But the absence or

  presence of evidence of deliberate ignorance ‘does not matter’ when ‘the
  jury could have convicted on an alternative, sufficiently supported




  knowledge elements of the crimes have been satisfied.”) (quotation
  marks omitted).

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  theory of actual knowledge.’’) (quoting United States v. Kennard, 472

  F.3d 851, 858 (11th Cir. 2006)). 31

     As detailed above, the government introduced overwhelming

  evidence from which the jury could have concluded that Detling acted

  with actual knowledge. The government’s evidence proved, among

  other things, that Detling executed the fraudulent financing contracts,

  directly and extensively communicated with the financing companies

  (and was their exclusive contact), controlled the bank accounts in which

  the fraudulent funds were deposited or wired, and was even told by

  several clients that they did not need or want a litigation advance.

     31 Indeed, Detling’s reliance on Stone is curious because there the
  Eleventh Circuit applied a harmless error analysis where the
  defendant argued that the jury had been improperly instructed on
  deliberate ignorance. Stone, 9 F.3d at 939–42. Detling suggests that
  Stone is distinguishable because in that case “the jury was instructed
  on the evidentiary basis which must be found before it can consider
  whether the defendant acted with deliberate ignorance.” (R. 170, Mot.
  for New Trial at 9.) Detling does not cite any language from Stone to
  support this argument. Nor does it make much sense considering what
  Stone actually says. Stone explained, first, that it was uncontested that
  the deliberate ignorance instruction was correct as a matter of law,
  Stone 9 F.3d at 939, and second, because the jury is presumed to follow
  the law, “if there was insufficient evidence to prove deliberate
  ignorance beyond a reasonable doubt, there is no reason to believe that
  the jury convicted [the defendant] on a . . . theory for which there was
  insufficient evidence.” Id. at 941–42. Although Detling objected to
  instructing the jury on deliberate ignorance, he did not argue that the
  Court’s instruction—as given—improperly instructed the jury on the
  law. (R. 167, Nov. 1, 2021 Jury Charge Conference at 10:22–12:16.)

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     Finally, Detling argues for the first time in his motion that the

  Court erred by not giving a portion of the pattern instruction on

  deliberate ignorance. (R. 170, Detling Mot. for New Trial at 8.) Because

  Detling failed to object to the Court not providing this portion of the

  instruction—as opposed to objecting to the deliberate ignorance

  instruction in its entirety—the Court should review the failure to give

  this portion of the deliberate ignorance instruction for plain error. See,

  e.g., United States v. Iriele, 977 F.3d 1155, 1177 (11th Cir. 2020) (noting

  that plain error applies to any unpreserved objections to jury

  instructions because Federal Rule of Criminal Procedure 30(d) requires

  a party to “inform the court of the specific objection and grounds for

  objection before the jury retires to deliberate”); United States v. Puche,

  350 F.3d 1137, 1148 n. 5 (11th Cir. 2003) (noting that because

  defendants objected to the deliberate-ignorance instruction on different

  grounds on appeal, the plain-error standard of review applied); United

  States v. Schlei, 122 F.3d 944, 974 (11th Cir. 1997) (“Although Schlei
  objected to the deliberate ignorance instruction at trial, he did not raise

  this specific contention before the district court. ‘In order to preserve an

  objection to jury instructions for appellate review, a party must object
  before the jury retires, stating distinctly the specific grounds for the

  objection.’”) (quoting United States v. Starke, 62 F.3d 1374, 1380-81

  (11th Cir.1995)); United States v. Sirang, 70 F.3d 588, 594 (11th Cir.



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  1994) (holding the objection must be specific enough to give a court an

  opportunity to correct errors before the case goes to the jury). 32

     To satisfy plain error, Detling must show “(1) an error (2) that is

  plain and (3) that has affected the defendant's substantial rights; and

  (4) that seriously affects the fairness, integrity, or public reputation of

  judicial proceedings.” United States v. Xavier, 735 F. App’x 656, 659

  (11th Cir. 2018) (citing United States v. Madden, 733 F.3d 1314, 1322

  (11th Cir. 2013)). 33 Although the Court modified the pattern instruction

  by not providing the jury an example of deliberate ignorance, the

  instruction, when coupled with the remaining jury instructions,
  properly instructed the jury as to the elements it had to find with

  respect to wire fraud and aggravated identity theft. Importantly, the

  jury was instructed that the government must prove every fact beyond

     32The government could not locate any cases from the Eleventh
  Circuit discussing the interplay between the standard of review
  applicable to Rule 33 motions and that to unobjected jury instruction.
  In other words, while the Court may grant a Rule 33 motion where the
  “interest of justice” so demands, it is unclear whether a defendant could
  meet that standard where he could not demonstrate plain error because
  he must show both that the error affected his substantial rights and
  seriously affected the fairness, integrity, or public reputation of the
  proceedings.
     33 As a formal matter, a party must establish the first three
  elements of plain error, before a court “may . . . exercise its discretion to
  notice a forfeited error, but only if [ ] the error seriously affects the
  fairness, integrity, or public reputation of judicial proceedings.” United
  States v. Turner, 474 F.3d 1265, 1276 (11th Cir. 2007).

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  a reasonable doubt, and they could not find Detling guilty merely

  because of “negligence, carelessness, or foolishness.” (R. 153, Jury

  Instructions at 8, 11); see, e.g., United States v. Jefferies, 378 F. App’x

  961, 963 (11th Cir. 2010) (“We examine jury instructions to determine

  if, taken as a whole, the jury was sufficiently instructed to understand

  the issues and was not misled.”) (citing United States v. Fulford, 267

  F.3d 1241, 1245 (11th Cir. 2001)). 34 And it is well-settled that the jury

  is presumed to follow the instructions. United States v. Ramirez, 426

  F.3d 1344, 1352 (11th Cir. 2005) (citation omitted). But even if there

  was error here, it was not plain. Detling has identified no authority
  that the modified instruction—either taken alone or read as part of the

  jury instructions as a whole—would be obvious error.

     Nor can Detling demonstrate that any error with the instruction—
  assuming there was some error—affected his substantial rights or

  seriously affected the fairness or integrity of his trial. For example, in

  United States v. Watson, 611 F. App’x 647 (11th Cir. 2015), the court of
  appeals held that even if the district court plainly erred in providing a

  deliberate ignorance instruction, the defendant could not “demonstrate

     34 Indeed, there could be little doubt that the government’s burden
  was proof beyond a reasonable doubt. Detling stressed that point in his
  closing argument, mentioning the government’s burden or “reasonable
  doubt” at least a dozen times in his closing argument. (R. 165, Closing
  Arg. Tr. at 27, 28, 29, 30, 36, 54, 55.) For its part, the government noted
  its burden prove Detling’s guilt beyond a reasonable doubt at least four
  times. (Id. at 2, 3, 27, 56.)

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  that the error affected his ‘substantial rights’ [because] [i]n the

  ‘ordinary case,’ an error impacts a defendant's substantial rights when

  that error “affected the outcome of the district court proceedings.” Id. at

  662-663 (quoting Puckett v. United States, 556 U.S. 129, 135 (2009)). In

  Watson, [a]ny error from the [deliberate ignorance] instruction had no

  effect on the proceedings because the evidence at trial supported a

  finding that [the defendant] actually knew that his passengers could

  not legally enter the United States.” 611 F. App’x at 663; see also

  Starke, 62 F.3d at 1381. Likewise, here, the evidence at trial

  demonstrated that Detling knew his victim-clients neither applied for

  nor authorized Detling to obtain litigation advances on their behalf. As

  such, whether the Court plainly erred by instructing the jury on

  deliberate ignorance was inconsequential and had no affect on the

  outcome of Detling’s trial.

     Moreover, it is difficult to imagine any scenario where a defendant

  could show plain error under these circumstances given that the
  Eleventh Circuit has repeatedly held that even where the deliberate

  ignorance instruction was improperly given, i.e., where no evidence

  supports it being given the jury, such an error is harmless where there
  is “sufficient evidence to support the actual-knowledge theory” Ahrens,

  782 F. App’x at 849; Fernandez, 553 F. App’x at 937. Such is the case

  here, where the government presented overwhelming evidence from



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  which the jury could have concluded that Detling had “actual

  knowledge” of the fraud scheme.

     B. The aiding and abetting instruction was appropriate.

     Detling’s arguments against the aiding and abetting instruction fail

  because they are based on an incorrect understanding of the law.

     First, contrary to Detling’s repeated claims, aiding and abetting is a

  theory of criminal liability embedded in every count charged in an

  indictment and therefore there was no notice or constructive

  amendment issue:

     [T]here is no need to refer to aiding and abetting in the
     indictment because “[t]he aiding and abetting theory is not an
     essential element of the offense.” United States v. DePace, 120
     F.3d 233, 236 n.3 (11th Cir. 1997); see also United States v.
     Broadwell, 870 F.2d 594, 607 (11th Cir. 1989) (noting that a
     defendant “can be found guilty as an aider and abettor pursuant
     to 18 U.S.C. § 2 even though the indictment did not specifically
     charge him as an aider and abettor”). Instead, “it is merely a
     theory upon which criminal liability may be based,” United States
     v. Camacho, 233 F.3d 1308, 1315 (11th Cir. 2000), and “an
     alternative charge in every count, whether explicit or implicit.”
     United States v. Walker, 621 F.2d 163, 166 (5th Cir. 1980).


  United States v. Philpot, 773 F. App’x 583, 590 (11th Cir. 2019). “An

  individual . . . may be indicted as a principal for the commission of a

  substantive crime and convicted upon evidence that he or she aided and

  abetted only.” United States v. Walser, 3 F.3d 380, 388 (11th Cir. 1993).

  This is because “Title 18 U.S.C. § 2 . . . does not establish a separate

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  crime.” Id. As such, “18 U.S.C. § 2 is an alternative charge in every

  count, whether explicit or implicit, and the rule is well-established . . .

  that one who has been indicted as a principal may be convicted on

  evidence showing that he merely aided and abetted the commission of

  the offense.” United States v. Walker, 621 F.2d 163, 166 (5th Cir. 1980)

  (stating that “18 U.S.C. § 2 does not define a crime[, but] simply makes

  punishable as a principal one who aids or abets the commission of a

  substantive crime”) (internal quotation marks omitted) 35; United States

  v. Tucker, 402 F. App’x 499, 502 (11th Cir. 2010) (“[U]nder our law, an

  individual indicted as a principal may be convicted on evidence showing
  that he aided and abetted the commission of the offense, regardless of

  whether the indictment included an aiding-and-abetting charge.”).

     Second, the evidence at trial supported inclusion of the instruction.
  At trial, evidence and testimony was presented that: (i) Ingram and

  Cole had access to the SunTrust Bank x0526 account; 36 (ii) this bank

  account was used as part of the fraud; 37 (iii) Cole had been given the

  title of “partner” by Detling; (iv) Detling did not personally interact

  with every victim-client; and (v) Cole and other lawyers at Detling’s law



     35In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981)
  (en banc), the Eleventh Circuit adopted as binding precedent all Fifth
  Circuit decisions issued prior to October 1, 1981.
     36   See GX-93 (SunTrust signature card).
     37   See GX-445 (Summary Chart).

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  firm were involved in representing some of the victim-clients. The

  evidence and testimony—including emails between Mighty and Detling

  and testimony from Golden, Caballero, Schwadron, and Brammer—also

  showed that Detling was solely responsible for interfacing with the

  financing companies. Ingram and Cole both testified on direct that they

  were not involved in the criminal scheme. And on cross-examination,

  Detling challenged their veracity. (See R. 170, Mot. for New Trial at

  11.) The jury was left to evaluate the witnesses’ veracity, which Detling

  attacked voraciously in closing. (E.g., R. 165, Closing Arg. Tr. at 42:7–

  18, 44:2–3, 45:13–14, 46:9–47:2, 48:13–49:2.) Indeed, Detling’s own

  defense (as described in his motion for new trial)—“that he relied in

  good faith upon the managing partner, Mackenzie Cole, and the office

  manager, Aimie Ingram, . . . regarding the desire of clients to obtain

  litigation advances” (R. 170, Mot. for New Trial at 11)—essentially

  concedes evidence of aiding and abetting liability, leaving only intent

  unproven. As such, there was some evidence and a view of the facts
  that the jury could reach—largely pushed by the defense—that Detling

  possibly worked with others to commit the fraud scheme. Although the

  government did not ultimately opt to do so, it would have been free to
  argue to the jury in closing (or on rebuttal) that even if Ingram and

  Cole were involved in the crimes, Detling could still be found guilty as a

  principal or under an aiding and abetting theory if the evidence
  supported that conclusion.

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     Third, this case is neither unique nor novel. In United States v.

  Thomas, 631 F. App’x 847 (11th Cir. 2015), the Eleventh Circuit found

  no issue with an aiding and abetting instruction with a similar defense

  from the defendant. There, the defendant’s main defense was that “his

  wife committed the[] crimes.” Id. at 851. That defense “coupled with the

  evidence presented at trial—that [the wife] worked where he did, that

  it was possible that she could have logged in remotely if she knew [the

  defendant’s] passwords, that she was a signatory on each of the three

  bank accounts which received the stolen funds, and that she had a total

  of $17,000 in checks written out to her personally from these

  accounts—supported the aiding and abetting instruction.” Id. The same

  reasoning applies here as similar arguments were made by Detling to

  blame Ingram and Cole for the charged crimes. And the supposedly

  distinguishing facts Detling identifies about the Thomas indictment do

  not change the law of the Eleventh Circuit, which does not require the

  supposed distinguishing facts Detling identifies to be present for aiding
  and abetting liability to apply. See, e.g. Philpot, 773 F. App’x at 590.

     Fourth, Detling’s claim of prejudice and surprise is unsupported. To

  start, there is no doubt that both parties knew long before trial that
  Cole and Ingram would be key witnesses so there was no surprise in

  terms of witnesses. And Detling provides no specific examples of

  prejudice regarding any witnesses. He at best vaguely claims that the
  cross-examinations of Cole and Ingram “would have been quite

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  different” (R. 170, Def. Mot. for New Trial at 13), but he does not

  provide a single theoretical, practical, or legal reason why his tactics

  would have changed. Regardless, Detling offers no reason why his

  strategy would be different; he would have still attacked Cole and

  Ingram to make it appear as if Detling was not involved, just as he did

  during trial. Now, having provided no specific reasons for prejudice in

  his opening brief, Detling has waived the ability to provide additional

  reasons later. Cf. Kendricks, 2016 U.S. Dist. LEXIS 142027, at *17–18

  n.5. Moreover, the black letter law regarding aiding and abetting

  liability being implicit in any charged count provides all the notice

  needed. See Walker, 621 F.2d at 166.

     Fifth, Detling’s complaint that the “government made no reference

  to the instruction in closing argument” is of no moment. (R. 170, Def.

  Mot. for New Trial at 14.) The instruction was proper based on

  Eleventh Circuit law and the evidence and seemingly necessary

  because Detling, even now, insists on a contrived, incorrect
  interpretation of criminal law for which there is no legal support—that

  the government must exclude Cole, Ingram, and everyone else in the

  world from being involved in the charged scheme for the jury to convict
  Detling. 38 Because the jury instructions were read before closing

  arguments, it was important for the jury to hear the true and correct


     38The actual law, of course, only requires that the elements of the
  offenses be proven beyond a reasonable doubt against Detling.

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  law to prevent defense counsel from poisoning the jury with their

  incorrect assertions during closing. 39

     Finally, even if the Court erred in giving the aiding and abetting

  instruction, any error was harmless because, as explained above, the

  evidence of Detling’s guilty was overwhelming. United States v.

  Hornaday, 392 F.3d 1306, 1316 (11th Cir. 2004) (applying harmless

  error review when jury is improperly instructed on aiding and abetting

  theory of liability); United States v. Grimsley, 808 F. App’x 865, 870

  (11th Cir. 2020).




                                 * * * * *




     39 The government’s fears regarding Detling’s closing were well-
  founded. During closing, the government had to take the unusual step
  of objecting twice due to the defense mischaracterizing the jury
  instructions and returning to a topic that was previously ruled off
  limits. (R. 165, Closing Arg. Tr. at 32:13–36:2 (Court ultimately
  referring the jury back to the instructions by stating “I just want to
  make sure that you understand, and I’ve said this before, but the law
  you are to apply is the law that’s in the jury instructions. So the
  lawyers are arguing the law, but the law comes from what . . . I have
  given you as to the instructions.”); id. at 44:13–45:3 (Court instructing
  defense to “move on” because the issue “was the subject of the Court’s
  [prior] ruling on that particular matter”).

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                               Conclusion

     For the foregoing reasons, the Court should deny Detling’s motion.



                                    Respectfully submitted,

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  the parties and counsel of record.


                            Caitlyn Wade

                            Suzanne Hashimi

                            Counsel for Chalmer Detling II


  January 4, 2022


                                       /s/ A LEX S ISTLA

                                       A LEX S ISTA

                                       Assistant United States Attorney
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                 EXHIBIT D
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 UNITED STATES OF AMERICA,               :
                                         :
                                         :
                                         :        CRIMINAL ACTION NO.
 v.                                      :        1:18-cr-00309-LMM-LTW-1
                                         :
 CHALMER DETLING, II,                    :
 also known as Chuck Detling,            :
                                         :
         Defendant.                      :


                                     ORDER

      This case comes before the Court on a Motion for New Trial, filed pursuant

to Rule 33 of the Federal Rules of Criminal Procedure by Defendant Chalmer

Detling, II. Dkt. No. [170]. After due consideration, the Court enters the following

Order.

I.    BACKGROUND

      Defendant was charged by indictment with four counts of wire fraud under

18 U.S.C. § 1343 and five counts of aggravated identity theft under 18 U.S.C.

§ 1028A(a)(1) for conduct associated with the fraudulent procurement of
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litigation advances.1 Dkt. No. [35]. A jury returned a verdict of guilty on all counts

on November 1, 2021. Dkt. No. [154].

      On December 7, 2021, Defendant filed the Motion for New Trial that is

presently pending before the Court.2 Dkt. No. [170]. He argues that he should be

granted a new trial because the verdict was tainted by improper jury instructions.

Id.

II.   DISCUSSION

      Rule 33 of Federal Rules of Criminal Procedure provides that, “[u]pon the

defendant’s motion, the court may vacate any judgment and grant a new trial if

the interest of justice so requires.” Fed. R. Crim. P. 33(a). Defendant contends

that he should be granted a new trial because the Court erroneously charged the

jury on deliberate ignorance and aiding and abetting. Dkt. No. [170] at 7-16. As to

the deliberate-ignorance charge, Defendant argues that the Court erred in giving

any instruction because the evidence of record did not support the charge; that

the Court improperly amended the pattern instruction; and that the Court

constructively amended the indictment by allowing the jury to convict based on

actual knowledge, deliberate ignorance, or some combination of the two. Id.

at 8-10. Defendant argues that it was improper for the Court to instruct the jury


      1      The indictment describes “litigation advances” as modest financing
afforded to plaintiffs, mainly those with personal-injury cases, for living and
medical expenses while their lawsuits are pending. Dkt. No. [35] at 3.
      2      As a result of an extension order entered on November 10, 2021, the
timeliness of the motion is not at issue. See Dkt. No. [161].


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on aiding and abetting because the Government’s theory of prosecution as

reflected in the language of the indictment was that Defendant acted alone in

defrauding finance companies and using clients’ personal information to obtain

advances to which he was not entitled, the defense was not put on notice of the

Government’s plan to rely on an aiding-and-abetting theory prior to the close of

evidence, and the Government made no reference to the instruction in its closing

argument, all of which Defendant contends resulted in constructive amendment

and unfair surprise. Id. at 10-14.3 The Court addresses each contention in turn.

      A.    Evidence at Trial Supported the Instructions

      Defendant first argues that the Court erred in giving any instruction of

deliberate ignorance because the charge was unsupported by the evidence. Id.

at 8. A deliberate ignorance instruction is warranted when the facts “support the

inference that the defendant was aware of a high probability of the existence of



      3        Defendant raised additional arguments in his reply brief, but they
are not considered here. See United States v. House, 684 F.3d 1173, 1210 (11th
Cir. 2012) (refusing to consider an argument raised for the first time in a reply
brief); see also United States v. Zambrano, 752 F. App’x 775, 781 n.4 (11th Cir.
Oct. 9, 2018) (“[W]e do not consider arguments raised for the first time in a reply
brief.”) (citing United States v. Fiallo-Jacome, 874 F.2d 1479, 1481 (11th Cir.
1989)); United States v. Kendricks, Crim. Action File No. 1:15-cr-400-MHC/AJB,
2016 WL 11440141, at *5, n.4 (N.D. Ga. Aug. 22, 2016) (R&R) (“Arguments which
are first raised in a reply brief are deemed waived.”), adopted at 2016 WL
5952743 (N.D. Ga. Oct. 13, 2016).
       Defendant also asserts in his opening brief that using the edited deliberate-
ignorance charge was particularly harmful to him because it undercut his good-
faith defense. Dkt. No. [170] at 9-10. Because Defendant does not explain how,
this contention is similarly waived.


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the fact in question and purposely contrived to avoid learning all of the facts in

order to have a defense in the event of a subsequent prosecution.” United States

v. Rivera, 944 F.2d 1563, 1571 (11th Cir. 1991) (internal quotation marks omitted).

      The argument that the deliberate-ignorance instruction was unsupported

by the evidence is without merit. Defendant himself argued during a charge

conference that the evidence was sufficient to enable the jury to conclude that he

applied for the litigation advances because his colleagues—Mackenzie Cole and

Aimee Ingram—had indicated to him that the clients had authorized him to do so

and that he believed Ms. Cole would move the funds from the firm’s IOLTA

account to the clients. Dkt. No. [166] at 11:12-12:9, 13:4-9, 14:4-13. The evidence

also showed that Defendant was responsible for approving his clients’ settlement

statements, that the settlement statements would include any legitimate litigation

advances, and that his victim-clients’ settlement statements did not include the

advances; that Defendant had control of the three IOLTA accounts that were used

to receive the fraudulent litigation advances and was the sole signatory on two of

them, but the advances were never transferred from the firm’s IOLTA accounts to

the clients who supposedly needed them; and that several of his victim clients

had expressly told him that they did not want or need a litigation advance.

Together, these facts certainly support an inference that Defendant was aware of

a high probability that the clients had not authorized the loan applications or




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received the funds and that he purposefully contrived to avoid learning that they

had not.

      The evidence at trial also supported the aiding-and-abetting charge.

“Under an aiding and abetting theory, the government must prove that the

defendant in some way associated himself with the criminal venture, that he

wished to bring it about, and that he sought by his actions to make it succeed.”

United States v. Broadwell, 870 F.2d 594, 608 (11th Cir. 1989). The aiding-and-

abetting statute allows the finder of fact to find a defendant guilty of a substantive

crime even though the person did not personally commit all acts constituting

elements of the crime and may not even know the particular means by which all

of the elements were committed. Id.

      The evidence here shows that Defendant was associated with the

fraudulent-loan scheme, wished to bring it about, and sought by his actions to

make it succeed. The evidence showed that Defendant allowed Ingram and Cole

to access one of the IOLTA accounts that was used as part of the fraud, that he

had given Cole the title of “partner,” that he did not personally interact with every

victim client, and that Cole and other lawyers in the firm were involved in

representing some of the victim clients. There was also evidence that Defendant

signed the fraudulent loan agreements, picked up the fraudulently obtained

checks, controlled the bank accounts where the funds from the fraudulent

litigation advances were deposited, communicated with the financing companies



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about the repayment status of the loans, and tried to make “payoffs” after the

loans were discovered to be fraudulent. The evidence at trial therefore supported

the aiding-and-abetting charge as well.

      B.     Defendant Was Not Unfairly Surprised by the Deliberate-
             Ignorance or Aiding-and-Abetting Instructions

      Defendant argues that he was unfairly surprised by the accomplice

theories. Dkt. No. [170] at 14. This is false: it was in fact Defendant who raised

the theory that he did not act alone.

      The parties filed proposed jury instructions prior to trial. Dkt. Nos. [136,

137]. Neither proposal included instructions on deliberate ignorance or aiding

and abetting, id., but Defendant’s proposed instructions included a good-faith

charge, Dkt. No. [137] at 12.

      The Court held its first charge conference on October 28, 2021, before the

Government concluded its case in chief. Dkt. Nos. [157, 166]. During the

conference, Defendant argued that a good-faith instruction was appropriate

because a jury could conclude that Cole and Ingram caused him to apply for the

litigation loans by indicating to him that the clients had authorized him to do so

and that he believed Ms. Cole would move the funds from the firm’s IOLTA

account to the clients. Dkt. No. [166] at 11:12-12:9, 13:4-9, 14:4-13. In charge

discussions over the next couple of days, Defendant argued that the jury must be

instructed that because he was not charged with conspiracy or aiding and

abetting, it must acquit if it found reasonable doubt that Defendant acted alone.


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Dkt. No. [150] at 1-2. The Court therefore finds no foundation for Defendant’s

argument that he was surprised by any theory that he did not act alone.

      C.     The Instructions Did Not Constructively Amend the
             Indictment

      As to Defendant’s argument that the deliberate-ignorance and aiding-and-

abetting charges amounted to constructive amendments of the indictment, or, in

other words, that Defendant could not be found guilty unless the jury determined

that he personally committed each element of the charged crimes because he was

not charged with conspiracy or aiding-and-abetting, see Dkt. No. [170] at 10, this,

of course, is a misstatement of the law. A court does not constructively amend an

indictment by giving a deliberate-ignorance charge; rather, courts in this circuit

recognize “ ‘deliberate ignorance of criminal activity as the equivalent of

knowledge.’ ” United States v. Wentt, 828 F. App’x 526, 528 (11th Cir. Sept. 17,

2020) (quoting United States v. Arias, 984 F.2d 1139, 1143 (11th Cir. 1993)). That

is to say, “ ‘[t]he knowledge element of a violation of a criminal statute can be

proved by demonstrating either actual knowledge or deliberate ignorance.’ ”

Wentt, id. (quoting United States v. Prather, 205 F.3d 1265, 1270 (11th Cir.

2000)). Likewise, aiding and abetting is a theory of criminal liability that is

embedded in every count charged in an indictment. United States v. Philpot, 773

F. App’x 583, 590 (11th Cir. July 12, 2019); United States v. Thomas, 631 F. App’x

847, 851 (11th Cir. Nov. 19, 2015); United States v. Walser, 3 F.3d 380, 388 (11th

Cir. 1993); Broadwell, 870 F.2d at 608.


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      D.     Harmless Error

      The remainder of Defendant’s arguments were not raised at trial. Under

Rule 30 of the Federal Rules of Criminal Procedure, a party must “inform the

court of the specific objection and grounds for the objection before the jury

retires to deliberate.” Fed. R. Crim. P. 30(d). Where a party fails to do so, the

plain-error standard applies. United States v. Iriele, 977 F.3d 1155, 1177 (11th Cir.

2020); United States v. Schlei, 122 F.3d 944, 973 (11th Cir. 1997); United States v.

Sirang, 70 F.3d 588, 594 (11th Cir. 1995); see also United States v. Puche,

350 F.3d 1137, 1148 n.5 (11th Cir. 2003) (applying plain error review to an

objection argued differently on appeal).

      Plain-error review requires that a court consider whether it made “(1) an

error (2) that is plain and (3) that has affected the defendant’s substantial rights;

and (4) that seriously affects the fairness, integrity, or public reputation of

judicial proceedings.” United States v. Xavier, 735 F. App’x 656, 659 (11th Cir.

May 30, 2018) (citing United States v. Madden, 733 F.3d 1314, 1322 (11th Cir.

2013)); accord United States v. Turner, 474 F.3d 1265, 1275-76 (11th Cir. 2007)

(explaining that “plain-error review is intended to enforce the requirement that

parties lodge timely objections to errors at trial so as to provide the district court

with an opportunity to avoid or correct any error, and thus avoid the costs of

reversal and a retrial” and that “proof of a plain error involves not only a showing

of harm, but also proof that the error was so conspicuous that the judge and

prosecutor were derelict in countenancing it” (internal quotation marks

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omitted)). Jury instructions are examined to determine whether, taken as a

whole, the jury “was sufficiently instructed to understand the issues and was not

misled.” United States v. Jefferies, 378 F. App’x 961, 963 (11th Cir. May 11, 2010).

          1.    Deliberate Ignorance

      The Court instructed the jury on deliberate ignorance at the Government’s

request. Using a portion of the pattern jury instruction for deliberate ignorance,

the Court stated to the jury,

      If a Defendant’s knowledge of a fact is an essential part of a crime,
      it’s enough that the Defendant was aware of a high probability that
      the fact existed – unless the Defendant actually believed the fact
      didn’t exist. But I must emphasize that negligence, carelessness, or
      foolishness isn’t enough to prove that the Defendant knew the fact.

Dkt. No. [153] at 11.

      Defendant newly argues that this was reversible error because the Court

gave only the first and last sentences of the pattern instruction, omitted the

middle portion, and thereby neglected to charge “the evidentiary finding required

for the application of the charge.”4 Dkt. No. [170] at 8-9. Specifically, the Court

omitted the portion of the pattern charge that instructs the jury:




      4      Defendant avers that he cannot point to the objection because that
portion of the trial transcript is not yet complete. See Dkt. No. [178] at 6 n.6. This
argument is baseless: at trial, the Court specifically asked the parties whether
they opposed the modification; the Government explained that it agreed, and
Defendant did not object to the modification. Dkt. No. [167] at 10-11, 15.
Moreover, the Court granted Defendant an extension of time to file his motion for
new trial, by which it extended the deadline to fourteen days after the requested
portions of the trial transcript were prepared. Dkt. No. [161]. Thus, no material

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      “Deliberate avoidance of positive knowledge” – which is the
      equivalent of knowledge – occurs, for example, if a defendant
      possesses a package and believes it contains a controlled substance
      but deliberately avoids learning that it contains the controlled
      substance so he or she can deny knowledge of the package’s
      contents.

      So you may find that a defendant knew about the possession of a
      controlled substance if you determine beyond a reasonable doubt
      that the defendant (1) actually knew about the controlled substance,
      or (2) had every reason to know but deliberately closed [his] [her]
      eyes.

11th Cir. Pattern Jury Instrs. (Crim. Cases) (2021), Special Instr. No. S8.

      There was no plain error in giving this instruction. Although the Court

modified the pattern instruction as stated above, it properly instructed the jury

regarding the knowledge standard when it instructed the jury that the

government must prove every fact beyond a reasonable doubt; that “ ‘knowingly’

means that an act was done voluntarily and intentionally and not because of a

mistake or by accident”; and “that negligence, carelessness, or foolishness isn’t

enough to prove that the Defendant knew [a] fact.” Dkt. No. [153] at 1, 6, 11. Thus,

the jury was sufficiently instructed on the concept of deliberate ignorance.

      Moreover, it is difficult to see how Defendant could have been prejudiced

by the deliberate-ignorance instruction, as the evidence of actual knowledge in

this case is overwhelming. The Eleventh Circuit “ha[s] repeatedly held that

‘instructing the jury on deliberate ignorance is harmless error where the jury was



portion of the charge conferences should remain untranscribed. The objection is
therefore subject to plain-error review.


                                         10
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also instructed and could have convicted on an alternative, sufficiently supported

theory of actual knowledge.’ ” Wentt, 828 F. App'x at 528 (quoting United States

v. Steed, 548 F.3d 961, 977 (11th Cir. 2008)); accord United States v. Ahrens, 782

F. App’x 845, 849 (11th Cir. July 26, 2019); United States v. Fernandez, 553 F.

App’x 927, 937 (11th Cir. Feb. 3, 2014); Rivera, 944 F.2d at 1572.

      That is the case here. Four witnesses from defrauded companies Capital

Financing and Mighty testified that they dealt exclusively with Defendant on the

fraudulent litigation advances and that they never would have approved them if

they had known the clients had neither authorized the advances nor received the

funds. The witnesses from Capital Financing testified that Defendant picked up

the fraudulently obtained checks and that they dealt with Defendant exclusively

about the status of repayment. The witnesses from Mighty testified that they

spoke with Defendant over the telephone and even met with him in person on a

few occasions. There was also evidence that when Mighty learned of the fraud,

Defendant tried for months to make “payoffs” and ultimately reached an

agreement with Mighty to “release” his former clients from any liability. The

testimony was corroborated by voluminous e-mail correspondence and business

records, including loan agreements signed by Defendant. Twelve victim clients

also testified, including the five whose identities underlie the charges in the

superseding indictment. They all testified that they had never authorized any of

the financing contracts, and all but one testified that they would not have



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authorized the financing if asked. In fact, several testified that they had expressly

told Defendant that they did not want a litigation advance. Each of the victim

clients also testified that they never received any of the funds from the financing

companies, and that testimony was corroborated by an FBI agent who testified

that she had traced the litigation advances and found that none of them went to

Defendant’s clients. The Government also presented overwhelming evidence that

Defendant controlled the bank accounts where the funds from the fraudulent

litigation advances were deposited, including bank records and testimony of his

former colleagues. Defendant himself stipulated to many of these facts in

proceedings before the Georgia Bar. In light of these facts, the Court finds that

copious evidence of actual knowledge supported the guilty verdict.

      For these reasons, the Court concludes that the deliberate-ignorance

instruction, as given, was not contrary to the interest of justice and thus that the

charge does not supply grounds for granting a new trial.

         2.     Aiding and Abetting

      At the request of the Government, the Court instructed the jury on aiding

and abetting as follows:

      It’s possible to prove the Defendant guilty of a crime even without
      evidence that the Defendant personally performed every act charged.
      Ordinarily, any act a person can do may be done by directing another
      person, or “agent.” Or it may be done by acting with or under the
      direction of others. A Defendant “aids and abets” a person if the
      Defendant intentionally joins with the person to commit a crime. A
      Defendant is criminally responsible for the acts of another person if
      the Defendant aids and abets the other person. A Defendant is also


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      responsible if the Defendant willfully directs or authorizes the acts of
      an agent, employee, or other associate.

      But finding that a Defendant is criminally responsible for the acts of
      another person requires proof that the Defendant intentionally
      associated with or participated in the crime — not just proof that the
      Defendant was simply present at the scene of a crime or knew about
      it. In other words, you must find beyond a reasonable doubt that the
      Defendant was a willful participant and not merely a knowing
      spectator.

Dkt. No. [153] at 7-8 (using 11th Cir. Pattern Jury Instrs. (Crim. Cases) (2021),

Special Instr. No. S7).

      Defendant argues that this was improper because the Government’s theory

of prosecution as reflected in the language of the indictment was that Defendant

acted alone in defrauding finance companies and using clients’ personal

information to obtain advances to which he was not entitled; the defense was not

put on notice of the Government’s plan to rely on an aiding-and-abetting theory

prior to the close of evidence; and the Government made no reference to the

instruction in its closing argument. Dkt. No. [170] at 10-14. He contends that the

Court therefore unlawfully permitted the Government to surprise him with a new

theory of the prosecution at a point in time where he could no longer challenge

the Government’s witnesses or present evidence to counter the new theory and

that the aiding-and-abetting instruction, in effect, impermissibly broadened the

bases for conviction beyond the allegations contained in the indictment. Id.

at 14-17 (citing United States v. Sanders, 966 F.3d 397 (5th Cir. 2020); United

States v. Phea, 953 F.3d 838 (5th Cir. 2020); United States v. Hoover, 467 F.3d


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496 (5th Cir. 2006); United States v. Artrip, 942 F.2d 1568 (11th Cir. 1991);

United States v. Weissman, 899 F.2d 1111, 1114 (11th Cir. 1990); United States v.

Peel, 837 F.2d 975, 979 (11th Cir. 1988), abrogation recognized by United States

v. Maradiaga, 987 F.3d 1315, 1323 n.2 (11th Cir. 2021) (explaining that a

constructive amendment to an indictment does not necessarily require reversal);

United States v. Lignarolo, 770 F.2d 971, 981 n.15 (11th Cir. 1985); United States

v. Martin, 747 F.2d 1404 (11th Cir. 1984)).

      The Court is unpersuaded by these arguments as well. First, as noted

above, aiding and abetting need not be expressly charged, as it is a theory of

criminal liability that is embedded in every count charged in an indictment. See

supra Part II.C. While Defendant now seeks to distinguish the authority the Court

relied on during the charge conference and in doing so makes clear his argument

that an indictment that does not contain allegations against potential aides or

abettors is per se constructively amended by an aiding-and-abetting charge, the

Court notes that at trial he did not supply case law to support his objection or

seek to distinguish the case law argued by the Government or cited by the Court.

See Dkt. No. [167] at 5, 8-10. An “objection must be specific enough ‘to give the

district court the chance to correct errors before the case goes to the jury.’ ” Iriele,

977 F.3d at 1177 (quoting Sirang, 70 F.3d at 594). Because Defendant argued only

in the abstract and did not make a clear objection or supply legal grounds for the

objection before the jury retired to deliberate, the plain-error standard applies.



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See Fed. R. Crim. P. 30(d); Iriele, 977 F.3d at 1177; Puche, 350 F.3d at 1148 n.5;

Schlei, 122 F.3d at 973; Sirang, 70 F.3d at 594. Therefore, Defendant must show

that the aiding-and-abetting charge affected his substantial rights and “seriously

affect[ed] the fairness, integrity, or public reputation of [his] judicial

proceedings.” Xavier, 735 F. App’x at 659; Turner, 474 F.3d at 1276.

      Defendant has not made such a showing. Contrary to Defendant’s

arguments regarding the timing of the request for the aiding-and-abetting

charge, he has not shown that the timing of the request prejudiced him. The

request for aiding-and-abetting charge was filed in the early afternoon the day

before the jury was charged. Dkt. No. [152]. The Court held a final charge

conference at 10:15 the next morning, where Defendant was invited to cite

authority precluding the charge but failed to do so. Dkt. No. [167] at 5-6, 8-10.

Moreover, while Defendant contends that he was prejudiced because the request

came after the close of evidence, he had been aware that Cole and Ingram were

on the Government’s witness list, cross-examined them rigorously, and himself

accused them of undertaking a portion of the conduct making up the charges

against him. He also does not argue that the Court improperly denied a motion to

reopen the evidence or state what evidence he would have sought to elicit if he

had the opportunity to reopen the evidence.

      Of the cases cited by Defendant, only Martin suggests that an unwarranted

aiding-and-abetting charge may constitute reversible error. See Martin, 747 F.2d



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at 1407-08.5 However, subsequent to that opinion, the Eleventh Circuit Court of

Appeals explained in United States v. Hornaday, 392 F.3d 1306 (11th Cir. 2004),

that Martin’s holding resulted from legal and factual errors and that under

Supreme Court precedent, an unwarranted aiding-and-abetting charge

constitutes error that “is harmless if, viewing the proceedings in their entirety, a

court determines that the error did not affect the verdict, ‘or had but very slight

effect.’ ” Hornaday, 392 F.3d at 1315 (quoting Kotteakos v. United States, 328

U.S. 750, 762, 764 (1946) (citations omitted)). In other words, “[i]f one can say

‘with fair assurance . . . that the judgment was not substantially swayed by the

error,’ the judgment is due to be affirmed even though there was error.”

Hornaday, id. at 1315-16 (quoting Kotteakos, id. at 1248).

       In this case, despite Defendant’s rigorous cross-examination, there is scant

evidence that it was in fact Cole or Ingram who undertook any of the conduct of

which Defendant was accused. Defendant himself asserts (without pointing to

any evidence of record) only that Cole once transferred funds from a litigation

advance from the firm’s IOLTA account into the firm’s operating account, that

Ingram “may have” forged the signature of one victim client on the client’s



      5      The propriety of an aiding-and-abetting charge was not on appeal in
Sanders, Phea, Hoover, Artrip, Weissman, Peel, or Lignarolo. The Court also
notes that in Lignarolo, the court found that although the jury instructions
allowed for the satisfaction of an element of a charge on broader grounds that
those alleged in the indictment, the defendant was not prejudiced. Lignarolo, 770
F.2d at 981 n.15.


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litigation advance, and that Ingram acknowledged that she could easily forge

Defendant’s signature. Dkt. No. [170] at 11. In contrast, the evidence that

Defendant personally undertook the conduct giving rise to the charges was

overwhelming. Four witnesses from the defrauded companies testified that they

dealt exclusively with Defendant on the fraudulent litigation advances. The

witnesses from Capital Financing testified that Defendant picked up the

fraudulently obtained checks and that they dealt with Defendant exclusively

about the status of repayment. The witnesses from Mighty testified that they

spoke with Defendant over the telephone and even met with him in person on a

few occasions. There was also evidence that when Mighty learned of the fraud,

Defendant tried for months to make “payoffs” and ultimately reached an

agreement with Mighty to “release” his former clients from any liability. The

Government also presented overwhelming evidence that Defendant controlled

the bank accounts where the funds from the fraudulent litigation advances were

deposited and was the sole signatory on two of the three accounts. Testimony was

corroborated by voluminous e-mail correspondence, bank records, and business

records, including loan agreements signed by Defendant. Defendant himself

stipulated to many of these facts in proceedings before the Georgia Bar. In sum,

there was copious evidence that all pointed toward Defendant as the sole actor

undertaking the fraud and identity theft.




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       Moreover, as Defendant concedes, the Government did not argue aiding

and abetting in closing arguments. Dkt. No. [170] at 13-14. And while the Court

does not base its conclusion on the speed with which the jury reached its verdict,

the fact that Defendant was found guilty on all counts in well under an hour

suggests that the jury found no need to look beyond the evidence of Defendant’s

own conduct and delve into the more nuanced question of aiding and abetting.

       For these reasons, the Court can say that if even any error was committed,

“with fair assurance, after pondering all that happened without stripping the

erroneous action from the whole, that the judgment was not substantially swayed

by the error,” that no reasonable jury would have been influenced by the

instruction on liability under an aiding and abetting theory, and that Defendant’s

“substantial rights were not affected.” Hornaday, 392 F.3d at 1315-16 (internal

quotation marks omitted). The Court therefore concludes that the aiding-and-

abetting charge was not contrary to the interest of justice and thus does not

supply grounds for granting a new trial.

III.   CONCLUSION

       In accordance with the foregoing, Defendant’s Motion for New Trial, Dkt.

No. [170], is DENIED.

       IT IS SO ORDERED this 4th day of February, 2022.


                                      _____________________________
                                      Leigh Martin May
                                      United States District Judge


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                  EXHIBIT E
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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION
                                         1:18-cr-00309-LMM-LTW
                                               USA v. Detling
                                        Honorable Leigh Martin May


                           Minute Sheet for proceedings held In Open Court on 02/10/2022.


             TIME COURT COMMENCED: 2:01 P.M.                COURT REPORTER: Montrell Vann
             TIME COURT CONCLUDED: 4:30 P.M.                CSO/DUSM: 1 CSO
             TIME IN COURT: 2:29                            USPO: Anthony Parker
             OFFICE LOCATION: Atlanta                       DEPUTY CLERK: Brittany Poley

         DEFENDANT(S):      [1] Chalmer Detling, II Present at proceedings
         ATTORNEY(S)        Suzanne Hashimi representing Chalmer Detling
         PRESENT:           Samir Kaushal representing USA
                            Alex Sistla representing USA
                            Caitlyn Wade representing Chalmer Detling
         PROCEEDING
                            Sentencing Hearing (Sentencing Hearing-Contested)
         CATEGORY:
         MINUTE TEXT:       The Court adopted the Presentence Report and made it the findings of the
                            Court, subject to the Court overruling Defendant's objections to the victim
                            enhancement and the role enhancement. Defendant's counsel raised an
                            additional objection as to the application notes expanding the definition of
                            victim. The Government objected to Defendant's objection as untimely. The
                            Court overruled the objection. The Court heard from Government's and
                            Defendant's counsel. Government's exhibits 1 and 2 admitted. The Court
                            pronounced the sentence as a total of 70 months CBOP, 3 years supervised
                            release, no fine, a special assessment of $900, and restitution in the amount
                            of $254,837.89. The Court allowed the Defendant to voluntarily surrender.
                            The Court inquired about objections to the sentence. Government's counsel
                            objected on substantive reasonableness grounds. Defendant's counsel
                            maintained the objections to the guidelines and objected to the search
                            condition of Defendant's supervised release. The Court advised Defendant of
                            his right to appeal his sentence.
         HEARING STATUS:    Hearing Concluded
         EXHIBIT STATUS:    Exhibits retained by the Court to be forwarded to the Clerk’s Office.




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                  EXHIBIT F
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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

                                                         )
UNITED STATES OF AMERICA                                 )   JUDGMENT IN A CRIMINAL CASE
                                                         )
v.                                                           Case Number: 1:18-CR-309-LMM-LTW
                                                         )   USM Number: 71805-019
CHALMER DETLING, II                                      )
                                                         )   Caitlyn Virginia Wade
                                                         )   Defendant’s Attorney


THE DEFENDANT:

The defendant was found guilty on counts 4s-7s and 11s-15s of the First Superseding Indictment after a plea of
not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                     Offense Ended      Count

18 U.S.C. § 1343                    FRAUD BY WIRE, RADIO,                 April 1, 2015         4s
                                    OR TELEVISION


18 U.S.C. § 1343                    FRAUD BY WIRE, RADIO,                 April 30, 2015        5s
                                    OR TELEVISION


18 U.S.C. § 1343                    FRAUD BY WIRE, RADIO,                 October 21, 2015      6s
                                    OR TELEVISION


18 U.S.C. § 1343                    FRAUD BY WIRE, RADIO,                 November 4, 2015      7s
                                    OR TELEVISION


18 U.S.C. § 1028A(a)(1)             AGGRAVATED IDENTITY                   March 30, 2015       11s
                                    THEFT


18 U.S.C. § 1028A(a)(1)             AGGRAVATED IDENTITY                   March 31, 2015       12s
                                    THEFT


18 U.S.C. § 1028A(a)(1)             AGGRAVATED IDENTITY                   April 17, 2015       13s
                                    THEFT


18 U.S.C. § 1028A(a)(1)             AGGRAVATED IDENTITY                   October 20, 2015     14s
                                    THEFT
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DEFENDANT: CHALMER DETLING, II
CASE NUMBER: 1:18-CR-309-LMM-LTW-1                                                       Judgment -- Page 2 of 7

18 U.S.C. § 1028A(a)(1)              AGGRAVATED IDENTITY                     November 3, 2015          15s
                                     THEFT

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

The remaining counts are dismissed pursuant to Standing Order 07-04.

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
Attorney of material changes in economic circumstances.


                                                        February 10, 2022
                                                        Date of Imposition of Judgment


                                                        Signature of Judge

                                                        LEIGH MARTIN MAY, U. S. DISTRICT JUDGE
                                                        Name and Title of Judge

                                                         February 11, 2022
                                                        Date
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DEFENDANT: CHALMER DETLING, II
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Judgment in a Criminal Case
Sheet 2 -- Imprisonment

                                               IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a term
of 46 MONTHS as to Counts Four, Five, Six, and Seven, with all counts to run concurrent to each other, and 24
MONTHS as to Counts Eleven, Twelve, Thirteen, Fourteen, and Fifteen, to be served concurrent with each
other and consecutive to Counts Four through Seven, for a total sentence of SEVENTY (70) MONTHS.

The Court recommends that the defendant be incarcerated at a facility as close as possible to Montgomery,
Alabama in order to be close to his family.

The defendant shall voluntarily surrender to the United States Marshal for this district or report to the
designated facility for service of sentence as directed by the United States Marshal




                                                    RETURN

I have executed this judgment as follows:




 Defendant delivered on                                     to

 at                                         , with a certified copy of this judgment.



                                                                           UNITED STATES MARSHAL




                                                                        DEPUTY UNITED STATES MARSHAL
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DEFENDANT: CHALMER DETLING, II
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Judgment in a Criminal Case
Sheet 3 -- Supervised Release

                                         SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of 3 YEARS as to Counts Four
through Seven, to run concurrently with each other, and 1 YEAR as to Counts Eleven through Fifteen, to run
concurrently with each other, with all counts to run concurrently for a total term of THREE (3) YEARS.




                                       MANDATORY CONDITIONS


1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within
   15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
   court.
4. You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
   a sentence of restitution. Restitution payments must be made to Clerk, U.S. District Court, Northern District
   of Georgia, 2211 U.S. Courthouse, 75 Ted Turner Dr. SW, Atlanta, GA 30303.
5. You must cooperate in the collection of DNA as directed by the probation officer.

You must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.
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CASE NUMBER: 1:18-CR-309-LMM-LTW-1                                                                          Judgment -- Page 5 of 7

                                      STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

   1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
         release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
         time frame.
   2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
         and when you must report to the probation officer, and you must report to the probation officer as instructed.
   3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
         from the court or the probation officer.
   4.    You must answer truthfully the questions asked by your probation officer.
   5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
         arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
         notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
         officer within 72 hours of becoming aware of a change or expected change.
   6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
         officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
   7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
         from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
         excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your
         job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer
         at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
         hours of becoming aware of a change or expected change.
   8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
         convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
         the probation officer.
   9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
         that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
         nunchakus or tasers).
   11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
         without first getting the permission of the court.
   12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
         require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact
         the person and confirm that you have notified the person about the risk.
   13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov

I understand that a violation of any of these conditions of supervised release may result in modification, extension, or revocation of my
term of supervision.


 Defendant's Signature                                                      Date

 USPO's Signature                                                           Date
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                               SPECIAL CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following special conditions of supervision.

You must make full and complete disclosure of your finances and submit to an audit of your financial documents
at the request of your probation officer. You must provide the probation officer with full and complete access to
any requested financial information and authorize the release of any financial information. The probation office
may share the financial information with the United States Attorney's Office.

You must not incur new credit charges, or open additional lines of credit without the approval of the probation
officer.

You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted
by a United States Probation Officer. Failure to submit to a search may be grounds for revocation of release.
You must warn any other occupants that the premises may be subject to searches pursuant to this condition. An
officer may conduct a search pursuant to this condition only when reasonable suspicion exists that you violated a
condition of your supervision and that areas to be searched contain evidence of this violation. Any search must
be conducted at a reasonable time and in a reasonable manner.

You must permit confiscation and/or disposal of any material considered to be contraband or any other item which
may be deemed to have evidentiary value of violations of supervision.
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Judgment in a Criminal Case
Sheet 5 -- Criminal Monetary Penalties

                                         CRIMINAL MONETARY PENALTIES

The defendant shall pay to the United States a special assessment of $900 which shall be due immediately.

                   Special Assessment

TOTAL              $900.00

The Court finds that the defendant does not have the ability to pay a fine and cost of incarceration. The Court
waives the fine and cost of incarceration in this case.

                   Fine

TOTAL              $0

                   Restitution

TOTAL              $254,837.89

The defendant must make restitution in the amount of $254,837.89. Restitution shall be paid to the United States
District Court Clerk for distribution to:

 Name of Payee                              Restitution Ordered

 Mighty Group, Inc.                         $185,837.89
 43 West 24th Street, Sixth Floor
 New York, New York 10010

 Capital Financing                          $69,000.00
 316 Greyhaven Lane
 Marietta, GA 30068


 TOTALS                                     $254,837.89


Restitution shall be paid in full immediately.

Payment of criminal monetary penalties is due during the period of imprisonment. All criminal monetary penalties,
except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are to
be made payable to the Clerk, U.S. District Court, 2211 U.S. Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA
30303. Any balance that remains unpaid at the commencement of the term of supervision shall commence within 60
days after release from imprisonment on the following terms: payable at a rate of no less than $250 monthly to U.S.
District Court Clerk. You must notify the Court of any changes in economic circumstances that might affect the ability
to pay this financial penalty.
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                 EXHIBIT G
   Case 1:18-cr-00309-LMM-LTW Document 186 Filed 02/25/22 Page 1 of 1
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA       )
                               )             CRIMINAL ACTION NO.
          vs.                  )             1:18-CR-00309-LMM-LTW-1
                               )
CHALMER DETLING, II            )
______________________________)

                              NOTICE OF APPEAL

      Notice is hereby given that defendant, CHALMER DETLING, II, hereby

appeals to the United States Court of Appeals for the Eleventh Circuit from the final

judgment and sentence entered in this action on the 11th day of February 2022.

      Dated: This 25th day of February, 2022.

                                Respectfully submitted,

                                /s/ Suzanne Hashimi
                                Suzanne Hashimi
                                Georgia Bar No. 335616

                                /s/ Caitlyn Wade
                                Caitlyn Wade
                                Georgia Bar No. 259114

                                Attorney for Chalmer Detling, II

Federal Defender Program, Inc.
101 Marietta Street, N.W., Suite 1500
Atlanta, Georgia 30303
(404) 688-7530; (404) 688-0768 fax
Suzanne_Hashimi@fd.org
Caitlyn_Wade@fd.org
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                 EXHIBIT H
   Case 1:18-cr-00309-LMM-LTW Document 155 Filed 11/02/21 Page 1 of 1
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                                               )
                                               )
       v.                                      )       Case Number:
                                               )       1:18-CR-00309-LMM-LTW-1
CHALMER DETLING, II,                           )
                                               )
       Defendant.                              )

                                          ORDER

       The Court hereby modifies the Magistrate Judge’s Order Setting Conditions of

Release [14] and the Magistrate Judge’s Order Modifying Conditions of Release [23] to

include CURFEW and LOCATION MONITORING. The defendant, Chalmer

Detling, II, shall be restricted to his residence as directed by the pretrial services office

or supervising officer. Mr. Detling shall submit to location monitoring as directed by the

pretrial services office or supervising officer and comply with all of the program

requirements and instructions provided. The defendant must pay all or part of the cost

of the program based on his ability to pay as determined by the pretrial services office or

supervising officer.

       All other previous bond conditions shall remain in effect.

                               1st day of November, 2021.
       IT IS SO ORDERED, this ____



                                    ________________________________
                                    LEIGH MARTIN MAY
                                    UNITED STATES DISTRICT JUDGE
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                   EXHIBIT I
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES OF AMERICA
                                            Criminal Action No.:
      versus                                1:18-CR-00309-LMM-LTW-1

CHALMER DETLING, II


                        MOTION FOR APPEAL BOND

      COMES NOW, the Defendant, Chalmer Detling, II, and hereby moves, for

an appeal bond, pursuant to 18 U.S.C. §3143(b) and shows the Court as follows:

                            Procedural Background

      Mr. Detling was charged by indictment with multiple counts of wire fraud

(18 U.S.C. § 1343) and aggravated identity theft (18 U.S.C. § 1048A(a)(1)). Docs.

1, 35. On August 10, 2018, Mr. Detling made his initial appearance before a

United States Magistrate Judge who granted a non-surety bond in the amount of

$50,000. Docs. 10, 13, 14. He has remained on bond since that day. On

November 1, 2021, a jury returned a verdict of guilty on counts four through seven

and counts eleven through fifteen against Mr. Detling. Doc. 158. After the return

of the jury verdict, the government moved to detain Mr. Detling over defense

objection. Doc. 158. The Court found by clear and convincing evidence that Mr.

Detling was not a risk of flight or a danger to the community and denied the

government’s motion. Doc. 158.
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      While the Court allowed Mr. Detling to remain free until sentencing, the

Court did impose two additional conditions of his continued release. Specifically,

the Court directed that Mr. Detling be subject to a curfew and location monitoring.

Doc. 155. Since Mr. Detling’s release more than three years ago, he has been in

compliance with all of the conditions of his release including the period after the

jury’s verdict where more stringent controls were placed on his freedom. There

have been no violations reported against him while he has been on bond.

      Mr. Detling previously filed a motion for new trial, to which the government

responded and Mr. Detling replied to the response. Docs. 170, 177, 178. In his

motion for new trial, Mr. Detling alleged that the Court erroneously instructed the

jury on deliberate ignorance and aiding and abetting. Docs. 170, 178. The issues

raised in his motion for new trial, if granted on appeal would require a new trial on

all counts contained in the indictment. On February 4, 2022, the Court denied Mr.

Detling’s motion for new trial. Doc. 181.

      On February 10, 2022, Mr. Detling was sentenced to a custodial term of

seventy (70) months to be followed by a three (3) year term of supervised release

along with financial penalties including $900 in special assessment fees and

$254,837.89 in restitution. Doc. 183. The Court granted voluntary surrender to Mr.

Detling based on its finding by clear and convincing evidence that he was not a

risk of flight or a danger to the community. Doc. 182.



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                       Argument and Citation of Authority

       The determination of whether a defendant should be granted an appeal bond

is governed by 18 U.S.C. §3143(b). An individual who has been found guilty of an

offense, sentenced to a period of confinement, and has filed an appeal may be

granted an appeal bond upon a finding:

       (A)by clear and convincing evidence that the person is not likely to
           flee or pose a danger to the safety of any other person or the
           community if released under section 3142(b) or (c) of this title;
           and
       (B) that the appeal is not for the purpose of delay and raises a
           substantial question of law or fact likely to result in—
           (i)reversal,
           (ii)an order for a new trial

If the Court finds favorably for the defendant on these factors, the Court “shall

order the release of the person in accordance with section 3142(b) or (c) of this

title”.1

       The Eleventh Circuit has employed this same standard when it considers

motions for an appeal bond after the motion has been denied by the district court.

United States v. Giancola, 754 F.2d 898, 901 (11th Cir. 1985). The Giancola Court

examined the changes in the 1984 Bail Reform Act from the 1966 Bail Reform

Act. The Court specifically noted that the presumption formerly aided the

defendant as the government had the burden to show that a defendant should be


1
 Mr. Detling was not charged with any of the offenses described in 18 U.S.C. §
3143(b)(2).

                                          3
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detained. Id. at 901. However, under the new Act, the conviction is presumed to

be correct and now, the burden falls on the defendant to overcome this

presumption. Id. The Court also addressed the question of what issues constitute

“substantial questions of law.” A “substantial question” is,

      One of more substance than would be necessary to a finding that it
      was not frivolous. It is a “close” question or one that very well could
      be decided the other way. Further, there are no blanket categories for
      what questions do or do not constitute substantial ones.

Id. at 901. To apply this standard, each request for an appeal bond must be

evaluated on a case by case basis. Id. The Giancola Court also determined that a

“substantial question of law” is raised when an issue “has not been decided by

controlling precedent”. Id. at 901. The Court rejected the notion that the district

court must find that the error cited by the defendant would in fact result in

reversible error. Id. at 900.

      Furthermore, while the word "substantial" defines the level of merit required

in the question raised on appeal, the phrase "likely to result in reversal" merely

defines the type of question that must be presented. See id. Mr. Detling need not

show in this motion the particular probability of reversal but merely that the issue

raised is “substantial” and is of the type that would lead to reversal if the appeal

was successful.

      The legal issues Mr. Detling intends to raise on appeal are both substantial

and if decided in his favor, likely to result in reversal. In his motion for a new trial,

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Mr. Detling challenged the Court’s instructions to the jury on (1) deliberate

ignorance and (2) aiding and abetting. Doc. 170. He intends to raise these issues

on appeal as well.2 Because he is challenging whether these jury charges were

supported by the evidence and whether they were legally correct, the Eleventh

Circuit will review these alleged errors in the jury charge de novo. United States v.

Mayweather, 991 F.3d 1163 (11th Cir. 2021)(applying de novo standard of review

and reversing convictions related to the trial court’s errors in its charge to the jury,

both on the question of whether the evidence supported a charge and whether a

given charge was legally erroneous). The issues raised by Mr. Detling “could very

well be decided the other way” and therefore meet the Giancola standard for a

substantial issue.

       As Mr. Detling has consistently contested these issues, it is clear that he is

not bringing this motion for purposes of delay but rather to gain a new trial and

ultimately a verdict of acquittal from a jury.

       “While it is clear that [the district court] must look into the nature of the

appeal to make a determination that there is a ‘substantial question,’ it is also clear

that it is not the role of [the district court] to substitute itself for the appellate court


2
  These are not the only issues Mr. Detling intends to raise on appeal. However,
this motion will specifically focus on the issues previously argued in the motion for
new trial as they involve “substantial issues of law” and would result in a new trial
on all counts. Mr. Detling incorporates by reference each of the arguments
outlined in his prior motion for new trial and reply. Doc. 170, 178.

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in deciding the ultimate merits of the appeal.” United States v. Hicks, 611 F. Supp.

497, 499 (S.D. Fla. 1985). In order to obtain bond, a defendant is not required to

convince a trial court that it committed reversible error. Id. In fact, the question

may be "substantial" even though the judge hearing the application for bail would

affirm on the merits of the appeal. Id. at 499-501.

I.    Mr. Detling raises a “substantial question” because the erroneous
      deliberate ignorance instruction given by the Court misstated the law as
      to the essential element of knowledge.

      The Court erred when it instructed the jury that “knowledge” could be found

if the defendant was “aware of a high probability that the fact existed without also

instructing that they must first find that he “took deliberate steps to avoid

knowledge.” This contention is based on Supreme Court precedent and similar

cases from other Circuits.

      Mr. Detling primarily relies on the Supreme Court’s decision in Global-Tech

Appliances, Inc. v. Seb S. A., 563 U.S. 754 (2011). In that case, the Supreme Court

clearly rejected a willful blindness instruction that did not include the requirement

that a defendant act deliberately to avoid knowledge.

      While the Courts of Appeals articulate the doctrine of willful blindness in
      slightly different ways, all appear to agree on two basic requirements: (1) the
      defendant must subjectively believe that there is a high probability that a fact
      exists and (2) the defendant must take deliberate actions to avoid learning of
      that fact.

Global-Tech Appliances, Inc. v. Seb S. A., 563 U.S. 754, 769 (2011)



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      The Supreme Court was clear that it was the requirement that a Defendant

“take deliberate action” to avoid knowledge which gave the instruction an

“appropriately limited scope that surpasses recklessness and negligence” Id. The

Supreme Court noted that this finding was consistent with controlling precedent in

nearly every circuit including the Eleventh Circuit. Id.; See also U.S. v. Perez-

Tosta, 36 F.3d 1552 (11th Cir. 1994). In Perez-Tosta, the Eleventh Circuit stated

that a party is willfully blind only when it “was aware of a high probability of the

existence of the fact in question and purposely contrived to avoid learning all of

the facts in order to have a defense in the event of a subsequent prosecution.” Id at

1564 (quoting United States v. Rivera, 944 F.2d 1563, 1571 (11th Cir. 1991)

(quoting United States v. Alvarado, 838 F.2d 311, 314 (9th Cir. 1987)).

      On numerous occasions the Eleventh Circuit has upheld the pattern

deliberate ignorance instruction and found that it was harmless error even when the

instruction was given without sufficient proof in the record. See United States v.

Stone, 9 F.3d 934, 937 (11th Cir. 1993). (upholding deliberate ignorance

instruction where the jury was clearly instructed that a precondition to its

application of the deliberate ignorance instruction was proof beyond a reasonable

doubt that Stone deliberately kept himself ignorant.); United States v. Rivera, 944

F.2d 1563, 1571 (11th Cir. 1991) (recognizing that the giving of a deliberate

ignorance instruction is subject to harmless error analysis if the error alleged is



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insufficient evidence to support the charge). But, in these cases, the jury was

instructed on both elements of the charge. Mr. Detling is not aware of any reported

Eleventh Circuit cases where a jury was instructed that “knowledge” could be

found if the defendant was “aware of a high probability that the fact existed”

without also being told that the Defendant must take deliberate steps to avoid

knowing the fact. That is, when only the first step of the factual analysis is

provided while the second step is omitted entirely. If such a case existed, then the

Government would have surely pointed it out. However, even before the Supreme

Court’s Global-Tech decision, other Circuits have clearly rejected instructions

similar to the one in this case.

      In United States v. Aguilar, the Defendant was charged with a federal

wiretapping violation that required knowledge as an essential element of the

offense. 80 F.3d 329 (9th Cir.1996). The jury was instructed that the knowledge

element was satisfied if, "[The] defendant was aware, actually knew, or was aware

of a high probability that [the wiretap application] existed.” Id at 331. The Ninth

Circuit rejected that jury instruction stating that:

      The serious defect in the instruction given by the district court in this
      case is that "high probability of the awareness of the circumstance"
      was given as an alternative to actual knowledge without the
      requirement that there be evidence of willful blindness.

Id at 332. Here, the Court gave a substantively identical charge to the one that was

rejected in Aguilar.

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      Mr. Detling asserts that clear and controlling precedent supports his

argument regarding the deliberate ignorance jury instruction. However, at a

minimum, the Court’s holding in Global-Tech and the other cases cited by the

Defense show that the issue is substantial. The jury in this case was told to “follow

all of my instructions as a whole” and to “not single out or disregard any of the

Court’s instructions on the law.” Doc. 153-1. We presume, of course, that the jury

followed its instructions. If the two instructions pertaining to knowledge are read

together then the instruction on knowledge would read like this:


      The word “knowingly” means that an act was done voluntarily and
      intentionally and not because of a mistake or by accident. If a Defendant’s
      knowledge of a fact is an essential part of the crime, it’s enough that the
      Defendant was aware of a high probability that the fact existed-unless the
      Defendant actually believed the fact didn’t exist. But I must emphasize that
      negligence, carelessness, or foolishness isn’t enough to prove that the
      Defendant knew the fact.

Read together, the instructions on knowledge are a misstatement of the law. The

result is that the jury could have found Mr. Detling possessed the requisite

knowledge by simply being “aware of a high probably that the fact existed.”

      Even if the Court presumes that the jurors read and understood each

instruction separately, the deliberate ignorance instruction that was given still

constitutes reversible error. "[A] general verdict must be set aside if the jury was

instructed that it could rely on any of two or more independent grounds, and one of

those grounds is insufficient, because the verdict may have rested exclusively on

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the insufficient ground." United States v. Adkinson, 135 F.3d 1363, 1375 (11th Cir.

1998) (quoting United States v. Elkins, 885 F.2d 775, 782 (11th Cir.1989).

Furthermore, even in the absence of a proper objection, this issue would be

considered by the appellate court under a plain error analysis. “An error is plain

when it is "contrary to…on-point precedent in this Court or the Supreme Court."

United States v. Hoffman, 710 F.3d 1228, 1232 (11th Cir. 2013))

      Additionally, the flawed deliberate ignorance instruction given by the Court

resulted in a constructive amendment of the indictment by allowing the jury to

convict based on actual knowledge, deliberate ignorance, or some combination of

the two. This is contrary to the allegation in the indictment that Mr. Detling had

actual knowledge. A constructive amendment occurs when the essential elements

of the offense contained in the indictment are altered to broaden the possible bases

for conviction beyond what is contained in the indictment. United States v.

Madden, 733 F.3d 1314, 1318 (11th Cir. 2013). A constructive amendment

requires per se reversal when the issue is properly preserved for appeal. United

States v. Behety, 32 F.3d 503, 508 (11th Cir. 1994). However, even when the issue

was not objected to at trial, the Eleventh Circuit has found that a constructive

amendment can require reversal even under the plain error standard. Madden 733

F.3d at 1322.




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        This Court previously found that Mr. Detling failed to properly preserve this

issue and specifically observed that the defense “did not object to the modification

[of the Court’s deliberate ignorance charge].” Doc. 181-9 n.4. In fact, Mr. Detling,

when asked if he agreed to the modification, advised that he objected to the entire

charge and further stated that giving just a portion of the charge was not

appropriate.3

        Rule 30(d) of the Federal Rules of Criminal Procedure reads in pertinent

part: “[a] party who objects to any portion of the instructions or to a failure to give

a requested instruction must inform the court of the specific objection and the

grounds for the objection before the jury retires to deliberate.” The purpose of

Rule 30 is to "provide the trial court an opportunity to correct any error or omission

in the charge before the jury begins its deliberations.” U.S. v. Edwards, 968 F.2d



3
    The defense objection:

Ms. Wade: As to the portion that the court had indicated that they were considering
entering before–or, sorry– after the good faith charge, it’s essentially a portion of
the pattern deliberate ignorance charge. However–

The Court: yes, it’s the language, but without the example.

Ms. Wade: Yes, Judge. I don’t think that that is appropriate here because a
deliberate ignorance instruction even in part would only be appropriate if there was
actual evidence that Mr. Detling had in some way attempted not to know
information in the case.

Doc. 167-10-11.

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1148, 1152 (11th Cir. 1992) (quoting United States v. Arteaga-Limones, 529 F.2d

1183, 1192 (5th Cir.), cert. denied, 429 U.S. 920 (1976)). However, Edwards

discouraged an overly technical application of Rule 30. Id. at 1152-1153.

      Furthermore, once a defendant has sufficiently raised an issue for the district

court's consideration, he has preserved the issue for appeal. The 11th Circuit does

not require a defendant raising an issue in the district court to cite every decision

that could support their position on that issue if it arises on appeal. United States v.

Davis, 875 F.3d 592, 602 n.2 (11th Cir. 2017).

      Ms. Wade’s statement that giving “essentially a portion of the pattern

deliberate ignorance instruction” was inappropriate clearly meets the standard of

Rule 30. It was made before the jury deliberated and gave the Court the

opportunity to remedy the issue. Therefore, the issue has been properly preserved

for appeal.

      However, if the Court of Appeals disagrees, the Madden case gives a good

indication of the analysis of a constructive amendment under a plain error standard.

Madden, 733 F.3d 1314.        In that case, like this one, the issue involved a jury

instruction that broadened the possible bases for conviction beyond what is

contained in the indictment. The Court found error under the plain error standard

because Eleventh Circuit precedent makes clear that a defendant can only be

convicted for a crime charged in the indictment. Id. at 1318, 1323. It further



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explained that the error was plain because a court errs when it allows for an

alternative method of conviction that is not included in the indictment. Id. It found

that the error affected the Defendant’s substantial rights because it could not say

“with certainty” that the Defendant was convicted solely on the charge made in the

indictment. Id. And finally the Court ordered a reversal because it was “self evident”

that “convicting a defendant of an unindicted crime affects the fairness, integrity,

and public reputation of judicial proceedings in a manner most serious.” Id. It is

likely that a similar analysis would lead to a reversal in this case.4

    II.      The Court’s instruction to the jury on aiding and abetting without
             sufficient notice to the defense and when the government never
             argued such a theory presents a novel question of law in this circuit
             and is therefore a “substantial question.”

          No case in the Eleventh Circuit (or Supreme Court) has approved the use of

an aiding and abetting jury charge in a case with the unique facts presented in the

instant case.5 However, the Ninth Circuit has addressed a strikingly similar set of


4
  While the Court elected to dismiss some of Mr. Detling’s arguments that it
regarded as being raised for the first time in his reply brief, these issues can be
presented to the Eleventh Circuit on appeal and would not be deemed to have been
waived. Doc. 181-3 n.3.
5
  Mr. Detling acknowledges the government can generally pursue a theory of the
prosecution based on aiding and abetting without expressly charging §2 in the
indictment. Doc. 170-14. The question posed here is whether the government can
seek to have a jury instructed on aiding and abetting where the indictment provides
no notice that it alleges Mr. Detling aided or abetted anyone, i.e. Cole or Ingram,
after the evidence has closed and hours before closing arguments.


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circumstances in Smith v. Lopez 731 F.3d 859 (9th Cir. 2013)6. There, the court

found that a last minute jury instruction on aiding and abetting infringed on the

defendant’s fundamental right to notice of the nature of the charges against him.

Id. at 871.9

      In sum, the prosecution tried its case on one theory—that Smith
      directly perpetrated his wife's murder. The prosecution presented no
      evidence in support of aiding-and-abetting liability, and its opening
      statements and case-in-chief seemed to firmly preclude the possibility
      that an unidentified person killed [the victim].

Id. The fact that the defense pointed to an alternate suspect did not necessarily

invoke the question of aiding and abetting. Id. at 870. More importantly, the

prosecution “presented no evidence in support of aiding-and-abetting liability, and

its opening statements and case-in-chief seemed to firmly preclude the possibility

that [someone else committed the crime]” Id. at 871. According to the Ninth

Circuit, the trial court’s jury instruction on aiding and abetting amounted to an

“ambush” that deprived him of his fundamental right to be advised of the charges

against him and to prepare defense.

      If, as in Smith, the Court of Appeals finds that adding a last minute aiding

and abetting instruction denied Mr. Detling of “his fundamental right to be advised

of the charges against him” then it will have to find a constructive amendment of


6
 Reversed on the basis that there was no clearly established Supreme Court
precedent to support habeas relief. However, Smith v. Lopez still accurately
examines relevant Ninth Circuit precedent.

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the indictment which requires a per se reversal. U.S. v. Keller, 916 F.2d 628, 633

(11th Cir. 1990).

      In denying Mr. Detling’s motion for new trial, the court undertook a plain

error analysis as to this issue based on a finding that Mr. Detling failed to properly

object to the instruction. Mr. Detling disagrees and argues that he did properly

object to the jury charge on aiding and abetting. Specifically, Mr. Detling objected

to this charge both before and after it was. Doc. 158; 166-4-5, 9-10, 10-11, 12;

191-4-10. As argued above, Rule 30 does not require that a defendant include a

citation to each and every case supporting an objection. As such Mr. Detling did

properly preserve the issue and asserts that the court of appeals will employ a de

novo review of this legal question. However, even if the question is subject to a

more stringent standard of review, the issue still raises a “substantial question.”

   III.   This Court has found on several occasions that Mr. Detling is not a
          flight risk nor a danger to the community.

      Mr. Detling submits that he is eligible for release on bond pending resolution

of his appeal. He is not a flight risk. He has appeared as directed for several years

without being cited for a single violation of the conditions of his release. There is

no evidence that he poses a threat to the safety of the community or another

person. This court has previously found by clear and convincing evidence that Mr.

Detling was neither a flight risk nor a danger to community. His appeal is not

taken for the purpose of delay and he has raised issues regarding the jury

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instructions which pose substantial questions of law which are likely to result in

reversal of his conviction. Despite the Court’s denial of his motion for new trial,

his briefs in support of the motion for new trial support a finding that he has raised

substantial questions of law. See United States v. Price, 611 F. Supp. 502 (S.D.

Fla. 1985) and 773 F.2d 1526, 1527 (11th Cir. 1985)(affirming the district court’s

decision to grant bond pending appeal because the defendant was released pre-trial,

complied with all of the conditions of his release, and was present at all court

hearings).

      Undersigned counsel has conferred with AUSA Alex Sistla who has

indicated that the government objects to Mr. Detling being granted an appeal bond.

                                     Conclusion

      For the foregoing reasons, Mr. Detling respectfully requests that the Court

grant his motion for an appeal bond.

Dated: This 18th day of March, 2022.

                                 Respectfully Submitted,

                                 /s/ Caitlyn Wade
                                 Caitlyn Wade
                                 Georgia Bar No. 259114

                                 s/ Suzanne Hashimi
                                 Suzanne Hashimi
                                 State Bar No. 335616

                                 Attorneys for Mr. Detling


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                   EXHIBIT J
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                            Criminal Action No.
         v.
                                            1:18-cr-00309-LMM-LTW
   C HALMER D ETLING , II
    A/K/A CHUCK DETLING


                Government’s Response in Opposition to
                       Motion for Appeal Bond

      The United States of America, by Kurt R. Erskine, Acting United

   States Attorney, and Alex Sistla, Assistant United States Attorney for

   the Northern District of Georgia, files this response in opposition to

   Defendant Chalmer Detling, II’s Motion for Appeal Bond (R. 194). For

   the reasons below, the Could should deny Detling’s motion.

                                 Background

      On November 1, 2021, a jury convicted Detling of four counts of wire

   fraud, in violation of 18 U.S.C. § 1343, and four counts of aggravated
   identity theft, in violation of 18 U.S.C. § 1028A. (R. 154, Jury Verdict.)

   Following the jury’s verdicts, the government requested that the Court

   remand him into custody concerned that he posed flight risk given he

   faced a lengthy custodial sentence. See 18 U.S.C. § 3143(a)(1). The

   Court denied the government’s request, but imposed more stringent

   bond conditions pending sentencing, including that Detling “shall be
   restricted to his residence as directed by the pretrial services office or

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   supervising officer.” (R. 155, Order.) The Court also required that

   Detling be placed on location monitoring. (Id.)

      Detling subsequently moved for a new trial under Federal Rule of

   Criminal Procedure 33. (R. 170, Detling Mot. for New Trial.) He

   claimed the Court erred by instructing the jury on deliberate ignorance

   and aiding and abetting. (Id. at 7–16.) On January 4, 2022, the

   government filed its opposition. (R. 177, Govt. Opp. to Mot. for New

   Trial.) The government’s opposition explained that the Court did not

   err by giving either instruction, but “even if one or both instructions

   were erroneous, any such errors were harmless, and Detling cannot

   demonstrate that it is in the ‘interest of justice’ to grant a new trial

   given the overwhelming evidence that supported the jury’s verdicts.”

   (Id. at 14.) On February 4, 2022, in a detailed written order, the Court

   denied Detling’s motion. (R. 181, Order Denying Mot. for New Trial.)

   The Court explained that the trial evidence supported both the

   deliberate ignorance or aiding and abetting instructions (id. at 3-5), but
   even if one or both instructions were improper it was harmless error.

   (Id. at 8-18.) The Court also observed that with respect to the precise

   wording of the deliberate ignorance instruction Detling never objected
   (id.at 9) and thus any claimed error would be subject to plain error review.

   (Id. at 9-10.)

      On February 10, 2022, the Court sentenced Detling to 70 months’
   imprisonment. (R. 183, Judgment and Conviction.) The Court also

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   ordered Detling to pay $254,837.39 in restitution, to be paid in full

   immediately. (Id.) 1 Following sentencing, the government renewed its

   request to have Detling remanded into custody, 2 but it was again

   denied by the Court—mainly based on representations from his wife
   regarding the assistance he provided with childcare, in particular with

   a then-upcoming medical appointment for one of his children.

      On February 25, 2022, Detling filed a timely notice of appeal. (R.

   186.) The United States Marshals Service has yet to provide a report

   date for Detling, but he has now filed a motion for an appeal bond.

   Detling argues that an appeal bond is appropriate because the Court’s

   alleged errors in instructing the jury on deliberate ignorance and

   aiding and abetting raise “substantial questions of law” that are “likely

   to result in reversal.” (R. 194, Mot. for Appeal Bond at 4-5.) The

   government now files its response in opposition.

                                    Argument

      Under the Bail Reform Act of 1984, a convicted defendant shall be

   detained while his appeal is pending unless a court finds:
      (A) by clear and convincing evidence that the person is not likely to
            flee or pose a danger to the safety of any other person or the

      1Restitution was payable as follows: $185,837.89 to the Mighty Group, Inc
   and $69,000.00 to Capital Financing.
      2 The government’s request was based on its continued concern that
   Detling posed a flight risk, especially now that he faced a 70-month sentence.
   Moreover, Detling—while having no obligation to do so—elected to make a
   statement at sentencing during which he failed to accept any responsibility
   for his actions, let alone show even a modicum of contrition.

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            community if released under section 3142(b) or (c) of this title;
            and

      (B)   that the appeal is not for the purpose of delay and raises a
            substantial question of law or fact likely to result in

               (i) reversal,
               (ii) an order for a new trial,
               (iii) a sentence that does not include a term of imprisonment,
                or
               (iv) a reduced sentence to a term of imprisonment less than
                the total of the time already served plus the expected
                duration of the appeal

   18 U.S.C. § 3143(b)(1). The Eleventh Circuit has explained that the

   Congress “did not intend for the 1984 Bail Reform Act to eliminate bail

   pending appeal, [but] it did intend to limit its availability.” United

   States v. Giancola, 754 F.2d 898, 900 (11th Cir. 1985). In particular,

   “Congress intended to reverse the presumption in favor of bail that

   existed under the prior statute, the Bail Reform Act of 1966.” Id. Under

   the 1966 Act, a defendant was entitled to bail even after conviction
   unless “the court or judge has reason to believe that no one or more

   conditions of relief will reasonably assure that the person will not flee

   or pose a danger to any other person or any other community” or “it
   appears that an appeal is frivolous or taken for delay.” Id. Importantly,

   the 1984 Act changed the presumption so that “the conviction is

   presumed correct and the burden is on the convicted defendant to
   overcome that presumption.” Id. at 901 (citing legislative history).

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      Under Giancola, “a ’substantial question’ is one of more substance
   than would be necessary to a finding that it was not frivolous. It is a

   ‘close’ question or one that very well could be decided the other way.”

   754 F.2d at 901; see also, e.g., United States v. Fernandez, 905 F.2d 350,
   354 (11th Cir. 1990). The “likely to result in reversal” language in

   § 3143 must be read as going to the significance of the substantial issue

   to the ultimate disposition of the appeal. Id. at 900 (citation omitted).

   “A question of law or fact may be substantial but may, nonetheless, in

   the circumstances of a particular case, be considered harmless, to have

   no prejudicial effect, or to have been insufficiently preserved.” Id. A

   court may find that reversal or a new trial is “likely” only if it concludes

   that the question is “so integral to the merits of the conviction on which

   defendant is to be imprisoned that a contrary appellate holding is likely

   to require reversal of the conviction or a new trial.” Id.

      The burden is thus on Detling to show: (i) by clear and convincing

   evidence that he is not likely to flee or pose danger to the safety of the
   community; (ii) that his appeal is not for purpose of delay; and (iii) the

   appeal raises a substantial question of law or fact that is likely to result

   in reversal or an order for a new trial. Although the government agrees
   that Detling is not appealing to delay his report date, the Court should

   deny his motion because Detling continues to pose a risk of flight given

   his substantial sentence and restitution obligations, but regardless he
   cannot demonstrate that any of the issues raised in his motion raise a

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   substantial issue of law likely to result in his convictions being vacated
   or a new trial. Indeed, Detling’s motion is mainly a retread of his

   motion for a new trial, in which he continues to ignore relevant

   Eleventh Circuit precedent with respect to purportedly erroneous jury
   instructions.


      A. There is no substantial question that the Court did not err
         by instructing the jury on deliberate ignorance and doing
         so did not constructively amend the indictment.
      Although not entirely clear, Detling does not appear to raise as a

   ground for his release the Court’s decision to give the deliberate

   ignorance instruction. This is with good reason. As the Court concluded

   in denying his motion for a new trial, “[t]he argument that the

   deliberate-ignorance instruction was unsupported by the evidence is

   without merit [and Detling] himself argued during the charge

   conference that the evidence was sufficient to enable the jury to

   conclude that he applied for the litigation advances because his

   colleagues . . . had indicated to him that the clients had authorized him
   to do so . . . .” (R. 181, Order Denying Mot. for New Trial at 4

   (transcript citations omitted).); see also United States v. Rivera, 944

   F.2d 1563, 1572 n.39 (11th Cir. 1991) (noting that the district court’s
   decision to instruct (albeit improperly) on deliberate ignorance may

   have been influenced by the defendants’ arguments and may be proper

   if a defendant establishes such facts underlying the instruction).


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      Rather, Detling’s arguments seem to focus on the precise wording of
   the instruction and whether how it was worded resulted in a

   constructive amendment of the indictment. (R. 194, Mot. for Appeal

   Bond at 6-13.)

      Instructing the jury on deliberate ignorance did not “constructively

   amend” the indictment. 3 As the government previously explained:
       Instructing a jury how the government may prove that a
       defendant had the requisite knowledge does not broaden
       the possible bases of conviction. As shown in the jury
       instructions, the jury was still required to find each
       element of wire fraud and aggravated identity theft beyond
       a reasonable doubt, including that Detling acted knowingly.
       (R. 153, Detling Final Jury Instructions at 8–9 (wire fraud);
       11 (aggravated identity theft)). Compare United States v.
       Edwards, 526 F.3d 747, 761 (11th Cir. 2008) (“As the jury
       instructions did not alter the mens rea element of the wire
       fraud offense, a constructive amendment did not occur.”)
       with United States v. Madden, 733 F.3d 1314, 1317–18
       (11th Cir. 2013) (indictment was constructively amended
       when jury instructed that it could convict a defendant if it
       found he carried a firearm “during and in relation to a drug
       trafficking offense,” when the indictment charged the
       defendant only with possessing a firearm “in furtherance of
       . . . a drug trafficking crime” and using and carrying a
       firearm “during and in relation to a crime of violence”)
       (emphasis added). 4


      3 “A constructive ‘amendment occurs when the essential elements of the
   offense are altered to broaden the possible bases for conviction beyond what
   is contained in the indictment.’” United States v. Edwards, 526 F.3d 747, 760
   (11th Cir. 2008) (quoting United States v. Keller, 916 F.2d 628, 634 (11th Cir.
   1990)) (alterations omitted).
      4See also, e.g., United States v. Vasquez, 677 F.3d 685, 696 (5th Cir. 2012)
   (“The deliberate ignorance instruction does not lessen the government's
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   (R. 177, Govt. Opp. to Mot. for New Trial at 21.)
         Detling has cited no authority that the instruction here

   constructively amended the indictment in an impermissible manner.

   This is not surprising because the Eleventh Circuit has routinely
   affirmed convictions where there was only evidence of actual knowledge

   and no deliberate ignorance instruction should’ve been given. See, e.g.,

   United States v. Fernandez, 553 F. App’x 927, 937 (11th Cir. 2014)

   (“But the absence or presence of evidence of deliberate ignorance ‘does

   not matter’ when ‘the jury could have convicted on an alternative,

   sufficiently supported theory of actual knowledge.’’) (quoting United

   States v. Kennard, 472 F.3d 851, 858 (11th Cir. 2006)); Rivera, 944 F.2d

   at 1572 (“Although the district court erred in giving a deliberate

   ignorance instruction, we conclude that the error was harmless beyond

   a reasonable doubt. Under the facts of this case, the jury could only find

   either that the defendants had actual or no knowledge of the cocaine in

   their suitcases; there is no evidence suggesting a middle ground of
   conscious avoidance.”). Nor has Detling identified any cases where even

   an improperly worded (assuming it was) deliberate ignorance

   instruction results in a constructive amendment such that the jury
   could have convicted Detling because he acted recklessly or negligently

   (or with some lesser mens rea). Cf. Rivera, 944 F.2d at 1570 (“To act


   burden to show, beyond a reasonable doubt, that the knowledge elements of
   the crimes have been satisfied.”) (quotation marks omitted).

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   ‘knowingly,’ therefore, is not necessarily to act only with positive
   knowledge, but also to act with an awareness of the high probability of

   the existence of the fact in question.”) (quoting United States v. Jewell,

   532 F.2d 697, 700 (9th Cir. 1976) (en banc)). Indeed, the jury
   instructions here emphasized that the government could not satisfy its

   burden by showing Detling acted negligently or carelessly. (R. 153,

   Jury Instructions at 11 (“But I must emphasize that negligence,

   carelessness, or foolishness isn't enough to prove that [Detling] knew

   the fact.”)).


      B. Even if the Court’s deliberate instruction was erroneously
         worded, there is no substantial question that it does not
         amount to plain error.
      Detling contends that a “substantial question” exists because the

   deliberate ignorance instruction did not fully track the pattern

   instruction. Specifically, the Court’s instruction omitted the following

   from its instruction:
         “Deliberate avoidance of positive knowledge” – which is the
         equivalent of knowledge – occurs, for example, if a
         defendant possesses a package and believes it contains a
         controlled substance but deliberately avoids learning that it
         contains the controlled substance so he or she can deny
         knowledge of the package’s contents.

          So you may find that a defendant knew about the
          possession of a controlled substance if you determine
          beyond a reasonable doubt that the defendant (1) actually
          knew about the controlled substance, or (2) had every
          reason to know but deliberately closed [his] [her] eyes.

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   11th Cir. Pattern Jury Instrs. (Crim. Cases) (2021), Special Instr. No.
   S8; see also R. 181, Order Denying Mot. for New Trial at 10. As a result

   of omitting the reference to “deliberate avoidance of positive

   knowledge,” Detling contends that the Court improperly instructed the
   jury on deliberate ignorance. (R. 194, Mot. for Appeal Bond at 6-7.)

   This omission he claims raises a “substantial question” because the

   jury may have been improperly instructed on knowledge and thus

   wrongly convicted him for “simply being ‘aware of a high [probability]

   that the fact existed.” (Id. at 8-9.) Detling’s argument is meritless.

      Detling—contrary to his assertion in the present motion—never

   objected to the wording of the deliberate ignorance instruction. (Id. at

   11-12.) As detailed in the government’s opposition to his motion for new

   trial, Detling only objected to the Court’s decision to give the deliberate
   ignorance instruction. ((R. 177, Govt. Opp. to Mot. for New Trial at 11-

   13; 24). And the Court agreed. (R. 181, Order Denying Mot. for New

   Trial at 8-9.) In fact, Detling was given several opportunities to object
   to wording of the Court’s instruction but failed to do so. (Id. at n.4 (“[A]t

   trial, the Court specifically asked the parties whether they opposed the

   modification; the Government explained that it agreed, and Defendant
   did not object to the modification.”).)

      Detling disingenuously argues that counsel’s statement: “It’s

   essentially a portion of the pattern deliberate ignorance charge” placed

   the Court on notice that he objected to the actual language of the

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   instruction. (R. 194, Mot. for Appeal Bond at 11-12 & n.3 (citing R. 167,

   Tr. at 10-11).) He conveniently ignores that his counsel’s objection was

   whether the Court should provide the deliberate ignorance instruction

   at all. 5 Indeed, after the quoted line above, the Court and Detling’s

   counsel continued to have a dialogue as to whether the deliberate

   ignorance instruction was even appropriate. (R. 167, Tr. at 11:11-

   12:16.)
      The Eleventh Circuit could not be clearer on this point. Federal Rule

   of Criminal Procedure 30(d) requires a party to “inform the court of the

   specific objection and ground for objection before the jury retires to
   deliberate.” United States v. Iriele, 977 F.3d 1155, 1177 (11th Cir. 2020)

   (noting that plain error applies to any unpreserved objections to jury

   instructions). It is not enough that a defendant generally objects to a
   particular instruction. See United States v. Schlei, 122 F.3d 944, 974

   (11th Cir. 1997) (“Although Schlei objected to the deliberate ignorance

   instruction at trial, he did not raise this specific contention before the

   district court. ‘In order to preserve an objection to jury instructions for


      5 See R. 167, Tr. 10:22-11:5 (Counsel: Yes, Judge. I don’t think that that is
   appropriate here because a deliberate ignorance instruction even in part
   would only be appropriate if there was actual evidence that Mr. Detling had
   in some way attempted not to know information in this case. And I don’t
   think there’s been any sort of evidence that the government’s presented or
   that we’ve argued that he was trying to, you know, willfully try not to find
   out information that would have been important in the case.”) (emphasis
   added). No fair reading of this statement could be understood that Detling
   was objecting to the language the Court was actually proposing.

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   appellate review, a party must object before the jury retires, stating

   distinctly the specific grounds for the objection.’”) (quoting United

   States v. Starke, 62 F.3d 1374, 1380-81 (11th Cir.1995)); see also United

   States v. Puche, 350 F.3d 1137, 1148 n. 5 (11th Cir. 2003) (noting that

   because defendants objected to the deliberate-ignorance instruction on

   different grounds on appeal, the plain-error standard of review

   applied); United States v. Sirang, 70 F.3d 588, 594 (11th Cir. 1994)

   (holding the objection must be specific enough to give a court an

   opportunity to correct errors before the case goes to the jury). 6

      Because Detling failed to specifically object to the phrasing of the

   Court’s deliberate ignorance instruction, his claim would be reviewed

   for plain error on appeal. See, e.g., Iriele, 977 F.3d at 1177. There is no

   substantial question that Detling would not prevail on plain error

   review.




      6 Citing United States v. Davis, 875 F.3d 592 (11th Cir. 2017), Detling
   argues that the Eleventh Circuit “does not require a defendant raising an
   issue in the district court to cite every decision that could support their
   position on that appeal if it arises on appeal.” (R. 194, Mot. for Appeal Bond
   at 12.) Davis is of no help to Detling. First, it is not a Rule 30 case. Second,
   the issue in Davis was whether the defendant forfeited an issue by not
   specifically citing a relevant case in challenging whether one of his
   convictions qualified as a predicate offense under the Armed Career Criminal
   Act. The Eleventh Circuit noted that it has never required litigants to cite
   particular cases to preserve an issue for appeal so long as they have
   “sufficiently raised an issue for the district court's consideration.” Davis, 875
   F.3d at 601 & n. 2 (citations omitted).

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      To satisfy plain error, 7 Detling must show “(1) an error (2) that is
   plain and (3) that has affected the defendant's substantial rights; and

   (4) that seriously affects the fairness, integrity, or public reputation of

   judicial proceedings.” United States v. Xavier, 735 F. App’x 656, 659
   (11th Cir. 2018) (citing United States v. Madden, 733 F.3d 1314, 1322

   (11th Cir. 2013)). 8 Although the Court modified the pattern instruction

   by not providing the jury an example of deliberate ignorance, the

   instruction, when coupled with the remaining jury instructions,

   properly instructed the jury as to the elements it had to find with

   respect to wire fraud and aggravated identity theft. Importantly, the

   jury was instructed that the government must prove every fact beyond

   a reasonable doubt, and they could not find Detling guilty merely

   because of “negligence, carelessness, or foolishness.” (R. 153, Jury

   Instructions at 8, 11); see, e.g., United States v. Jefferies, 378 F. App’x

   961, 963 (11th Cir. 2010) (“We examine jury instructions to determine

   if, taken as a whole, the jury was sufficiently instructed to understand
   the issues and was not misled.”) (citing United States v. Fulford, 267



      7The plain error discussion is taken in substantial part from the
   government’s response in opposition to Detling’s motion for a new trial. (R.
   177 at 25-28.)
      8 As a formal matter, a party must establish the first three elements of
   plain error, before a court “may . . . exercise its discretion to notice a forfeited
   error, but only if [ ] the error seriously affects the fairness, integrity, or public
   reputation of judicial proceedings.” United States v. Turner, 474 F.3d 1265,
   1276 (11th Cir. 2007).

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   F.3d 1241, 1245 (11th Cir. 2001)). 9 And it is well-settled that the jury is
   presumed to follow the instructions. United States v. Ramirez, 426 F.3d

   1344, 1352 (11th Cir. 2005) (citation omitted). But even if there was

   error here, it was not plain. Detling has identified no authority that the
   modified instruction—either taken alone or read as part of the jury

   instructions as a whole—would be obvious error. 10



      9 Indeed, there could be little doubt that the government’s burden was
   proof beyond a reasonable doubt. Detling stressed that point in his closing
   argument, mentioning the government’s burden or “reasonable doubt” at
   least a dozen times in his closing argument. (R. 165, Closing Arg. Tr. at 27,
   28, 29, 30, 36, 54, 55.) For its part, the government noted its burden prove
   Detling’s guilt beyond a reasonable doubt at least four times. (Id. at 2, 3, 27,
   56.)
      10  Detling argues that “[e]ven if the . . . jurors read and understood each
   instruction separately, the deliberate ignorance instruction that was given
   still constitutes reversible error.” (R. 194, Def. Mot. for Appeal Bond at 9.) He
   claims this is because “‘a general verdict must be set aside if the jury was
   instructed that it could rely on any of two or more independent grounds, and
   one of those is insufficient, because the verdict may have rested exclusively
   on the insufficient ground.” (Id. at 9-10 (citing United States v. Adkinson, 135
   F.3d 1363, 1375 (11th Cir. 1998) (quoting United States v. Elkins, 885 F.2d
   775, 782 (11th Cir. 1989)).) Detling never explains which independent
   grounds he has in mind. Nor does he mention that neither Adkinson nor
   Elkins have anything to do with deliberate ignorance. But regardless his
   reliance on these cases is misplaced. The “general verdict” language quoted
   above originates from the Supreme Court’s decision in Stromberg v.
   California, 283 U.S. 359 (1931). See, e.g., Martin v. United States, 852 F.
   App’x 485, 489 (11th Cir. 2021). In Granda v. United States, 990 F.3d 1272
   (11th Cir. 2021), the Eleventh Circuit held that any so-called Stromberg error
   is subject to harmless error review. Id. at 1294 (citing Hedgpeth v. Pulido,555
   U.S. 57, 58, 62 (2008)); see also Marin, 852 F. App’x at 489. Accordingly, even
   if Detling was correct that an erroneous deliberate ignorance instruction
   constitutes “an insufficient ground” on which the jury could have based its
   verdict, that—standing alone—doesn’t constitute reversible error.

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      Nor can Detling demonstrate that any error with the instruction—

   assuming there was some error—affected his substantial rights or

   seriously affected the fairness or integrity of his trial. For example, in

   United States v. Watson, 611 F. App’x 647 (11th Cir. 2015), the court of

   appeals held that even if the district court plainly erred in providing a

   deliberate ignorance instruction, the defendant could not “demonstrate

   that the error affected his ‘substantial rights’ [because] [i]n the

   ‘ordinary case,’ an error impacts a defendant's substantial rights when

   that error “affected the outcome of the district court proceedings.” Id. at

   662-663 (quoting Puckett v. United States, 556 U.S. 129, 135 (2009)). In

   Watson, [a]ny error from the [deliberate ignorance] instruction had no

   effect on the proceedings because the evidence at trial supported a

   finding that [the defendant] actually knew that his passengers could

   not legally enter the United States.” 611 F. App’x at 663; see also

   Starke, 62 F.3d at 1381. Likewise, here, the evidence at trial

   demonstrated that Detling knew his victim-clients neither applied for
   nor authorized Detling to obtain litigation advances on their behalf. As

   such, whether the Court plainly erred by instructing the jury on

   deliberate ignorance was inconsequential and had no effect on the
   outcome of Detling’s trial.

      Detling’s motion places a great deal of emphasis on the Supreme

   Court’s decision in Global-Tech Appliances, Inc. v. SEB S.A., 564 U.S.
   745 (2011), to support his argument that his complaints about the

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   Court’s deliberate ignorance instruction raises a “substantial question”

   meriting an appeal bond. (R. 194, Def. Mot. for Appeal Bond at 6-8.)

   On the contrary, Global-Tech undermines his arguments.

      In Global-Tech, the Court considered whether the Federal Circuit’s

   willful blindness (or deliberate ignorance) instruction was proper. 564

   U.S. at 769. The Court held that it was flawed because it “permi[tted] a

   finding of knowledge when there is merely a ‘known risk’ that the

   induced acts are infringing [and] . . . in demanding only ‘deliberate

   indifference’ to that risk, the . . . test [did] not require active efforts by [a

   defendant] to avoid knowing about the infringing nature of the

   activities.” Id. In other words, the instructions being reviewed in Global-

   Tech suffered, at least in part, from the same infirmity that Detling

   alleges was present here—that the jury was not sufficiently instructed

   that the defendant needed to take “active steps” to avoid learning about

   a relevant fact. But importantly, the Global-Tech court did not remand

   for a new trial, but rather it concluded:
          In spite of these flaws, we believe that the evidence when
          viewed in the light most favorable to the verdict for SEB is
          sufficient under the correct standard. The jury could have
          easily found that before April 1998 [the defendant] willfully
          blinded itself to the infringing nature of the sales it
          encouraged Sunbeam to make.

                                       * * *

         Taken together, this evidence was more than sufficient for a
         jury to find that [the defendant] subjectively believed there
         was a high probability that SEB's fryer was patented, that

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         [the defendant] took deliberate steps to avoid knowing that
         fact, and that it therefore willfully blinded itself to the
         infringing nature of Sunbeam's sales.
   563 U.S. at 770-71 (footnote omitted).

      In other words, despite the erroneous jury instructions, the Supreme

   Court considered whether the evidence was sufficient to establish willful

   blindness as a matter of law. Importantly, “the record contained no direct

   evidence that [the defendant] knew” of the relevant fact. Id. at 759. And

   thus, the plaintiff never argued that the defendant had actual knowledge

   of the unlawful activity.

      If the Supreme Court did not remand Global-Tech for a new trial

   where there was both an incorrect deliberate ignorance instruction and

   no evidence of actual knowledge, it is difficult to imagine how Detling

   could show that any error here seriously affected the fairness or integrity

   of his trial. This is especially so given that the Eleventh Circuit has

   repeatedly held that even where the deliberate ignorance instruction

   was improperly given, i.e., where no evidence supports it being given to

   the jury, such an error is harmless where there is “sufficient

   evidence to support the actual-knowledge theory” Ahrens, 782 F.

   App’x at 849; Fernandez, 553 F. App’x at 937. Such is the case

   here, where the government presented overwhelming evidence from

   which the jury could have concluded that Detling had “actual

   knowledge” of the fraud scheme.

        In short, Detling has not presented a substantial question as to the

       allegedly erroneous deliberate ignorance instruction because even if
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   there was error, it was not plainly so meriting reversal of his

   convictions.


      C. There is no substantial question that the Court did not err
         by instructing the jury on aiding and abetting.
      Detling argues that the Court erred by instructing the jury on aiding

   and abetting because he did not have sufficient notice as to that theory

   of liability. (R. 194, Def. Mot. for Appeal Bond at 13-15.) As this Court

   previously concluded, Detling was not “unfairly surprised” by the

   government’s request for an aiding and abetting instruction. (R. 181,

   Order Denying Mot. for New Trial at 7.) And in his motion, Detling

   offers nothing in response to the Court’s decision aside from an out-of-

   circuit habeas case. (Id. at 13-15 (citing Smith v. Lopez, 731 F.3d 859

   (9th Cir. 2013).) Detling also complains that the Court erred by

   reviewing his post-trial objections to the aiding and abetting

   instruction for plain error. (Id. at 15.) Because it is well-settled that
   aiding and abetting is implied in every indictment, and that any error

   in giving such an instruction is subject to harmless error review,

   Detling has not raised a substantial question regardless of whether he
   properly preserved his objections to the instruction. 11




      11The discussion below borrows substantially from the government’s
   response in opposition to Detling’s motion for a new trial. (R. 177, Govt. Opp.
   to Mot. for New Trial at 28-33.)

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      First, aiding and abetting is a theory of criminal liability embedded
   in every count charged in an indictment and therefore raises no notice

   or constructive amendment issue. See, e.g., United States v. Philpot,

   773 F. App’x 583, 590 (11th Cir. 2019) (citations omitted). As such, “18
   U.S.C. § 2 is an alternative charge in every count, whether explicit or

   implicit, and the rule is well-established . . . that one who has been

   indicted as a principal may be convicted on evidence showing that he

   merely aided and abetted the commission of the offense.” United States

   v. Walker, 621 F.2d 163, 166 (5th Cir. 1980) (stating that “18 U.S.C. § 2

   does not define a crime[, but] simply makes punishable as a principal

   one who aids or abets the commission of a substantive crime”) (internal

   quotation marks omitted). 12

      Second, the evidence at trial supported inclusion of the instruction.

   At trial, evidence and testimony was presented that: (i) Aimie Ingram

   and Mackenzie Cole had access to the SunTrust Bank x0526 account;

   (ii) this bank account was used as part of the fraud; (iii) Cole had been
   given the title of “partner” by Detling; (iv) Detling did not personally

   interact with every victim-client; and (v) Cole and other lawyers at

   Detling’s law firm were involved in representing some of the victim-
   clients. The evidence and testimony—including emails between Mighty

   and Detling and testimony from Golden, Caballero, Schwadron, and

      12 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981) (en
   banc), the Eleventh Circuit adopted as binding precedent all Fifth Circuit
   decisions issued prior to October 1, 1981.

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   Brammer—also showed that Detling was solely responsible for
   interfacing with the financing companies. Ingram and Cole both

   testified on direct that they were not involved in the criminal scheme.

   And on cross-examination, Detling challenged their veracity. (See R.
   170, Mot. for New Trial at 11.) The jury was left to evaluate the

   witnesses’ veracity, which Detling attacked voraciously in closing. (E.g.,

   R. 165, Closing Arg. Tr. at 42:7–18, 44:2–3, 45:13–14, 46:9–47:2, 48:13–

   49:2.) Indeed, Detling’s own defense (as described in his motion for new

   trial)—“that he relied in good faith upon the managing partner,

   Mackenzie Cole, and the office manager, Aimie Ingram, . . . regarding

   the desire of clients to obtain litigation advances” (R. 170, Mot. for New

   Trial at 11)—essentially conceded evidence of aiding and abetting

   liability, leaving only intent unproven. As such, there was some

   evidence and a view of the facts that the jury could reach—largely

   pushed by the defense—that Detling possibly worked with others to

   commit the fraud scheme. Although the government did not ultimately
   opt to do so, it would have been free to argue to the jury in closing (or

   on rebuttal) that even if Ingram and Cole were involved in the crimes,

   Detling could still be found guilty as a principal or under an aiding and
   abetting theory if the evidence supported that conclusion.

      Third, this case is neither unique nor novel. In United States v.

   Thomas, 631 F. App’x 847 (11th Cir. 2015), the Eleventh Circuit found
   no issue with an aiding and abetting instruction with a similar defense

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   from the defendant. There, the defendant’s main defense was that “his
   wife committed the[] crimes.” Id. at 851. That defense “coupled with the

   evidence presented at trial—that [the wife] worked where he did, that

   it was possible that she could have logged in remotely if she knew [the
   defendant’s] passwords, that she was a signatory on each of the three

   bank accounts which received the stolen funds, and that she had a total

   of $17,000 in checks written out to her personally from these

   accounts—supported the aiding and abetting instruction.” Id. The same

   reasoning applies here as similar arguments were made by Detling to

   blame Ingram and Cole for the charged crimes.

      Fourth, Detling’s claim of prejudice and surprise is unsupported. To

   start, there is no doubt that both parties knew long before trial that

   Cole and Ingram would be key witnesses so there was no surprise in

   terms of witnesses. Detling has never provided a specific example of

   prejudice regarding any witnesses. He has at best vaguely claimed that

   the cross-examinations of Cole and Ingram “would have been quite
   different” (R. 170, Def. Mot. for New Trial at 13), but he has never

   provided a single theoretical, practical, or legal reason why his tactics

   would have changed. And with good reason—his strategy would have
   been no different; he would have still attacked Cole and Ingram to

   make it appear as if he was not involved, just as he did during trial.

   But regardless, Detling had all the notice he required, as the black



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   letter law makes plain that aiding and abetting liability is implicit in
   any charged count. See Walker, 621 F.2d at 166.

      Smith does not help Detling’s “notice” argument because its

   reasoning was gutted by the Supreme Court. In Smith, the Ninth
   Circuit granted habeas relief under 28 U.S.C. § 2254 to a convicted

   state murderer where the prosecutor requested an aiding and abetting

   “jury instruction just before closing argument and without any prior

   indication that it was pursuing an aiding-and-abetting theory.” 731

   F.3d at 868. The court reasoned that “the prosecution ambushed Smith

   and denied him a meaningful opportunity to prepare his defense” in

   violation of his constitutional right to notice. Id. The Supreme Court

   reversed. Lopez v. Smith, 574 U.S. 1. “Assuming . . . that a defendant is

   entitled to notice of the possibility of conviction on an aiding-and-

   abetting theory,” the Supreme Court explained that none of its cases

   clearly established “that a defendant, once adequately apprised of such

   a possibility, can nevertheless be deprived of adequate notice by a
   prosecutorial decision to focus on another theory of liability at trial.” Id.

   at 5. Detling does not raise a substantial question where his only authority

   is an overruled Ninth Circuit case—one that has never been followed by
   the Eleventh Circuit. 13

      13Smith relied on an earlier Ninth Circuit case, Sheppard v. Rees, 909
   F.2d 1234 (9th Cir. 1989), in support of its holding that a defendant may be
   deprived of sufficient notice if a prosecutor proceeds on one theory of liability
   and then “ambushes” a defendant with a new theory of liability a trial
   without giving a defendant adequate time to respond. The government could
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      Fifth, not only was the aiding and abetting instruction proper under
   binding Eleventh Circuit law, but it was necessary based on how

   Detling argued the evidence—insisting, based on his contrived,

   incorrect understanding of the law—that the government had to
   exclude Cole, Ingram, and everyone else in the world from being

   involved in the charged scheme for the jury to convict Detling. Because

   the jury instructions were read before closing arguments, it was

   important for the jury to hear the true and correct law to prevent

   defense counsel from poisoning the jury with their incorrect assertions

   during closing. 14




   not locate any Eleventh Circuit that has ever cited Sheppard. Moreover,
   Sheppard’s analysis is inconsistent with Eleventh Circuit’s regarding the
   application of harmless error review to erroneous jury instructions. See Czech
   v. Melvin, No. 14-c-2012, 2017 U.S. Dist. LEXIS 42981, at *13 & n.6 (N.D. Ill.
   Mar. 24, 2017). Finally, Detling’s citation to United States v. Keller, 916 F.2d
   628 (11th Cir. 1990), is irrelevant. (R. 194, Def. Mot. for Appeal Bond at 14-
   15.) Keller did not address, let alone have anything to do with whether
   improperly instructing the jury on aiding and abetting amounts to a
   constructive amendment.
      14 The government’s fears regarding Detling’s closing were well founded.
   During closing, the government had to take the unusual step of objecting
   twice due to the defense mischaracterizing the jury instructions and
   returning to a topic that was previously ruled off limits. (R. 165, Closing Arg.
   Tr. at 32:13–36:2 (Court ultimately referring the jury back to the instructions
   by stating “I just want to make sure that you understand, and I’ve said this
   before, but the law you are to apply is the law that’s in the jury instructions.
   So the lawyers are arguing the law, but the law comes from what . . . I have
   given you as to the instructions.”); id. at 44:13–45:3 (Court instructing
   defense to “move on” because the issue “was the subject of the Court’s [prior]
   ruling on that particular matter”).

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      D. Even if the Court erred by providing the deliberate
         ignorance or aiding and abetting instructions, there is no
         substantial question that it is not likely to result in
         Detling’s convictions being reversed or vacated because
         any error was harmless.
      Eleventh Circuit case law is replete with examples in which the
   court of appeals concluded (or assumed) that a jury had been

   erroneously instructed on deliberate ignorance yet affirmed a

   defendant’s conviction because doing so was “‘harmless error where the

   jury was also instructed and could have convicted on an alternative,

   sufficiently supported theory of actual knowledge.’” United States v.

   Wentt, 828 F. App’x 526, 528 (11th Cir. 2020) (quoting United States v.

   Steed, 548 F.3d 961, 977 (11th Cir. 2008)); see also United States v.

   Pineda, 843 F. App’x 174, 181 (11th Cir. 2021) (district court did not err

   by instructing the jury as to deliberate ignorance even though there

   was testimony that the defendant acted “with full knowledge of the

   fraud” and even if the court erred, it was harmless, because “there was

   sufficient proof that [the defendant] had actual knowledge of the
   fraud”); United States v. Fernandez, 553 F. App’x 927, 937 (11th Cir.

   2014) (“But the absence or presence of evidence of deliberate ignorance

   ‘does not matter’ when ‘the jury could have convicted on an alternative,
   sufficiently supported theory of actual knowledge.’’) (quoting United

   States v. Kennard, 472 F.3d 851, 858 (11th Cir. 2006)).

      As the Court observed in its Order denying Detling’s motion for new
   trial, there was “copious of evidence of [Detling’s] actual knowledge [to]

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   support[] the guilty verdict.” (R. 181, Order Denying Mot. for New Trial
   at 12; see also id. at 11-12 (detailing Detling’s actual knowledge of the

   fraudulent litigation advance scheme); R. 177, Govt. Opp. to Mot. for New

   Trial at 2-8, 18-19, 23.) Thus, even if this Court improperly instructed
   the jury on deliberate ignorance, given the overwhelming evidence that

   Detling actually defrauded the financing companies, there isn’t a

   substantial question of law that is likely to result in a new trial or his

   convictions being vacated. Detling did not identify any case law to the

   contrary in his motion for a new trial. And his present motion fails to

   do so as well.

      The Eleventh Circuit has held similarly with respect to the jury

   being improperly instructed on aiding and abetting. See United States

   v. Hornaday, 392 F.3d 1306, 1316 (11th Cir. 2004) (applying harmless

   error review when jury is improperly instructed on aiding and abetting

   theory of liability); United States v. Grimsley, 808 F. App’x 865, 870

   (11th Cir. 2020) (same). Thus, even if the Court improperly instructed
   the jury on aiding and abetting it does not raise a substantial question

   of law that is likely to result in Detling receiving a new trial or having

   his convictions vacated.



                                  * * * * *

      For the foregoing reasons, Detling’s motion should be denied.



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                                   Respectfully submitted,

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   the parties and counsel of record.


                             Caitlyn Wade

                             Suzanne Hashimi

                             Counsel for Chalmer Detling II


   April 4, 2022


                                        /s/ A LEX S ISTLA

                                        A LEX S ISTA

                                        Assistant United States Attorney
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                  EXHIBIT K
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


                                           :
 UNITED STATES OF AMERICA                  :
                                           :
                                           :
 v.                                        :        CRIMINAL ACTION NO.
                                           :        1:18-cr-00309-LMM-LTW-1
                                           :
 CHALMER DETLING, II,                      :
                                           :
               Defendant.                  :

                                       ORDER

           This case comes before the Court on a Motion for Bond Pending Appeal,

Dkt. No. [194], filed by Defendant Chalmer Detling, II. After due consideration,

the Court enters the following Order.

      I.        BACKGROUND

           Defendant was charged by indictment with four counts of wire fraud under

18 U.S.C. § 1343 and five counts of aggravated identity theft under 18 U.S.C.

§ 1028A(a)(1) for conduct associated with the fraudulent procurement of

litigation advances.1 Dkt. No. [35]. A jury returned a verdict of guilty on all counts

on November 1, 2021. Dkt. No. [154]. Defendant then filed a Motion for New

Trial, Dkt. No. [170], which the Court subsequently denied, Dkt. No. [181].




           1 The indictment describes “litigation advances” as modest financing
afforded to plaintiffs, mainly those with personal-injury cases, for living and
medical expenses while their lawsuits are pending. Dkt. No. [35] at 3.
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         On February 10, 2022, the Court sentenced Defendant to a 70-month term

of imprisonment, to be followed by three years of supervised release, plus a $900

special assessment and restitution in the amount of $254,837.89. Dkt. No. [183].

He is set to voluntarily surrender at noon on May 11, 2022. Dkt. No. [206].

Defendant has filed an appeal, which remains pending. He now moves under

18 U.S.C. § 3143(b) for bond pending the resolution of his appeal. Dkt. No. [194].

   II.      LEGAL STANDARD

         Section 3143(b) provides that where a defendant has been found guilty of

an offense, sentenced to a period of confinement, and filed an appeal, “the

judicial officer shall order” the person detained “unless the judicial officer finds”:

         (A)   by clear and convincing evidence that the person is not likely
               to flee or pose a danger to the safety of any other person or the
               community if released under section 3142(b) or (c) of this title;
               and

         (B)   that the appeal is not for the purpose of delay and raises a
               substantial question of law or fact likely to result in—

               (i)    reversal,

               (ii)   an order for a new trial,

               (iii) a sentence that does not include a term of
                     imprisonment, or

               (iv) a reduced sentence to a term of imprisonment less than
                    the total of the time already served plus the expected
                    duration of the appeal process.

18 U.S.C. § 3143(b)(1)(A)-(B). “[T]he burden of establishing these factors is on

the convicted defendant.” United States v. Giancola, 754 F.2d 898, 901 (11th Cir.

1985). Thus, Defendant must show (1) by clear and convincing evidence that he is

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not likely to flee or pose a danger to the safety of the community; (2) that his

appeal is not for the purpose of delay; and (3) that the appeal raises a substantial

question of law or fact that is likely to result in reversal, an order for a new trial,

or a lesser sentence.

   III.   DISCUSSION

      The Government has conceded that Defendant is not appealing to delay his

report date. Dkt. No. [204] at 5. Additionally, the Court has already found based

on clear and convincing evidence that Defendant is not a flight risk or likely to

pose a danger to the community, see Dkt. No. [183] (allowing Defendant to

voluntarily surrender), and the Government has supplied no basis for

reconsideration of that finding, see generally Dkt. No. [204]. Accordingly, the

Court finds the first two factors satisfied and turns to the third factor.

      Defendant argues that his appeal includes allegations of error as to the

Court’s jury charges on deliberate ignorance and aiding and abetting and thus

raises substantial questions of law likely to result in reversal or an order for a new

trial. Dkt. No. [194] at 3-15. The Court does not find that Defendant has

shouldered his burden.

      As the Government points out, within the context of a motion for bond

pending appeal, “a ’substantial question’ is one of more substance than would be

necessary to a finding that it was not frivolous. It is a ‘close’ question or one that

very well could be decided the other way.” United States v. Fernandez, 905 F.2d

350, 354 (11th Cir. 1990) (quoting Giancola, 754 F.2d at 901). The “likely to result


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in reversal” language in § 3143 “‘must be read as going to the significance of the

substantial issue to the ultimate disposition of the appeal.’” Giancola, 754 F.2d

at 900 (quotation omitted). “A question of law or fact may be substantial but

may, nonetheless, in the circumstances of a particular case, be considered

harmless, to have no prejudicial effect, or to have been insufficiently preserved.”

Id. A court may find that reversal or a new trial is “likely” only if it concludes that

the question is “so integral to the merits of the conviction on which defendant is

to be imprisoned that a contrary appellate holding is likely to require reversal of

the conviction or a new trial.” Id.

      A.     Deliberate Ignorance

      Defendant argues that the Court’s wording on the deliberate ignorance

charge constitutes a “substantial question” likely to result in reversal or an order

for a new trial. Dkt. No. [194] at 6-13. Specifically, Defendant argues that the

instruction was erroneous because it did not include the requirement that the

defendant act deliberately to avoid knowledge and thus did not appropriately

instruct the jury that it was necessary to find a degree of knowledge surpassing

recklessness and negligence. Dkt. No. [194] at 6-13.

      Using a portion of the pattern jury instruction for deliberate ignorance, the

Court stated to the jury,

      If a Defendant’s knowledge of a fact is an essential part of a crime,
      it’s enough that the Defendant was aware of a high probability that
      the fact existed – unless the Defendant actually believed the fact
      didn’t exist. But I must emphasize that negligence, carelessness, or
      foolishness isn’t enough to prove that the Defendant knew the fact.


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Dkt. No. [153] at 11. At trial, Defendant objected not to the wording of the

deliberate-ignorance charge but rather to the Court’s providing any deliberate-

ignorance charge to the jury. See Dkt. No. [167] at 10-11.2 Thus, because the

wording of the deliberate-ignorance charge was not objected to at trial, it is

reviewed under the plain error standard. See United States v. Madden, 733 F.3d

1314, 1322 (11th Cir. 2013) (“In cases where the defendant fails to object to a

constructive amendment, we apply traditional plain-error review.”); United

States v. Schlei, 122 F.3d 944, 973 (11th Cir. 1997) (finding that although the

defendant objected to the deliberate-ignorance instruction at trial, the specific

contention on appeal was subject to plain-error review because he had not raised

that particular contention before the district court); id. (“In order to preserve an

objection to jury instructions for appellate review, a party must object before the

jury retires, stating distinctly the specific grounds for the objection.” (internal

quotation marks omitted)); United States v. Sirang, 70 F.3d 588, 594 (11th Cir.

1995) (“[T]he objection should be sufficient to give the district court the chance to


      2      Defendant recites the defense objection as follows:

       Ms. Wade: As to the portion that the court had indicated that they were
considering entering before–or, sorry– after the good faith charge, it’s essentially
a portion of the pattern deliberate ignorance charge. However–
      The Court: Yes, it’s the language, but without the example.
       Ms. Wade: Yes, Judge. I don’t think that that is appropriate here because
a deliberate ignorance instruction even in part would only be appropriate if there
was actual evidence that Mr. Detling had in some way attempted not to know
information in the case.
      Dkt. No. [194] at 11, n. 3 (quoting Dkt. No. [167] at 10-11).

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correct errors before the case goes to the jury.”). A conviction may be reversed

under plain-error review where (1) there was an error (2) that is plain and (3) has

affected the defendant’s substantial rights, and the error (4) “seriously affects the

fairness, integrity, or public reputation of judicial proceedings.” United States v.

Fleury, 20 F.4th 1353, 1368 (11th Cir. 2021).

      There was no plain error in giving this instruction. Jury instructions are

reviewed to determine whether, “taken as a whole, the jury was sufficiently

instructed to understand the issues and was not misled.” United States v. Jeffries,

378 F. App’x 961, 963 (11th Cir. May 11, 2010) (citing United States v. Fulford,

267 F.3d 1241, 1245 (11th Cir. 2001)). Although the Court modified the pattern

instruction as stated above, it properly instructed the jury regarding the

knowledge standard when it instructed the jury that the government must prove

every fact beyond a reasonable doubt; that “ ‘knowingly’ means that an act was

done voluntarily and intentionally and not because of a mistake or by accident”;

and “that negligence, carelessness, or foolishness isn’t enough to prove that the

Defendant knew [a] fact.” Dkt. No. [153] at 1, 6, 11. Thus, the jury was sufficiently

instructed on the concept of deliberate ignorance.

      Moreover, it is difficult to see how Defendant could have been prejudiced

by the deliberate-ignorance instruction, as the evidence of actual knowledge in

this case is overwhelming. The Eleventh Circuit “ha[s] repeatedly held that

‘instructing the jury on deliberate ignorance is harmless error where the jury was

also instructed and could have convicted on an alternative, sufficiently supported


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theory of actual knowledge.’ ” United States v. Wentt, 828 F. App’x 526, 528 (11th

Cir. Sept. 17, 2020) (quoting United States v. Steed, 548 F.3d 961, 977 (11th Cir.

2008)); accord United States v. Ahrens, 782 F. App’x 845, 849 (11th Cir. July 26,

2019); United States v. Fernandez, 553 F. App’x 927, 937 (11th Cir. Feb. 3, 2014);

United States v. Rivera, 944 F.2d 1563, 1572 (11th Cir. 1991).

      That is the case here. Four witnesses from defrauded companies Capital

Financing and Mighty testified that they dealt exclusively with Defendant on the

fraudulent litigation advances and that they never would have approved them if

they had known the clients had neither authorized the advances nor received the

funds. The witnesses from Capital Financing testified that Defendant picked up

the fraudulently obtained checks and that they dealt with Defendant exclusively

about the status of repayment. The witnesses from Mighty testified that they

spoke with Defendant over the telephone and even met with him in person on a

few occasions. There was also evidence that when Mighty learned of the fraud,

Defendant tried for months to make “payoffs” and ultimately reached an

agreement with Mighty to “release” his former clients from any liability. The

testimony was corroborated by voluminous e-mail correspondence and business

records, including loan agreements signed by Defendant. Twelve victim clients

also testified, including the five whose identities underlie the charges in the

superseding indictment. They all testified that they had never authorized any of

the financing contracts, and all but one testified that they would not have

authorized the financing if asked. In fact, several testified that they had expressly


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told Defendant that they did not want a litigation advance. Each of the victim

clients also testified that they never received any of the funds from the financing

companies, and that testimony was corroborated by an FBI agent who testified

that she had traced the litigation advances and found that none of them went to

Defendant’s clients. The Government also presented overwhelming evidence—

including bank records and testimony of Defendant’s former colleagues—that he

controlled the bank accounts where the funds from the fraudulent litigation

advances were deposited. Defendant himself stipulated to many of these facts in

proceedings before the Georgia Bar.

      “An erroneous jury charge only entitles the defendant to reversal of his

conviction and remand for a new trial . . . when a reasonable likelihood exists that

the jury applied the instruction in an improper manner.” United States v.

Mayweather, 991 F.3d 1163, 1175 (11th Cir. 2021) (internal quotation marks

omitted). In light of the facts elicited at trial, the Court finds it highly unlikely

that the jury applied the deliberate-ignorance instruction in an improper manner

or that the instruction seriously affected the fairness, integrity, or public

reputation of the judicial proceedings.

      Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011), the case

upon which Defendant principally relies, Dkt. No. [194] at 6-13, does not require

a different result. To Defendant’s point, the Supreme Court was clear that a

deliberate-ignorance charge requires a showing that the defendant not only was

aware of a high probability of a fact in question, but also took deliberate action to


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avoid knowledge of the fact, thus elevating mens rea beyond recklessness and

negligence. Id. at 769. However, as previously discussed, the Court established

the proper standard when it instructed the jury that the government must prove

every fact beyond a reasonable doubt; that “ ‘knowingly’ means that an act was

done voluntarily and intentionally and not because of a mistake or by accident”;

and “that negligence, carelessness, or foolishness isn’t enough to prove that the

Defendant knew [a] fact.” Dkt. No. [153] at 1, 6, 11. Additionally, although the

jury instruction in Global Tech Appliances did not include the “deliberate action”

provision, the court did not remand for a new trial but instead affirmed because,

despite of the flaws in the charge, the evidence was sufficient under the correct

standard. Global-Tech Appliances, Inc., 563 U.S. at 770-71.

      For these reasons, the undersigned concludes that the deliberate-ignorance

charge does not present a “substantial question” within the context of a motion

for bond pending appeal.

      B.     Aiding and Abetting

      Defendant further argues that the Court’s instruction to the jury on aiding

and abetting constitutes a “substantial question” likely to result in reversal or an

order for a new trial. Dkt. No. [194] at 13-15. Likening the facts of this case to

those in Smith v. Lopez, 731 F.3d 859 (9th Cir. 2013), rev’d, Lopez v. Smith, 574

U.S. 1 (2014), Defendant argues that there was no allegation in the indictment

that he aided or abetted another person, “i.e. [Defendant’s colleagues]

[Mackenzie] Cole or [Aimee] Ingram,” and it was improper for the Government


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to seek a jury instruction on aiding and abetting after the evidence had closed. Id.

at 13 n.5. He also contends that he properly objected to the charge both before

and after it was given and that he is therefore entitled to de novo review of the

issue. Id. at 15 (citing Dkt. No. [158]; Dkt. [166] and 4-5, 9-10, 10-11, 12; and Dkt.

No. [191] at 4-10). The Court is also unpersuaded by these arguments.

      First, of the citations allegedly marking Defendant’s objections to the

aiding-and-abetting instructions, only the transcript filed at Docket Entry [191] in

fact addresses the aiding-and-abetting instruction. See Dkt. No. [191] at 7-8.3 In

that portion of the transcript, Defendant argued, without citing any authority,

that it would be improper to give the aiding-and-abetting instruction because “he

was not charged with aiding and abetting.” Id. at 7. This, however, was an

incorrect statement of the law, as aiding and abetting is a theory of criminal

liability that is embedded in every count charged in an indictment. See United

States v. Philpot, 773 F. App’x 583, 590 (11th Cir. July 12, 2019); United States v.

Thomas, 631 F. App’x 847, 851 (11th Cir. Nov. 19, 2015); United States v. Walser,

3 F.3d 380, 388 (11th Cir. 1993); United States v. Broadwell, 870 F.2d 594, 608

(11th Cir. 1989). Therefore, the Court properly overruled the objection.

      Second, Smith v. Lopez does not help Defendant’s “notice” argument

because the Supreme Court criticized its reasoning and reversed its holding. In




      3      Where a document’s original page numbering differs from that
assigned by the Court’s CF/ECF system, the Court uses the numbers assigned by
its CM/ECF system.

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Smith, the Ninth Circuit granted habeas relief to a convicted state murderer

where the court had given an aiding-and-abetting jury instruction based on the

government’s request “just before closing argument and without any prior

indication that it was pursuing an aiding-and-abetting theory.” 731 F.3d at 868.

The court reasoned that “the prosecution ambushed [the defendant] and denied

him a meaningful opportunity to prepare his defense” in violation of his

constitutional right to notice. Id. The Supreme Court reversed, Lopez, 574 U.S. at

9, explaining that even under the assumption “that a defendant is entitled to

notice of the possibility of conviction on an aiding-and-abetting theory,” none of

its cases clearly established “that a defendant, once adequately apprised of such a

possibility, can nevertheless be deprived of adequate notice by a prosecutorial

decision to focus on another theory of liability at trial,” id. at 5. Moreover,

Defendant has presented no authority—and the Court has found none—

indicating that Smith has ever been followed in the Eleventh Circuit. In fact, the

Eleventh Circuit found no issue with an aiding-and-abetting instruction in a case

similar to the case at bar. See Thomas, F. App’x at 851 (finding that the district

court did not err in giving the aiding-and-abetting instruction, “even though

aiding and abetting was not charged in the indictment,” and that there was

sufficient evidence in the trial record to support the instruction, since the main

defense was that the defendant’s wife had committed the crimes and the evidence

presented at trial showed that she worked where he did, could have logged in

remotely if she knew his passwords, was a signatory on the bank accounts that


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received the stolen funds, and had checks written out to her personally from the

accounts”).

      Additionally, contrary to Defendant’s arguments regarding the timing of

the request for the aiding-and-abetting charge, he has not shown that the timing

of the request prejudiced him. The request for aiding-and-abetting charge was

filed in the early afternoon the day before the jury was charged. Dkt. No. [152].

The Court held a final charge conference at 10:15 the next morning, where

Defendant was invited to cite authority precluding the charge but failed to do so.

Dkt. No. [167] at 5-6, 8-10. Moreover, while Defendant contends that he was

prejudiced because the request came after the close of evidence, he had been

aware that Cole and Ingram were on the Government’s witness list, cross-

examined them rigorously, and himself accused them of undertaking a portion of

the conduct making up the charges against him. He also does not argue in his

motion that the Court improperly denied a motion to reopen the evidence or state

what evidence he would have sought to elicit if he had the opportunity to reopen

the evidence.4



      4      It is only in the reply brief Defendant filed in support of his motion
for bond that he finally addresses what questions he would have raised with Cole
and Ingram if he had additional notice of the aiding-and-abetting instruction.
Dkt. No. [205] at 7. This, of course, comes too late for the Government to respond
to Defendant’s contentions, much less for the Court to have addressed the
contentions prior to charging the jury. The Court therefore finds that Defendant
has not properly raised the issue before it. See United States v. House, 684 F.3d
1173, 1210 (11th Cir. 2012) (refusing to consider an argument raised for the first
time in a reply brief); see also United States v. Zambrano, 752 F. App’x 775, 781
n.4 (11th Cir. Oct. 9, 2018) (“[W]e do not consider arguments raised for the first

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      Finally, the evidentiary record in this case, any error in giving the aiding-

and-abetting charge was harmless. Under Supreme Court precedent, an

unwarranted aiding-and-abetting charge constitutes error that “is harmless if,

viewing the proceedings in their entirety, . . . a court determines that the error did

not affect the verdict, ‘or had but very slight effect.’ ” United States v. Hornaday,

392 F.3d at 1306, 1315 (11th Cir. 2004) (quoting Kotteakos v. United States, 328

U.S. 750, 762, 764 (1946)). In other words, “[i]f one can say ‘with fair

assurance . . . that the judgment was not substantially swayed by the error,’ the

judgment is due to be affirmed even though there was error.” Hornaday, id.

at 1315-16 (quoting Kotteakos, id. at 1248).

      In this case, despite Defendant’s rigorous cross-examination, there is scant

evidence that it was in fact Cole or Ingram who undertook any of the conduct of

which Defendant was accused, much less that they were the principal actors

aided and abetted by Defendant. Defendant himself has asserted (without

pointing to any evidence of record) only that Cole once transferred funds from a

litigation advance from the firm’s IOLTA account into the firm’s operating

account, that Ingram “may have” forged the signature of one victim client on the

client’s litigation advance, and that Ingram acknowledged that she could easily




time in a reply brief.”) (citing United States v. Fiallo-Jacome, 874 F.2d 1479, 1481
(11th Cir. 1989)); United States v. Kendricks, Crim. Action File No. 1:15-cr-400-
MHC/AJB, 2016 WL 11440141, at *5, n.4 (N.D. Ga. Aug. 22, 2016) (R&R)
(“Arguments which are first raised in a reply brief are deemed waived.”), adopted
at 2016 WL 5952743 (N.D. Ga. Oct. 13, 2016).

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forge Defendant’s signature. Dkt. No. [170] at 11. In contrast, the evidence that

Defendant personally undertook the conduct giving rise to the charges was

overwhelming. Four witnesses from the defrauded companies testified that they

dealt exclusively with Defendant on the fraudulent litigation advances. The

witnesses from Capital Financing testified that Defendant picked up the

fraudulently obtained checks and that they dealt with Defendant exclusively

about the status of repayment. The witnesses from Mighty testified that they

spoke with Defendant over the telephone and even met with him in person on a

few occasions. There was also evidence that when Mighty learned of the fraud,

Defendant tried for months to make “payoffs” and ultimately reached an

agreement with Mighty to “release” his former clients from any liability. The

Government also presented overwhelming evidence that Defendant controlled

the bank accounts where the funds from the fraudulent litigation advances were

deposited and was the sole signatory on two of the three accounts. Testimony was

corroborated by voluminous e-mail correspondence, bank records, and business

records, including loan agreements signed by Defendant. Defendant himself

stipulated to many of these facts in proceedings before the Georgia Bar. In sum,

there was copious evidence that all pointed toward Defendant as the sole actor

undertaking the fraud and identity theft.

      For these reasons, the Court concludes that it is highly unlikely that the

jury applied the aiding-and-abetting instruction in an improper manner or that

the instruction seriously affected the fairness, integrity, or public reputation of


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the judicial proceedings. Thus, the aiding-and-abetting charge also does not

present a substantial question for the purposes of Defendant’s motion for bond

pending appeal.

   IV.   CONCLUSION

      Based upon the foregoing, Defendant’s Motion for Bond Pending Appeal,

Dkt. No. [194], is DENIED.

      IT IS SO ORDERED this 25th day of April, 2022.




                                     _____________________________
                                     Leigh Martin May
                                     United States District Judge




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                                    No. 22-10630-BB

             IN THE UNITED STATES COURT OF APPEALS
                    FOR THE ELEVENTH CIRCUIT


                           U NITED S TATES OF A MERICA ,
                                               Plaintiff-Appellee,


                                          v.

                               C HALMER D ETLING , II,
                                               Defendant-Appellant.




                   On appeal from the United States District Court
                        for the Northern District of Georgia
                             No. 18-cr-309-LMM-LTW-1

                          Response to Defendant’s Motion to
                              For Release Pending Appel



                                           R YAN K. B UCHANAN
                                               United States Attorney

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                                    No. 22-10630-BB
                            United States v. Chalmer Detling, II


              CERTIFICATE OF INTERESTED PERSONS
             AND CORPORATE DISCLOSURE STATEMENT

        In addition to the individuals identified in Appellant’s Certificate of
        Interested Persons, counsel hereby certifies that the following people

        and entities may have an interest in the outcome of this appeal:


        Capital Financing

        Buchanan, Ryan, United States Attorney
        Erskine, Kurt, Former Acting United States Attorney
        Golden, Howard
        Parmer, Molly, Former Federal Public Defender, Atlanta
        Sommerfeld, Lawrence R., Assistant United States Attorney
        United States of America, Appellee
        No publicly traded company or corporation has an interest in the
        outcome of the case or appeal.




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                                   No. 22-10630-BB


               IN THE UNITED STATES COURT OF APPEALS
                      FOR THE ELEVENTH CIRCUIT


                           U NITED S TATES OF A MERICA ,
                                                Plaintiff-Appellee,

                                           v.

                               C HALMER D ETLING , II,
                                                Defendant-Appellant.



                         Response to Defendant’s Motion to
                             For Release Pending Appel

           Following a nearly two-week trial, a federal jury convicted Chalmer
        Detling, a disbarred attorney, of four counts of wire fraud and five
        counts of aggravated identity theft after a little more than an hour of

        deliberations. (Doc. 154 (Ex. A)).1 On February 10, 2022, the district
        court sentenced Detling to a within-Guidelines sentence of 70
        months’ imprisonment. (Docs. 182 (Ex. B), 183 (Ex. C)). Detling filed

        a timely notice of appeal. (Doc. 186 (Ex. D)). On August 9, 2022—
        before any merits briefing—Detling filed the present motion


           1
             The docket entries are attached to this motion as an exhibit as
        indicated in the parenthetical. Exhibit designations appear once.
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        requesting a bond pending appeal claiming that his appeal will raise
        multiple substantial questions of law likely to result in in his

        convictions being vacated. Not one of his purported substantial
        questions, however, challenge his convictions. The Court should deny
        Detling’s motion.

        1. Background

           On August 8, 2018, the grand jury returned an indictment against

        Detling charging him with multiple counts of wire fraud and
        aggravated identity theft arising from his scheme to use his clients’
        identities to obtain approximately $400,000 in fraudulent litigation

        advances. (Doc. 1 (Ex. E)). Detling made his initial appearance on
        August 10, 2018. (Doc. 10 (Ex. F)). On August 16, 2018, the
        magistrate judge issued a pretrial scheduling order setting a hearing
        for August 28, 2018. (Doc. 15 (Ex. G)). On August 22, 2018, Detling
        filed an unopposed motion to continue the pretrial conference and
        for an extension of time to file pretrial motions, which the magistrate
        judge granted. (Docs. 18 (Ex. H), 21 (Ex. I)).
           After receiving an additional continuance, Detling filed multiple
        counseled motions, including a motion to strike surplusage from the

        indictment (or “motion to strike”) on October 30, 2018. (Doc. 29 (Ex.
        J)). Detling requested the following language be struck under Federal
        Rule of Criminal Procedure 7(d):


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           On or about October 31, 2016, the Supreme Court of Georgia
           accepted DETLING’s petition for voluntary surrender of his
           law license, which the Supreme Court of Georgia described as
           “tantamount to disbarment.” DETLING is currently not
           licensed to practice law in the State of Georgia.


        (Id.-2). The government filed its response to this motion, as well as
        the others on December 14, 2018. (Doc. 33 (Ex. K)). In the interim,

        however, on December 12, 2018, the government obtained a
        superseding indictment to address a concern raised in Detling’s
        jurisdictional motion. (Doc. 26 (Ex. L), Doc. 35 (Ex. M), Doc. 33-7
        (Ex. K)). The language that was the subject of Detling’s motion to
        strike remained in the superseding indictment. (Compare Doc. 1-1 (¶
        1) with Doc. 35-1 (¶ 1)).

           On January 14, 2019, Detling was arraigned on the superseding
        indictment, and a pretrial conference was scheduled for February 6,
        2019. (Docs, 42 (Ex. N), 43 (Ex. O)). On March 21, 2019, a minute
        entry was entered labeled “order to continue” and noting that on
        March 4, 2019, Detling notified the court that “he would not file any
        additional motions and . . . [he] is ready for a ruling on the motions
        that he previously filed.” The minute entry also noted that it was
        excluding time between February 6 and April 6, 2019. Detling did not
        object to the magistrate judge’s minute order.




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           On April 30, 2019, the magistrate judge issued a report and
        recommendation (“R&R”) denying several of Detling’s motions, and

        deferred ruling on his motion to strike. (Doc. 45 (Ex. P), Apr. 30,
        2019 minute orders). On May 29, 2019, the district court overruled
        Detling’s objections to the R&R and deferring ruling on the motion
        to strike. (Doc. 52 (Ex. Q)).
           On October 13 and 19, 2021, the district court held two lengthy
        pretrial conferences. (Docs. 139 (Ex. R), 140 (Ex. S)). During these
        hearings, which Detling did not attend, the district court addressed
        many evidentiary issues, including the need for the government to
        prepare a redacted indictment. (Doc. 168-43 (Ex. T); Doc. 169-96 (Ex.
        U)). Detling’s trial began October 21, 2021. Just minutes before jury
        selection, Detling—although represented by counsel—was permitted to
        make a pro se oral motion to dismiss the indictment on speedy trial
        grounds. (Doc. 212-10-14 (Ex. V)). He argued that the magistrate
        judge had made an insufficient ends-of-justice finding to exclude
        certain time and that the district court did not resolve his motion to

        strike at the pretrial conference, but if it did, it had done so without a
        hearing. (Id.). Detling suggested that if the motion to strike was
        resolved without a hearing, then the speedy trial clock would not be
        tolled. (Id.-13).
           The district court rejected his argument:


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           Mr. Detling’s argument was premised on the fact that [the
           motion to strike] was not discussed during the pretrial
           conference. That is incorrect. I looked at detail at this motion,
           and in fact I have basically ruled in your favor . . . . so not only
           was it discussed, it was something that I told the government
           that they needed to take another look at the indictment . . .
           [and] there [were] a few things that needed to be straightened
           out in terms of the counts, the specific information that was
           listed in this motion and to the extent there was anything else
           that needed to be narrowed before the Court could make a
           final decision about the appropriateness of the indictment, but
           this specific issues was addressed.


        (Id.-15). Detling’s counsel did not take issue with the district court’s
        characterization of the pretrial conference. The court also issued a
        minute entry memorializing its statements. (10/21/22 Minute Entry
        Order Granting in Part and Deferring in Part Motion to Strike).
           Notably, Detling did not argue that the motion to strike did not
        comply with Federal Rule of Criminal Procedure 47, that the filing of
        the superseding indictment supposedly mooted his pending motions,
        or that the magistrate judge erred by deferring this motion (in fact
        taking essentially the opposite position in that regard). (Doc. 212-12).

        2. Argument and Citation of Authority

           A defendant who has been convicted and sentenced to a term of
        imprisonment “shall” be detained pending appeal unless the Court
        finds:



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               (A) by clear and convincing evidence that the person is
               not likely to flee or pose a danger to the safety of any
               other person or the community if released under section
               3142(b) or (c) of this title; and

               (B) that the appeal is not for the purpose of delay and
               raises a substantial question of law or fact likely to result
               in-
               (i) reversal,

               (ii) an order for a new trial,

               (iii) a sentence that does not include a term of
               imprisonment, or

               (iv) a reduced sentence to a term of imprisonment less
               than the total of the time already served plus the
               expected duration of the appeal process.
        18 U.S.C. § 3143(b). “[T]he conviction is presumed correct and the
        burden is on the convicted defendant to overcome that presumption.”
        United States v. Giancola, 754 F.2d 898, 901 (11th Cir. 1985).
           Although Detling is not likely to flee or pose a danger, and he is

        not appealing for the purpose of delay, he has not satisfied his burden
        of showing that his appeal raises a substantial question likely to result
        in a reversal, a new trial, or a reduced sentence. Id.; 18 U.S.C.

        § 3143(b).
           A “‘substantial question’ is one of more substance than would be
        necessary to a finding that it was not frivolous. It is a ‘close’ question
        or one that very well could be decided the other way.” Giancola, 754



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        F.2d at 901. Here, Detling has yet to file his initial merits brief.
        Nonetheless, Detling asserts that there are five substantial questions

        that merit his release on bond: (i) an alleged violation of the Speedy
        Trial Act; (ii) whether his motion to strike surplusage complied with
        Rule 47; (iii); whether the filing of a superseding indictment mooted
        his motion to strike; (iv) whether the magistrate judge had authority to
        defer the motion to strike to the district court; and (v) whether the
        district court erred in holding a hearing on the motion to strike. (Mot.
        at 4-13). Because the majority of these “questions” were not raised
        below and do not plainly present a basis for relief, and because it is
        not a “close question” whether the district court erred in denying
        Detling’ eleventh-hour oral motion to dismiss on speedy trial grounds,
        the Court should deny Detling’s request for an appellate bond. 2

           A. The district court’s denial of Detling’s eleventh-hour oral
              motion to dismiss on speedy trial grounds does not present a
              substantial or close question because the filing of the motion
              to strike surplusage tolled the speedy trial clock.

           The Speedy Trial Act (“the Act”) requires the trial of a defendant
        to commence within seventy days “from the filing date and making

        public of the information or indictment, or from the date the


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             As discussed below, most of Detling’s claims are subject to plain
        error review, thus further undercutting any argument that these issues
        raise close or substantial questions.


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        defendant has appeared before a judicial officer of the court in which
        such charge is pending, whichever date last occurs.” 18 U.S.C.

        § 3161(c)(1). “When the clock is triggered by a defendant’s first
        appearance, the clock begins after the defendant’s appearance.” United
        States v. Hughes, 840 F.3d 1368, 1377 (11th Cir. 2016) (citing United
        States v. Williams, 314 F.3d 552, 557 (11th Cir. 2002)). If a trial does
        not begin within seventy days, an indictment may be dismissed with
        or without prejudice on motion of the defendant. 18 U.S.C.
        § 3162(a)(2).
           In calculating this seventy-day period, however, certain events may
        “toll” the speed trial clock. 18 U.S.C. § 3161(h). When the speedy
        trial clock is “tolled,” those days are deemed “excludable” or “not
        countable” toward the seventy-day period. See, e.g., United States v. Ellis,
        789 F. App’x 163, 166 (11th Cir. 2019). Several of those provisions
        are relevant here.
           The Act excludes “any period of delay resulting from any pretrial
        motion, from the filing of the motion through the conclusion of the

        hearing on, or prompt disposition of, such motion.” 18 U.S.C.
        § 3161(h)(1)(D). The Act also provides that “any period resulting from
        a continuance granted by any judge on his own motion or at the
        request of the defendant or his counsel or at the request of the
        attorney for the Government, if the judge granted such continuance


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        on the basis of his findings that the ends of justice served by taking
        such action outweigh the best interest of the public and the defendant

        in a speedy trial.” Id. § 3161 (h)(7)(A). Ordinarily, for time to be
        excludable under this subsection of the Act, the court must set forth
        “in the record of the case, either orally or in writing, its reasons for
        finding that the ends of justice served by” granting the “continuance
        outweigh the best interests of the public and the defendant in a
        speedy trial.” Id.; see, e.g., United States v. Ammar, 842 F.3d 1203, 1206
        (11th Cir. 2016). With respect to placing such findings on the record,
        the Act does not require them to be made contemporaneously with
        granting a continuance (though this is the best practice). Id. at 1207
        (citing Zedner v United States, 547 U.S. 489, 507 (2006)). Nevertheless,
        this Court has held that “[f]or there to be a valid ends-of-justice
        continuance, the court need not explicitly enunciate its findings when
        it grants the continuance ‘so long as there is sufficient evidence in the
        record indicating that it considered the factors identified in the
        statute when it granted the continuance.’” Williams, 314 F.3d at 556

        (quoting United States v. Vasser, 916 F.2d 624, 627 (11th Cir. 1990)).
           Detling contends that the period from February 6, 2019 to April 6,
        2019 should not have been excluded under the Act because the
        magistrate judge’s March 21, 2019 minute order did not make
        sufficient ends-of-justice findings. (Mot. at 7). Detling’s does not


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        identify any other period that should not have been excluded but
        asserts that the speedy trial clock would have expired on April 11,

        2019, “assuming none of the motions required a hearing.” (Id.) His
        motion does clearly explain why he believes the speedy trial clock ran
        that day. And before the district court, in his eleventh-hour oral
        motion, he never mentioned this date, instead vaguely referencing
        that there were “109 days of delay.” (Doc. 212-13). But these
        shortcomings aside, whether the magistrate judge’s ends of justice
        finding was sufficient under the Act is of no moment, because, as
        explained below, the entire time between the filing of his motion to
        strike and the district court’s consideration at the pretrial conferences
        was excludable under § 3161(h)(1)(D).
           This Court has held that where a motion necessitates a hearing,
        “‘[§ 3161(h)(1)(D)] excludes all time between the filing of the motion
        and the conclusion of the hearing at which it is addressed.’” United
        States v. Harris, 376 F.3d 1282, 1289 (11th Cir. 2004) (quoting United
        States v. Dunn, 345 F.3d 1285, 1292 (11th Cir. 2003)) (emphasis in

        original).3 It does not matter “whether or not a delay in holding [the]
        hearing [was] ‘reasonably necessary.’” Henderson v. United States, 476
        U.S. 321, 330 (1986). Accordingly, “[t]he entire time from the filing

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            18 U.S.C. § 3161(h)(1)(D) was previously codified at 18 U.S.C.
        § 3161(h)(1)(F). Harris and Dunn both reference the prior subsection.


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        of the motion to the conclusion of the hearing is excludable, even
        when the hearing is deferred until trial.” United States v. Phillips, 936 F.2d

        1252, 1254 (11th Cir. 1991) (citations omitted) (emphasis added).
           Detling filed his motion to strike on October 30, 2018. (Doc. 29).
        At the time he filed his motion, just 11 days had elapsed under the
        Act. On April 30, 2019, the magistrate issued a written order
        addressing several of Detling’s pretrial motions and made several
        minute entries noting which of his motions had been deferred to the
        district court, including his motion to strike. 4 The magistrate judge
        did not err in doing so. See infra, pp. 20-21. On May 29, 2019, the
        district court entered an order that, in relevant part, deferred ruling
        on Detling’s motion to strike surplusage until the pretrial conference.
        (Doc. 52). This was also not error on the district court’s part.
           In United States v. Awan, 966 F.2d 1415 (11th Cir. 1992), this
        Court held “it is proper to reserve ruling on a motion to strike
        surplusage until the trial court has heard evidence that will establish
        the relevance of the allegedly surplus language[.]” Id. at 1426 (citing

        United States v. Fahey, 769 F.2d 829, 842 (1st Cir.1985) (trial court did
        not abuse its discretion by waiting until hearing evidence in deciding

           4
            The April 30, 2019 entry relating to the motion strike read
        “ORDER deferring ruling on 29 Motion to Strike Surplusage as to
        Chalmer Detling III (1). Signed by Magistrate Judge Linda T. Walker
        on April 30, 2019. (LTW) (Entered: 04/30/2019)”


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        not to strike certain alleged surplusage from the indictment). 5 The
        need for a hearing—at or near the time of trial—on a motion to strike

        is often necessary because the question of whether to strike certain
        language from an indictment is informed by the government’s theory
        of prosecution and evidence at trial. That, in turn, may depend on the
        court resolving Rule 404(b) motions or other motions in limine that
        would typically not occur until shortly before trial or even during the
        trial itself. And this was all true here. The parties engaged in

        significant pretrial litigation regarding the scope of the government’s
        evidence, which included the filing of more than a dozen motions and




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             See also, e.g., United States v. Chrisley, No. 1:19-cr-297-ELR, 2022
        U.S. Dist. LEXIS 14380, at **14-15 (N.D. Ga. Jan. 26, 2022) (“The
        Magistrate Judge correctly observed that the Court possesses the right
        to reserve judgment on a motion to strike surplusage until a hearing
        before trial.”) (citing Awan); United States v. Webman, No. 1:13-cr25-
        SCJ, 2014 U.S. Dist. LEXIS 27504, at **12-13 (N.D. Ga. Jan. 6, 2014)
        (“And, in order to determine whether the allegations are relevant to
        the charges and the evidence introduced at trial, ‘[t]he Court may
        reserve ruling on a motion to strike surplusage until hearing the
        evidence and determining its relevance at trial.’”) (quoting United
        States v. Al-Arian, 308 F. Supp. 2d 1322, 1333 (M.D. Fla. 2004)).


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        responses 6 and required the district court to convene two lengthy
        pretrial hearings. 7

           Detling suggests that a hearing was unnecessary because it should
        be “obvious” from the face of the indictment whether to grant a
        motion to strike. (Mot. at 13). But as the foregoing discussion

        demonstrates, the decision of whether to strike language from an
        indictment is a fact-intensive inquiry. And in any event, this Court
        has observed “appellate courts generally have been reluctant to
        question the judgment of a district court that a hearing is required.”
        Dunn, 345 F.3d at 1294 & n.4 (citations omitted). This is because
        “[t]he reasons for conducting a hearing on a motion typically are fact-

        intensive, and accordingly are uniquely within the purview of the
        district court.” Id. at 1294. It also makes no difference with respect to
        the tolling analysis under the Act that the court rather than the parties
        decided a hearing was necessary. United States v. Grosz, 76 F.3d 1318,
        1325 (5th Cir. 1996) (“[The defendant] also contends that this motion
        was a non-hearing motion because the parties never requested and the
        district court never formally set a hearing on it. We are not persuaded


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             See Docs. 105 (Ex. W), 106 (Ex. X), 107 (Ex. Y), 109 (Ex. Z), 110
        (Ex. AA), 113 (Ex. BB), 114 (Ex. CC), 117 (Ex. DD), 118 (Ex. EE),
        119 (Ex. FF), 122 (Ex. GG), 123 (Ex. HH), 124 (Ex. II), 125 (Ex. JJ).
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               See Docs. 139, 140, 143 (Ex. KK), 168, 212.


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        by these arguments [because] [t]he plain language of [§ 3161(h)(1) (D)]
        [does not] require[] a court to make any on-the-record findings as to

        the status of a motion.”). In short, unless there is evidence that the
        hearing was held simply “to avoid the operation of the Speedy Trial
        Act,” district courts enjoy substantial discretion in deciding whether a
        motion requires a hearing. Id. at 1325 n.7 (cited approving by Dunn).
        There was no such evidence here where the district court
        unambiguously deferred consideration of the motion to strike until
        the pretrial conference years before Detling raised his speedy trial
        claim.
           Because Detling’s motion to strike required a hearing to be
        resolved, “[t]he entire time from the filing of the motion to the
        conclusion of the hearing [was] excludable” under the Speedy Trial
        Act. Phillips, 936 F.2d at 1254. Whether Detling believes this delay
        was “reasonable” or not is immaterial—though as demonstrated above
        it was entirely so. 8 Accordingly, the entire time from October 30,
        2018 until at least October 13, 2021 would be excluded under the
        Act. See, e.g., Harris, 376 F.3d at 1289 (no speedy trial violation where
        district court did not resolve motions to suppress until a hearing 22

           8
             As the Court is aware, much of the delay in this case was
        attributable to the COVID pandemic. And Detling himself repeatedly
        sought continuances before the pandemic. (Docs. 39 (Ex. LL), 48 (Ex.
        MM), 59 (Ex. NN), 67 (Ex. OO), 75 (Ex. PP)).


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        months later).9 Because Detling was tried within the Act’s 70-day
        limit, when accounting for any properly excludable days, his speedy

        trial argument does not raise a substantial or close question likely to
        result in his convictions being vacated.

           B. Detling’s counseled motion to strike complied with Federal
              Rule of Criminal 47(b).

           Detling offers that a second “substantial question” warranting his
        release is whether his counseled motion to strike complied with
        Federal Rule of Criminal Procedure 47(b). (Mot. at 9-10). For the first
        time, Detling argues that this counseled motion was not actually a
        motion but a “legal nullity” because it supposedly did not state the
        grounds on which was based. (Id.). That being the case, so Detling’s
        argument goes, the motion to strike could not have stopped the
        speedy trial clock. (Id.) Detling cites no authority in support of his

        argument. And this is unsurprising because the argument is
        nonsensical.
           Rule 47(b) provides:




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             And arguably until October 21, 2021, when the district court
        revisited the issue with Detling following his oral motion.


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           A motion—except when made during a trial or hearing—must be
           in writing, unless the court permits the party to make the
           motion by other means. A motion must state the grounds on
           which it is based and the relief or order sought. A motion may
           be supported by affidavit.


        Fed. R. Crim. P. 47(b). The rule demands only that the party identify
        the basis upon which they seek relief. Its purpose is to provide the

        district court and litigants sufficient notice as to why and what relief a
        moving party seeks. See, e.g., United States v. Audette, 923 F.3d 1227,
        1241 (9th Cir. 2019) (“Audette fails to identify any precedent, and we
        are aware of none, that requires a court to construe a defendant's post-
        trial motion as requesting relief that the motion itself does not
        request.”); United States v. Bowen, 472 F. App’x 747, 748 (D.C. Cir.

        2012) (citing Rule 47 in affirming district court’s refusal to construe a
        motion to continue as a motion for a new trial where the motion did
        not seek the latter relief). But Rule 47 “does not require that the
        grounds upon which a motion is made shall be stated ‘with
        particularity,’ as is the case with [Federal Rule of Civil Procedure 7].”
        Fed. R. Crim. P. 47, 1944 Comm. Note 1.10 Detling’s counseled

        motion to strike readily satisfied Rule 47’s low bar.


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             Accordingly, Detling’s reliance on cases discussing Federal Rule
        of Civil Procedure 7’s particularly requirement is misplaced. (Mot. at
        10).


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           In the motion to strike, Detling’s then-counsel specifically
        identified the Federal Rule of Criminal Procedure under which

        Detling was seeking relied, namely Rule 7(d). (Doc. 29-1). Counsel
        further cited binding authority in support of her argument. (Id. (citing
        United States v. Bullock, 451 F.2d 884 (5th Cir. 1971))). And counsel
        identified the precise language that Detling wanted stricken from the
        indictment. (Doc. 29-2). The government understood exactly the relief
        Detling sought and filed a substantive response in opposition. (Doc.
        33-16-19). The district court later understood the relief that Detling
        sought and ordered the government to prepare a redacted indictment
        for the jury. (Doc. 168-43; Doc. 169-96; Doc. 212-14-15 (Court: “I
        looked in detail at this motion [to strike], and in fact I have basically
        ruled in [Mr. Detling’s favor on this motion.”).
           Detling nevertheless claims that this motion was no motion at all
        because “it fail[ed] to state any applicable legal support . . . [or]
        grounds or argument in favor of relief.” (Mot. at 10). His argument is
        belied by the motion itself, which cited the applicable Federal Rule of

        Criminal Procedure, a relevant case, and identified the precise relief
        sought. Rule 47 demands nothing more.
           Detling chafes at his counsel’s decision to cite a Fifth Circuit case.
        (Mot. at 10). But as this Court is aware, decisions from the “old Fifth
        Circuit” handed down before the close of business on September 30,


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        1981 are binding precedent in the Eleventh Circuit. Bonner v. City of
        Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc). He is also

        wrong that Bullock “doesn’t appear to even involve the application of
        Rule 7.” (Mot. at 10). The court of appeals specifically considered
        whether the district court abused its discretion by not striking excess
        and objectionable language from an indictment. 451 F.2d at 888. And
        whether counsel should have cited a different case, as Detling
        suggests, has no bearing on whether the motion satisfied Rule 47.
           It is not a substantial or close question that Detling’s counseled
        motion to strike satisfied Rule 47.

           C. It is not a substantial question that the filing of a superseding
              indictment mooted Detling’s pending motions.

           Citing United States v. McKay, 30 F.3d 1418 (11th Cir. 1994),
        Detling argues that the filing of the superseding indictment “moots all
        pending but undecided motions.” (Mot. at 11). That is not, however,
        McKay’s holding. Nor have “[n]umerous Eleventh Circuit decisions”
        cited [] McKay” for this proposition. (Id.). And before filing the
        present motion, Detling never raised this argument.
           McKay addressed whether under the Speedy Trial Act the time
        between the dismissal of an indictment and filing of a superseding

        indictment, was automatically excluded under 18 U.S.C. § 3161(h)(6)
        even where not accompanied by a formal motion. 30 F.3d at 1420-21.



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        McKay did not discuss, much less mention, the import that the filing
        of a superseding indictment would have on any pending pretrial

        motions. Indeed, the lone district court case Detling cites, United
        States v. Taylor, No. 1:18-cr-425-SCJ, 2019 U.S. Dist. LEXIS 139684
        (N.D. Ga. Aug. 19, 2019), did not hold that the superseding
        indictment mooted all pending pretrial motions, but rather mooted
        only the motion to dismiss the indictment. Id. at 2. It noted, however,
        that “to the extent that it is proper to consider the motion as applying
        to the Superseding Indictment, Defendant’s objections are overruled.”
        Id. at*2 (citing United States v. Waddell, No. 15-cr-95, 2016 U.S. Dist.
        LEXIS 85455, at *1 n1 (S.D. Ga. June 28, 2016)). Indeed, in Waddell,
        the court expressly noted that it “rule[d] on the merits of [the]
        Defendant’s arguments, rather than dismiss his motion as moot”
        despite the government filing another superseding indictment because
        it “contained only minor clerical changes.” Waddell, No. 15-cr-095,
        2016 U.S. Dist. LEXIS 85455, at *1 n.1; see also United States v. Hill,
        No. 1:21-cr-143-ELR, 2022 U.S. Dist. LEXIS 81938, at *1 n.1 (N.D.

        Ga. May 5, 2022); United States v. Damiani, No. 1:10-cr-519, 2011 U.S.
        Dist. LEXIS 154277, at **58-59 (N.D. Ga. Sept. 23, 2011) (filing of
        superseding indictment did not moot pending motion to sever).
           Here, the filing of the superseding indictment could not have
        mooted Detling’s motion to strike because the same allegedly


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        offending language appeared in both the original and superseding
        indictments. (Compare Doc.-1-1 (¶ 1) with Doc. 35-1 (¶ 1)). Given the

        absence of Eleventh Circuit authority that the filing of a superseding
        indictment automatically moots all pending pretrial motions, and the
        practice of district courts to in fact consider such pending motions,
        this issue does not present a substantial or close question likely to lead
        reversal. See Giancola, 754 F.2d at 901 (“We note that an issue may be
        without controlling precedent largely because that issue is so patently
        without merit that it has not been found necessary for it to have been
        resolved.”) This is especially so because this Court would review any
        error in this regard for plain error, a standard Detling cannot satisfy.
        See United States v. Lejarde-Rada, 319 F.3d 1288, 1291 (11th Cir.
        2003).

           D. Deferring a ruling on the motion to strike to the district court
              does not raise a substantial or close question because it is well-
              settled that this an appropriate way to handle such motions.

           Again citing no authority from this Court, and having not
        previously objected, Detling argues that the magistrate judge erred by

        deferring a ruling on the motion to strike. (Mot. at 12). His current
        position cannot be reconciled with his concession below that the
        magistrate judge had “the right to defer to [the district court]” the
        motion to strike. (Doc. 212-12). Without acknowledging his prior
        concession, he now argues that the Northern District of Georgia’s

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        local criminal rules required the magistrate judge to issue a definitive
        ruling on his motion to strike. (Mot. at 12). He cites no cases,

        however, for the proposition that a magistrate judge may not defer a
        pretrial motion to the district court. (Id.). And with good reason,
        because the magistrate judge’s decision to defer the motion to strike
        to the district court accords with binding Eleventh Circuit precedent.
           As noted above, in Awan, this Court held “it is proper to reserve
        ruling on a motion to strike surplusage until the trial court has heard
        evidence that will establish the relevance of the allegedly surplus
        language[.]” 966 F.2d at 1426 (citation omitted). Considering Awan, it
        is not a substantial or close question that the magistrate judge plainly
        erred by deferring a ruling on the motion to strike. 11

           E. It is not a substantial or close question that a district court
              may hold a hearing on motion to strike surplusage.

           Detling argues that absent precedent requiring a court to hold a
        hearing on a motion to strike surplusage, the district court having
        done so here erred. (Mot. at 12-13). As an initial matter, his position

        runs contrary to one he took below, in which he acknowledged that a
        court might hold a hearing on a motion to strike:

           11
              Because Detling agreed the magistrate judge had the authority
        to defer ruling on the motion, this Court also would be precluded
        from reviewing this claim under the invited error doctrine. See, e.g.,
        United States v. Harris, 443 F.3d 822, 823-24 (11th Cir. 2006).


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           I’m not saying that Judge Walker didn’t have the right to defer
           [the motion to strike] to your Honor, but those are the one that
           routinely ruled on without a hearing and rule on at the
           magistrate court level. Judge Walker did not request a hearing.


        (Doc. 212-12).
           The premise underlying his argument also finds no support in the

        law. Courts have wide latitude when they may hold a hearing, see, e.g.,
        Dunn, 345 F.3d at 1294, and he cites no authority for the proposition
        that a court should only hold a hearing on a pretrial motion when
        compelled by existing case law.
           Moreover, under Awan, a hearing on a motion to strike surplusage
        is especially proper because it is a fact-intensive inquiry and the nature
        of the evidence and testimony often only crystalizes shortly before
        trial, or once the jury begins to receive the evidence. Detling’s
        argument therefore that it should be “obvious” whether certain
        language should be struck from an indictment is irreconcilable with
        this Court’s precedent. And that is in fact what happened here. The
        district court effectively granted Detling’s motion to strike certain
        language from the indictment that the jury would receive after
        holding lengthy pretrial hearings in the weeks leading up to trial in
        which several issues were discussed, including the admissibility of
        certain government evidence that informed the district court’s views
        on the language in the indictment which Detling found objectionable.


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        (Doc. 168; Doc. 169; Doc. 212); see also Dunn, 345 F.3d at 1294 n.4
        (noting that “the courts of appeals typically have afforded a liberal

        definition to the term ‘hearing,’ as it is used in [§ 3161(h)(1)(D)],
        including situations where the district court hears argument of
        counsel and considers it prior to making its ruling”) (citations
        omitted).
           There is no substantial or close question that the district court did
        not plainly err by considering Detling’s motion to strike in the context
        of various evidentiary issues raised during several pretrial conferences.

        3. Conclusion

           Because none of the issues that Detling has identified raise a
        substantial or close question, the Court should deny his motion.


                                             Respectfully submitted,

                                             R YAN K. B UCHANAN
                                                 United States Attorney

                                             A LEX R. S ISTLA
                                                Assistant United States Attorney




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            CERTIFICATE OF COMPLIANCE AND SERVICE

        This brief complies with the typeface requirements of Fed. R. App.

        P. 32(a) (5) and the type-style requirements of Fed. R. App. P. 32(a)(6)
        because it has been prepared in 14-point Goudy Old Style, a
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        title page, certificates, caption, and signature block.
           Today, this motion was filed and served using the Court’s CM/ECF
        system, which automatically sends notification to the parties and
        counsel of record.


        August 19, 2022




                                       /s/A LEX R. S ISTLA
                                             Assistant United States Attorney




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